             Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 1 of 20



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BRIAN J. KAREM,


                 Plaintiff,

       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States and in his individual
 capacity; and STEPHANIE GRISHAM, in her
 official capacity as White House Press Secretary and
 in her individual capacity,
                                                               Case No.
                  Defendants.




            DECLARATION OF THEODORE J. BOUTROUS, JR. IN SUPPORT OF
            PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
                          AND PRELIMINARY INJUNCTION

        I, THEODORE J. BOUTROUS, JR., hereby declare under penalty of perjury the

following:

        1.      My name is Theodore J. Boutrous, Jr. I am a partner with the law firm of Gibson,

Dunn & Crutcher LLP and a member of the bar of this Court. I represent Plaintiff Brian Karem

(“Karem”) in the above-captioned action. By virtue of my direct involvement in this matter, I

have personal knowledge of the content of this declaration, and I could and would competently

testify to the truth of the matters stated herein.

        2.      Attached as Exhibit 1 is a true and correct copy of an article by Rachel Oswald

written for the National Press Club entitled “Former jailed police reporter to call for national

shield law, 6 pm June 1,” dated May 6, 2015, available at https://www.press.org/news-

multimedia/news/former-jailed-police-reporter-call-national-shield-law-6-pm-june-1.
            Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 2 of 20



       3.      Attached as Exhibit 2 is a true and correct copy of an article by Katie Rogers of

The New York Times entitled “White House Hosts Conservative Internet Activists at a ‘Social

Media Summit,’” dated July 11, 2019, available at

https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html.

       4.      Attached as Exhibit 3 is a true and correct copy of an article by Megan Vazquez,

published by CNN Politics, entitled “Trump called supporter after mocking him during a rally

over ‘a serious weight problem,’” dated August 16, 2019, available at

https://www.cnn.com/2019/08/16/politics/donald-trump-supporter-weight-new-hampshire-

rally/index.html.

       5.      Attached as Exhibit 4 is a true and correct copy of a letter from Defendant

Stephanie A. Grisham (“Grisham”) to Karem dated August 2, 2019.

       6.      Attached as Exhibit 5 is a true and correct copy of a letter from me to Grisham

dated August 5, 2019.

       7.      Attached as Exhibit 6 is a true and correct copy of a letter from Grisham to me

dated August 6, 2019.

       8.      Attached as Exhibit 7 is a true and correct copy of a series of emails between

Grisham and my colleagues dated August 8, 2019.

       9.      Attached as Exhibit 8 is a true and correct copy of a letter from me to Grisham

dated August 8, 2019.

       10.     Attached as Exhibit 9 is a true and correct copy of a signed statement written by

Karem to Grisham dated August 9, 2019.

       11.     Attached as Exhibit 10 is a true and correct copy of a letter from Grisham to me

dated August 16, 2019.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 3 of 20



       12.     Attached as Exhibit 11 is a true and correct copy of a series of emails between

Karem and Grisham and Anne H. LeHardy dated July 8 to July 16, 2019.

       13.     Attached as Exhibit 12 is a true and correct copy of an article by Callum

Borchers of The Washington Post entitled “‘You’re a parent!’ Things got personal in the White

House briefing room,” dated June 14, 2018, available at

https://www.washingtonpost.com/news/the-fix/wp/2018/06/14/youre-a-parent-things-got-

personal-in-the-white-house-briefing-room/.

       14.     Attached as Exhibit 13 is a true and correct copy of an article by Morgan Gstalter

of The Hill entitled “Fox News’ Jesse Watters: Reporters who act like 'a wild animal' should lose

press passes,” dated June 14, 2018, available at https://thehill.com/business-a-lobbying/392388-

fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for.

       15.     Attached as Exhibit 14 is a true and correct copy of an article by Karem,

published in Playboy, entitled “An Ode to Sarah Huckabee Sanders From the Enemy,” dated

June 18, 2019, available at https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-

from-the-enemy.

       16.     Attached as Exhibit 15 is a true and correct copy of an article by Michael M.

Grynbaum of The New York Times entitled “Donald Trump’s News Session Starts War With and

Within Media,” dated January 11, 2017, available at

https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html.

       17.     Attached as Exhibit 16 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated February 17, 2017 at 4:48 p.m., available at

https://twitter.com/realDonaldTrump/status/832708293516632065.
            Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 4 of 20



       18.     Attached as Exhibit 17 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated July 2, 2017 at 9:21 a.m., available at

https://twitter.com/realDonaldTrump/status/881503147168071680. Embedded in the Tweet is

video depicting President Trump tackling and punching a man with a CNN logo superimposed

on the man’s face.

       19.     Attached as Exhibit 18 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated December 11, 2017 at 9:17 a.m., available at

https://twitter.com/realDonaldTrump/status/940223974985871360.

       20.     Attached as Exhibit 19 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated January 23, 2018 at 6:31 a.m., available at

https://twitter.com/realDonaldTrump/status/955764970590961665.

       21.     Attached as Exhibit 20 is a true and correct copy of an article by Patrick Smith of

Buzzfeed News entitled “Trump Refused to Answer a Question from a CNN Reporter in a Press

Conference with Theresa May,” dated July 13, 2018, available at

https://www.buzzfeed.com/patricksmith/trump-refused-to-answer-a-question-from-a-

cnnreporter-in-a.

      22.      Attached as Exhibit 21 is a true and correct copy of an article by Chris Cillizza of

CNN entitled “The 43 most staggering lines from Donald Trump’s Indiana speech,” dated

August 31, 2018, available at https://www.cnn.com/2018/08/31/politics/donald-trump-

evansville-speech/.
          Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 5 of 20



       23.     Attached as Exhibit 22 is a true and correct copy of an article by Phil

McCausland of NBC News entitled “White House bans CNN reporter from Rose Garden event

after she peppers Trump with tough questions on Russia, Cohen,” dated July 25, 2018, available

at https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-

event-after-she-n894686.

       24.     Attached as Exhibit 23, contained on electronic media, is a true and correct copy

of video published by C-SPAN of President Donald J. Trump’s November 7, 2018 press

conference. The exchange between President Donald J. Trump and Jim Acosta can be viewed at

27:31 to 30:13.

       25.     Attached as Exhibit 24 is a true and correct copy of an article by Philip Bump of

The Washington Post entitled “Reporters tried to correct Trump’s incorrect data on immigration.

It was … not effective,” dated February 15, 2019, available at

https://www.washingtonpost.com/politics/2019/02/15/reporters-tried-correct-trumps-incorrect-

data-immigration-it-was-not-effective/.

       26.     Attached as Exhibit 25 is a true and correct copy of an article by Andrew

Simpson of DCTribune entitled “Trump Goes Ballistic, Freaks Out On Reporter Who Called

Him Out On His Lies ‘Quiet, Quiet, Quiet,’” available at http://dctribune.org/trump-goes-

ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/.

       27.     Attached as Exhibit 26 is a true and correct copy of an article by Karem

published by Playboy entitled “On Trump’s Reaction to Mueller’s Testimony,” dated July 25,

2019, available at https://www.playboy.com/read/mueller-testimony.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 6 of 20



       28.       Attached as Exhibit 27 is a true and correct copy of an article by Brent D.

Griffiths, published by Politico, entitled “Trump on Gianforte: ‘Any guy who can do a body

slam is my kind of guy,’” dated October 18, 2018, available at

https://www.politico.com/story/2018/10/18/trump-gianforte-body-slam-praise-915047.

       29.       Attached as Exhibit 28 is a true and correct copy of an article by Philip Rucker

and Josh Dawsey of The Washington Post entitled “White House bans four journalists from

covering Trump-Kim dinner because of shouted questions,” dated February 27, 2019, available

at https://www.washingtonpost.com/politics/white-house-bans-four-journalists-from-covering-

trump-kim-dinner-because-of-shouted-questions/2019/02/27/36e1d26c-3a8d-11e9-a2cd-

307b06d0257b_story.html.

       30.       Attached as Exhibit 29 is a true and correct copy of an article by Lindsey Bever

of The Washington Post entitled “‘You’re a very rude person.’ ‘That’s enough.’ ‘Sit down.’

Trump’s news conference turns hostile,” dated November 7, 2018, available at

https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-

down-trumps-news-conference-turns-hostile/.

       31.       Attached as Exhibit 30 is a true and correct copy of a transcript of a hearing

before Judge Timothy J. Kelly in Cable News Network, Inc. v. Trump, No. 18-cv-2610, Dkt. No.

22 (D.D.C. Nov. 16, 2019).

       32.       Attached as Exhibit 31 is a true and correct copy of a briefing statement

published by the White House entitled “Remarks by President Trump Before Marine One

Departure,” dated November 9, 2018, available at

https://www.whitehouse.gov/briefingsstatements/remarks-president-trump-marine-one-

departure-23/.
          Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 7 of 20



       33.     Attached as Exhibit 32 is a true and correct copy of an article published by the

BBC entitled “Trump threatens Time journalist with prison over photo,” dated June 21, 2019,

available at https://www.bbc.com/news/world-us-canada-48696131.

       34.     Attached as Exhibit 33 is a true and correct copy of a statement published by the

Reporters Committee for Freedom of the Press entitled “RCFP concerned by White House’s

‘preliminary decision’ to suspend Brian Karem’s hard pass,” dated August 9, 2019, available at

https://www.rcfp.org/rcfp-statement-concerned-suspend-karem-hard-pass/.

       35.     Attached as Exhibit 34 is a true and correct copy of a statement published by the

White House Correspondents Association, available at https://whca.press/statement-on-white-

house-hard-pass/.

       36.     Attached as Exhibit 35 is a true and correct copy of a transcript of a segment

aired on National Public Radio, published under the title “White House Social Media Summit

Recap,” dated July 13, 20189, available at https://www.npr.org/2019/07/13/741485104/white-

house-social-media-summit-recap.

       37.     Attached as Exhibit 36 is a true and correct copy of an article by Alex Pappas of

Fox News entitled “Trump hosts conservative firebrands for social media summit: 'We're not

going to be silenced,’” dated July 11, 2019, available at

https://www.foxnews.com/politics/white-house-hosts-social-media-summit.

       38.     Attached as Exhibit 37 is a true and correct copy of an article by Hunter Walker

of Yahoo! News entitled “Sebastian Gorka at the center of Rose Garden ruckus following Trump

event,” dated July 12, 2019, available at https://news.yahoo.com/amphtml/sebastian-gorka-at-

the-center-of-rose-garden-fracas-following-trump-event-002635804.html.
          Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 8 of 20



       39.     Attached as Exhibit 38 are true and correct copies of webpages embedding

episodes of Karem’s podcast “Just Ask the Question,” published December 18, 2018, and April

11, 2019, available at https://www.stitcher.com/podcast/just-ask-the-question/e/57795082, and

https://www.stitcher.com/podcast/just-ask-the-question/e/59990472, respectively.

       40.     Attached as Exhibit 39 is a true and correct copy of an article by Christina Zhao

of Newsweek entitled “Reporters in Rose Garden: Gorka Would 'Kick Your Punk Ass,’” dated

July 11, 2019, available at https://www.newsweek.com/trumps-social-media-summit-attendees-

feud-reporters-rose-garden-gorka-would-kick-your-punk-1448871.

       41.     Attached as Exhibit 40 is a true and correct copy of an article by Matt Vespa of

Townhall entitled “‘You’re a Punk’: Dr. Sebastian Gorka Thrashes Liberal Reporter at Trump’s

Census Presser,” dated July 11, 2019, available at

https://townhall.com/tipsheet/mattvespa/2019/07/11/youre-a-punk-dr-gorka-trashes-reporter-at-

trumps-census-presser-n2549955.

       42.     Attached as Exhibit 41 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated July 12, 2019 at 8:35 am, as it appears “pinned” on

Sebastian Gorka’s (“Gorka”) Twitter profile (@SebGorka), available at

https://twitter.com/SebGorka/status/1150351166997442562.

       43.     Attached as Exhibit 42 is a true and correct copy of a Tweet by Karem

(@BrianKarem), dated August 1, 2019 at 1:10 pm, available at

https://twitter.com/BrianKarem/status/1157020910005735425. Embedded in the Tweet is video

in which Karem can be heard asking President Donald J. Trump for his response to Bernie

Sander’s “saying [he is] a pathological liar.”
          Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 9 of 20



       44.     Attached as Exhibit 43 is a true and correct copy of an article by Steven Nelson

of The Washington Examiner entitled “Gorka urges others to confront ‘non-journalists’ after

Rose Garden clash,” dated July 12, 2019, available at

https://www.washingtonexaminer.com/news/white-house/gorka-urges-others-to-confront-non-

journalists-after-rose-garden-clash.

       45.     Attached as Exhibit 44 is a true and correct copy of an article published by CBS

       News entitled “Lesley Stahl: Trump admitted mission to ‘discredit’ press,” dated May 23,

2018, available at https://www.cbsnews.com/news/lesley-stahl-donald-trump-said-attacking-

press-todiscredit-negative-stories/.

       46.     Attached as Exhibit 45 is a true and correct copy of an article by Jim Rutenberg

of The New York Times entitled “In Revoking Press Credentials, Trump Casts Himself as

Punisher in Chief,” dated June 14, 2016, available at

https://www.nytimes.com/2016/06/15/business/media/donald-trump-washington-post.html.

       47.     Attached as Exhibit 46 is a true and correct copy of an article by Karem,

published by Playboy, entitled “Fact: Trump is a Racist,” dated July 23, 2019, available at

https://www.playboy.com/read/why-has-unity-become-such-a-contentious-value-to-hope-for.

       48.     Attached as Exhibit 47 is a true and correct copy of an article by Karem,

published by Playboy, entitled “Donald Trump Uses Faith to Fool Everyone,” dated May 7,

2019, available at https://www.playboy.com/read/national-day-of-prayer-how-donald-trump-

uses-faith-to-fool-everyone.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 10 of 20



       49.    Attached as Exhibit 48 is a true and correct copy of an article by Brian Stelter of

CNN entitled “Donald Trump: I won’t kick reporters out of White House press briefing room,”

dated June 14, 2016, available at https://money.cnn.com/2016/06/14/media/donald-trump-

presscredentials-access/index.html.

       50.    Attached as Exhibit 49 is a true and correct copy of an article by Michael

Finnegan and Noah Bierman of the Los Angeles Times entitled “Trump’s endorsement of

violence reaches new level: He may pay legal fees for assault suspect,” dated March 13, 2016,

available at https://www.latimes.com/politics/la-na-trump-campaign-protests-20160313-

story.html.

       51.    Attached as Exhibit 50 is a true and correct copy of an article published by

CNBC entitled “Trump praises Montana congressman who body-slammed reporter,” dated

October 19, 2018, available at https://www.cnbc.com/2018/10/19/trump-praises-montana-

congressman-who-body-slammed-reporter.html.

       52.    Attached as Exhibit 51 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated January 24, 2017 at 9:16 p.m., available at

https://twitter.com/realdonaldtrump/status/824078417213747200.

       53.    Attached as Exhibit 52 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated February 15, 2017 at 6:40 a.m., available at

https://twitter.com/realdonaldtrump/status/831830548565852160.

       54.    Attached as Exhibit 53 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated June 2, 2018 at 12:46 p.m., available at

https://twitter.com/realdonaldtrump/status/1002954515941941249.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 11 of 20



       55.    Attached as Exhibit 54 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated August 8, 2018 at 7:04 a.m., available at

https://twitter.com/realdonaldtrump/status/1024974107337781248.

       56.    Attached as Exhibit 55, contained on electronic media, is a true and correct copy

of video published by NBC News of an exchange between Karem and Sarah Huckabee Sanders

that took place during a June 14, 2018 White House press briefing.

       57.    Attached as Exhibit 56 is a true and correct copy of an article by Karem,

published in Playboy, entitled “Why I Pressed Sarah Huckabee Sanders About Empathy in the

White House,” dated June 18, 2019, available at https://www.playboy.com/read/why-i-probed-

sarah-huckabee-sanders-about-empathy-in-the-white-house.

       58.    Attached as Exhibit 57 is a true and correct copy of an article by Karem,

published in Playboy, entitled “White House Correspondent Brian Karem Responds to Acosta

Ban,” dated November 12, 2018, available at https://www.playboy.com/read/worry-not-jim-i-ll-

never-stop-asking-the-president-questions.

       59.    Attached as Exhibit 58 is a true and correct copy of an article by Karem,

published in Playboy, entitled “A Moment of Crisis and Enlightenment,” dated May 20, 2019,

available at https://www.playboy.com/read/i-hope-not.

       60.    Attached as Exhibit 59 is a true and correct copy of an article by Karem,

published in Playboy, entitled “Brian Karem on Seb Gorca: We Must Stand Up to the Bullies,”

dated July 15, 2019, https://www.playboy.com/read/brian-karem-seb-gorca-playboy.

       61.    Attached as Exhibit 60, contained on electronic media, is a true and correct copy

of video published by Bloomberg TicToc recorded from the White House Rose Garden on July

11, 2019, available at https://www.youtube.com/watch?v=VNfPaZ4Ipsw.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 12 of 20



       62.    Attached as Exhibit 61, contained on electronic media, is a true and correct copy

of video published on YouTube recorded from the White House Rose Garden on July 11, 2019,

available at https://www.youtube.com/watch?v=P_6vDLq64gE.

       63.    Attached as Exhibit 62, contained on electronic media, is a true and correct copy

of video published on YouTube recorded from the White House Rose Garden on July 11, 2019,

available at https://www.youtube.com/watch?v=qQe2JFS08Rg.

       64.    Attached as Exhibit 63, contained on electronic media, is a true and correct copy

of video published on YouTube recorded from the White House Rose Garden on July 11, 2019,

available at https://www.youtube.com/watch?v=mNySuQFh2YE.

       65.    Attached as Exhibit 64, contained on electronic media, is a true and correct copy

of video published by The Washington Examiner on Twitter recorded from the White House

Rose Garden on July 11, 2019, available at

https://twitter.com/dcexaminer/status/1149451612227887104.

       66.    Attached as Exhibit 65, contained on electronic media, is a true and correct copy

of video published by Reuters on Twitter recorded from the White House Rose Garden on July

11, 2019, available at https://twitter.com/Reuters/status/1149445607288950784.

       67.    Attached as Exhibit 66, contained on electronic media, is a true and correct copy

of video published by The Washington Post on YouTube recorded from the White House Rose

Garden on July 11, 2019, available at https://www.youtube.com/watch?v=mNySuQFh2YE.

       68.    Attached as Exhibit 67, contained on electronic media, is a true and correct copy

of video published on YouTube by Gorka on July 12, 2019, available at

https://www.youtube.com/watch?v=rl7QO0Ird9A.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 13 of 20



       69.     Attached as Exhibit 68, contained on electronic media, is a true and correct copy

of video published by CNN of Karem’s account of “the legacy of Sarah [Huckabee] Sanders.”

       70.     Attached as Exhibit 69 is a true and correct copy of a Tweet by Sebastian Gorka

(@SebGorka), dated July 11, 2019 at 3:12 pm, available at

https://twitter.com/sebgorka/status/1149441323067478016.

       71.     Attached as Exhibit 69A, contained on electronic media, is a true and correct copy

of video embedded in a Tweet by Sebastian Gorka (@SebGorka), dated July 11, 2019 available

at https://twitter.com/sebgorka/status/1149441323067478016.

       72.     Attached as Exhibit 70, contained on electronic media, is a true and correct copy

of video recorded on a smartphone showing Sebastien Gorka taking a photo in the White House

Rose Garden on July 11, 2019.

       73.     Attached as Exhibit 71 is a true and correct copy of an article by Peter Baker,

published by The New York Times, entitled “Trump Bars CNN’s Jim Acosta From the White

House,” dated November 7, 2018, available at

https://www.nytimes.com/2018/11/07/us/politics/trump-cnn-acosta-white-house.html.

       74.     Attached as Exhibit 72 is a true and correct copy of an article by Jordan Fabian

and Brett Samuels, published by The Hill, entitled “Trump: I told Sanders to stop briefings

because press covers ‘rudely,’” dated January 22, 2019, available at

https://thehill.com/homenews/administration/426394-trump-i-told-sanders-to-stop-briefings-

because-press-covers-her.

       75.     Attached as Exhibit 73 is a true and correct copy of an article by David Jackson,

published by USA Today, entitled “Donald Trump says he may revoke press credentials for other

reporters, not just CNN’s Jim Acosta,” dated November 9, 2018, available at
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 14 of 20



https://www.usatoday.com/story/news/politics/2018/11/09/donald-trump-threatens-other-

reporters-white-house-press-passes/1942013002/.

       76.        Attached as Exhibit 74 is a true and correct copy of an article by Mathew Ingram,

published by the Columbia Journalism Review, entitled “White House revokes press passes for

dozens of journalists,” dated May 9, 2019, available at

https://www.cjr.org/the_media_today/white-house-press-passes.php.

       77.        Attached as Exhibit 75 is a true and correct copy of an article by Paul Farhi,

published by The Washington Post, entitled “White House imposes new rules on reporters’

credentials, raising concerns about access,” dated May 8, 2019, available at

https://www.washingtonpost.com/lifestyle/style/white-house-imposes-new-rules-on-reporters-

credentials-raising-concerns-about-access/2019/05/08/793dc404-71dd-11e9-9eb4-

0828f5389013_story.html.

       78.        Attached as Exhibit 76 is a true and correct copy of an article published by the

U.S. Press Freedom Tracker, entitled “Former White House aide Seb Gorka shoves Mediaite

reporter at CPAC,” dated February 23, 2018, available at

https://pressfreedomtracker.us/all-incidents/former-white-house-aide-seb-gorka-shoves-mediaite-

reporter-cpac/.

       79.        Attached as Exhibit 77 is a true and correct copy of an article by Caleb Ecarma,

published by Mediaite, entitled “Seb Gorka Just Challenged Me to a Fight Over Email and I

Accepted,” dated November 4, 2017, available at https://www.mediaite.com/online/seb-gorka-

just-challenged-me-to-a-fight-over-email-and-i-accepted/.

       80.        Attached as Exhibit 78 is a true and correct copy of an article by Caleb Ecarma,

published by Mediaite, entitled “Ex-Trump Advisor Sebastian Gorka Reportedly Wanted on Gun
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 15 of 20



Charges in Hungary,” dated January 18, 2018, available at https://www.mediaite.com/online/ex-

trump-adviser-sebastian-gorka-reportedly-wanted-on-gun-charges-in-hungary/.

       81.     Attached as Exhibit 79 is a true and correct copy of an article by Jonathan Swan,

published by Axios, entitled “Trump’s favorite new TV defender: Sebastian Gorka,” dated July

13, 2017, available at https://www.axios.com/trumps-favorite-new-tv-defender-sebastian-gorka-

1513304178-55c34e6e-1802-4ab0-a539-9d2c70d6860e.html.

       82.     Attached as Exhibit 80 is a true and correct copy of an article by Pamela Engel,

published by Business Insider, entitled “Sebastian Gorka, Trump’s combative new national

security aide, is widely disdained within his own field,” dated February 22, 2017, available at

https://www.businessinsider.com/sebastian-gorka-trump-bio-profile-2017-2.

       83.     Attached as Exhibit 81 is a true and correct copy of an article by Andrew Blake,

published by The Washington Times, entitled “Sebastian Gorka, former Trump advisor, placed

on White House ‘Do Not Admit’ list: Report”, dated August 29, 2017, available at

https://www.washingtontimes.com/news/2017/aug/29/sebastian-gorka-former-trump-advisor-

placed-white-/.

       84.     Attached as Exhibit 82 is a true and correct copy of an article by Oliver Knox and

Hunter Walker, published by the Huffington Post, entitled “Report: Kelly Revoked Gorka’s

Security Clearance While He Was On Vacation,” dated August 25, 2017, available at

https://www.huffpost.com/entry/gorka-security-clearance

revoke_n_59a0eb66e4b06d67e337bcdb.

       85.     Attached as Exhibit 83 is a true and correct copy of an article by Matthew Rozsa,

published by Salon, entitled “Reminder: James O’Keefe has a history of failing to discredit

journalists,” dated November 28, 2017, available at
          Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 16 of 20



https://www.salon.com/2017/11/28/reminder-james-okeefe-has-a-history-of-failing-to-discredit-

journalists/.

        86.     Attached as Exhibit 84 is a true and correct copy of an article by Kevin Robillard,

published by Politico, entitled “O’Keefe agrees to fork over $100K,” dated March 8, 2013,

available at https://www.politico.com/story/2013/03/james-okeefe-agrees-to-pay-100000-

settlement-088620.

        87.     Attached as Exhibit 85 is a true and correct copy of an article by Katie Rogers

and Maggie Haberman, published by The New York Times, entitled “Donald Trump Jr. Shares,

Then Deletes, a Tweet Questioning Kamala Harris’s Race,” dated June 28, 2019, available at

https://www.nytimes.com/2019/06/28/us/politics/donald-trump-jr-kamala-harris.html.

        88.     Attached as Exhibit 86 is a true and correct copy of an article by Davis

Richardson, published by The Observer, entitled “Robert Mercer Bankrolled PAC Advised By

Notorious Fringe ‘Philosopher’ Ali Alexander”,” dated October 30, 2018, available at

https://observer.com/2018/10/robert-mercer-bankrolled-pac-ali-alexander/.

        89.     Attached as Exhibit 87 is a true and correct copy of an article by Paul Farhi,

published by The Washington Post, entitled “What is Gateway Pundit, the conspiracy-hawking

site at the center of the bogus Florida ‘crisis actors’ hype?” Dated February 23, 2018, available at

https://www.washingtonpost.com/lifestyle/style/what-is-gateway-pundit-the-conspiracy-

hawking-site-at-the-center-of-the-bogus-florida-crisis-actors-hype/2018/02/23/dded562a-174e-

11e8-b681-2d4d462a1921_story.html.

        90.     Attached as Exhibit 88 is a true and correct copy of an article by Meredith

Woerner, published by Variety, entitled “Pro-Trump Fashion at 2019 Grammys: From Border

Wall Dress to ‘Keep America Great’ Jacket,” dated February 10, 2019, available at
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 17 of 20



https://variety.com/2019/music/news/pro-trump-fashion-joy-villa-dress-ricky-rebel-grammys-

2019-1203134993/.

       91.     Attached as Exhibit 89 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated August 16, 2019 at 8:11 p.m., available at

https://twitter.com/realDonaldTrump/status/1162562469283471360.

       92.     Attached as Exhibit 90 is a true and correct copy of an article by Alex Kaplan,

published by Media Matters, entitled “Here are the extremist figures going to the White House

social media summit,” dated July 9, 2019, available at https://www.mediamatters.org/donald-

trump/here-are-extremist-figures-going-white-house-social-media-summit.

       93.     Attached as Exhibit 91 is a true and correct copy of a Tweet by Sarah Sanders

(@PressSec), dated November 7, 2018 at 7:48 p.m., available at

https://twitter.com/presssec/status/1060333176252448768. The Tweet was posted by Sarah

Sanders while she was still White House Press Secretary.

       94.     Attached as Exhibit 92 is a true and correct copy of a Tweet by Sarah Sanders

(@PressSec), dated November 7, 2018 at 7:50 p.m., available at

https://twitter.com/presssec/status/1060333619728801792. The Tweet was posted by Sarah

Sanders while she was still White House Press Secretary.

       95.     Attached as Exhibit 93 is a true and correct copy of an article by Margaret

Sullivan, published by The Washington Post, entitled “Trump joking with Putin over eliminating

journalists is a betrayal of America, So is ignoring it.,” dated June 28, 2019, available at

https://www.washingtonpost.com/lifestyle/style/trumps-jokes-with-putin-over-eliminating-

journalists-is-a-betrayal-of-america-so-is-ignoring-it/2019/06/28/b7ada93a-99be-11e9-916d-

9c61607d8190_story.html.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 18 of 20



       96.     Attached as Exhibit 94 is a true and correct copy of an article by Erik Wemple,

published by The Washington Post, entitled “ ‘Virtual act of Treason’: The New York Times is

Blowing Trump’s mind,” dated June 17, 2019, available at

https://www.washingtonpost.com/opinions/2019/06/17/virtual-act-treason-new-york-times-is-

blowing-trumps-mind/.

       97.     Attached as Exhibit 95 is a true and correct copy of President Trump’s remarks

made at the July 11 White House Social Media Summit, dated July 11, 2019, available at

https://www.whitehouse.gov/briefings-statements/remarks-president-trump-presidential-social-

media-summit/.

       98.     Attached as Exhibit 96 is a true and correct copy of an article by Stephanie

Sugars, published by the Committee to Protect Journalists, entitled “From Fake new to enemy of

the people: An Anatomy of Trump’s tweets,” dated January 30, 2019, available at

https://cpj.org/blog/2019/01/trump-twitter-press-fake-news-enemy-people.php.

       99.     Attached as Exhibit 97 is a true and correct copy of an article by Iliana Magra,

published by The New York Times, entitled “BBC Cameraman Is Attacked at Trump Rally,”

dated February 12, 2019, available at https://www.nytimes.com/2019/02/12/us/politics/bbc-

cameraman-attacked.html.

       100.    Attached as Exhibit 98 is a true and correct copy of an article published by

Reporters without Borders, entitled “Attendee at Trump rally arrested for assaulting Orlando

Sentinel reporter,” dated July 24, 2019, available at

https://rsf.org/en/news/us-weeklyaddress-june-17-june-23-attendee-trump-rally-arrested-

assaulting-orlando-sentinel-reporter.
         Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 19 of 20



       101.    Attached as Exhibit 99 is a true and correct copy of an article by Meg Wagner,

Sophie Tatum, Eric Levenson, Brian Ries, Paul P. Murphy, and Jessie Yeung, published by CNN

Politics, entitled “ Suspect arrested after sending explosive devices sent to Trump critics and

CNN,” dated November 5, 2018, available at

https://www.cnn.com/politics/live-news/clintons-obama-suspicious-packages/index.html.

       102.    Attached as Exhibit 100 is a true and correct copy of an article by Press

Association and Press Gazette, published by Press Gazette, entitled “UN expert claims Donald

Trump’s attacks on the media ‘increase risk of journalists being targeted with violence,’” dated

August 3, 2018, available at https://pressgazette.co.uk/un-expert-claims-donald-trumps-attacks-

on-the-media-increase-risk-of-journalists-being-targeted-with-violence/.

       103.    Attached as Exhibit 101 is a true and correct copy of a Tweet by Peter Alexander

(@PeterAlexander) dated August 15, 2019 at 4:53 p.m., available at

https://twitter.com/PeterAlexander/status/1162150271704850434.

       104.    Attached as Exhibit 102 is a true and correct copy of an article by Nick

Corasaniti, published by The New York Times, entitled “Partisan Crowds at Trump Rallies

Menace and Frighten News Media,” dated October 14, 2016, available at

https://www.nytimes.com/2016/10/15/us/politics/trump-media attacks.html.

       105.    Attached as Exhibit 103 is a true and correct copy of a Tweet by President

Donald J. Trump (@realDonaldTrump), dated August 18, 2019 at 5:22 a.m., available at

https://twitter.com/realDonaldTrump/status/1163063728218263552.
Case 1:19-cv-02514-KBJ Document 3 Filed 08/20/19 Page 20 of 20
Case 1:19-cv-02514-KBJ Document 3-1 Filed 08/20/19 Page 1 of 3




               Exhibit 1
Former jailed police reporter to call for national shield law, 6 pm June 1 | National Press Club
                                          Case 1:19-cv-02514-KBJ Document 3-1 Filed 08/20/19 Page 2 of 3

        LOGIN




               Speakers                       For Clients                    Membership                     Multimedia                   Events             SEARCH




      Home > Multimedia



      Former jailed police reporter to call for national shield law, 6 pm June 1
      May 6, 2015 | By Rachel Oswald | rachelm.oswald@gmail.com

      A local longtime journalist, who was jailed because he would not give
      up the identity of a source, will call for a federal shield law at a National
      Press Club forum at 6 p.m., Monday, June 1, in the Murrow Room.

      The two-hour symposium is open to the public and is sponsored in part
      by the Club’s Journalism Institute and Freedom of the Press
      Committee. Tickets are $5 for Club members and $10 for
      nonmembers.

      Brian Karem, the executive editor of two weekly Maryland newspapers,
      will moderate the event, which will feature roughly a dozen American
      journalists who have all gone the extra mile in protecting the identities
      of their anonymous sources -- facing down expensive fines and even
      serving jail time.

      Karem, a 1991 recipient of the Club’s annual national Freedom of the
      Press Award, said the idea to organize next month’s event came as he
      was watching HBO’s “The Newsroom.” When the show’s protagonist,
      played by Jeff Daniels, was jailed for contempt of court for refusing to
      reveal who had provided him with sensitive documents, Karem said he
      was bothered by the way the show failed to accurately portray what the
      whole experience had been like.

      “I won't wear orange to this day because of my experience,” said
      Karem, who 25 years ago was jailed for refusing to name a confidential
      source.

      In March 1989, Karem was working in San Antonio, Texas, as a police
      reporter for an NBC affiliate, KMOL-TV. During an overnight shift,
      Karem caught the story of a white police officer who was killed with his
      own weapon following a struggle with two young Hispanic men.

      Karem was able to land an interview with one of the suspects, who                              Brian Karem, a journalist who was once jailed for
      confessed to the shooting but told him it was in self-defense because                         protecting a source, will moderate a National Press
      the officer was acting physically aggressive. A subsequent autopsy of                        Club forum on June 1, where he will call for a federal
      the officer’s body revealed the presence of cocaine and heroin.                                                    shield law.

      “Of course, I was immediately subpoenaed for my notes and the tape,”
      Karem said. “We gave over some tape but I refused to give my notes
      and refused to name the people who helped facilitate the jailhouse interview.”

      Karem insisted on his First Amendment protections all the way to the Supreme Court, but the court declined to hear his case. In
      summer 1990, Karem, then just 29, ended up spending two weeks in jail.

      “At that point, two of the sources had already come forward because they were members of law enforcement," Karem said. "The
      third source came forward because he had moved away from Texas.”

      In the years since, Karem has testified in a number of states and local jurisdictions about the need for stronger legal protections
      for reporters and has campaigned for a national shield law. Though Texas has a shield law, it was not enough to protect Karem
      because the case was a criminal one.

      In organizing next month’s symposium, Karem said he was struck by how similar the experiences were of his fellow “jailbird”
      reporters.

      “It’s funny that everyone who put us in jail told us how much they supported the First Amendment, just not in our case,” he said,
      adding he was also troubled by how “little solidarity” other news publications showed to him and the other jailed reporters during
      their time of need. “We don't seem to come together on these issues.”

      The symposium is sponsored by The National Press Club Journalism Institute, The Reporters Committee for the Freedom of the
      Press, The First Amendment Coalition, Expose Facts.Org, The Maryland Delaware District of Columbia Press Association and the
      Institute for Public Accuracy.

      For more information about the event, please contact Nicole Hoffman at nhoffman@press.org.




https://www.press.org/news-multimedia/news/former-jailed-police-reporter-call-national-shield-law-6-pm-june-1[8/12/2019 7:59:59 PM]
Former jailed police reporter to call for national shield law, 6 pm June 1 | National Press Club
                                          Case 1:19-cv-02514-KBJ Document 3-1 Filed 08/20/19 Page 3 of 3
      ABOUT US                                  VISIT US                                   CONTACT US                                  NPC IN THE   The National Press Club
                                                                                                                                       NEWS
                                                                                                                                                    529 14th St. NW, 13th Floor
                                                                                                                                                    Washington, DC 20045
                                                                                                                                                    202-662-7500




                                                                                         Copyright 2019 - The National Press Club
                                                                                                   Privacy Policy & Terms of Service




https://www.press.org/news-multimedia/news/former-jailed-police-reporter-call-national-shield-law-6-pm-june-1[8/12/2019 7:59:59 PM]
Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 1 of 11




                Exhibit 2
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 2 of 11



                                                                                                            LOG IN

                                                                      ADVERTISEMENT




                   White House Hosts Conservative
                   Internet Activists at a ‘Social Media
                   Summit’




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 3 of 11




                   President Donald Trump addressed attendees at Thursday’s social media summit at the White
                   House. Doug Mills/The New York Times



                   By Katie Rogers

                   Jul 11, 2019


                   WASHINGTON — As he opened an event that had brought 200
                   conservative social media firebrands to the White House, President Trump
                   wanted his guests to know just how much he appreciated their work
                   helping shape the online narrative about his presidency and a re-election
                   fight.

                   “The crap you think of,” Mr. Trump said as he surveyed his Twitter
                   kingdom, “is unbelievable.”

                   Mr. Trump was once an outsider political candidate who prided himself on
                   bending rules and subverting norms, and he wants to keep that sensibility
                   as a candidate in 2020. So on Thursday, the president went in search of
                   outside-the-box campaign ideas from a group that also has little use for
                   playing by the rules.


https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 4 of 11
                   Sandwiched between a flurry of morning presidential tweets and bleeding
                   into Mr. Trump’s early evening news conference on how his administration
                   would collect data on citizenship, the White House Social Media Summit
                   was dominated by activists willing to share unverified smears against
                   Democratic presidential candidates, disseminate QAnon conspiracy
                   theories and create memes the president might share.

                   “Earlier this year, the White House launched a tool to allow Americans,
                   regardless of their political views, to share how they have been affected by
                   bias online,” Judd Deere, a White House spokesman, said in an email
                   explaining the origins of the event. “After receiving thousands of responses,
                   the president wants to engage directly with these digital leaders in a
                   discussion on the power of social media.”

                   That’s really not what happened.

                   Before all was said and done, the East Room event, which featured a
                   rambling speech by Mr. Trump on everything from Federal Reserve policy
                   to his hairstyle, devolved into a confrontation in the Rose Garden after the
                   presidential news conference between Sebastian Gorka, the former White
                   House official turned media personality, and a reporter. James O’Keefe, an
                   activist who likes to capture videos under false pretenses to embarrass
                   liberals and journalists, filmed the scene.

                   The reporter, Brian Karem of Playboy, said that the group was hungry for
                   “demonic possession.” Mr. Gorka questioned his journalistic credentials
                   and approached Mr. Karem, who suggested the two talk outside.

                   “Gorka! Gorka! Gorka!” his supporters chanted as Mr. Gorka called the
                   journalist a “punk.”

                   [Read our reporter’s Twitter coverage of the event.]




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 5 of 11




                   An attendee took a photo as President Donald Trump spoke during the “Presidential Social
                   Media Summit” at the White House on Thursday. Evan Vucci/Associated Press



                   Another activist, Joy Villa, preened in the background in a floor-length red
                   gown emblazoned with the word “freedom.” “Fake news is over!” Ms. Villa
                   shouted amid the melee, before talking about who designed her gown.

                   Other supporters who had made the journey from the internet’s backwaters
                   to the White House included “Carpe Donktum,” who created a fake video of
                   former Vice President Joseph R. Biden Jr. that Mr. Trump shared on
                   Twitter. There was also Bill Mitchell, who enjoys discussing QAnon, an
                   online conspiracy theory that purports to share government secrets. And
                   there was Ali Alexander, who shared a tweet questioning Kamala Harris’s
                   racial background.

                   Ostensibly, the entire exercise was a chance for Mr. Trump to hear
                   grievances from his supporters. That is what some of them said, anyway.
                   Charlie Kirk, the 25-year-old founder of Turning Point USA, a group that
                   reaches out to young conservatives, said before the event that he was going
                   into it with a “center right” view on how the president should search for

https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 6 of 11
                   evidence that social media platforms were silencing conservative voices.
                   Mr. Kirk and members of his organization have been criticized by the
                   Southern Poverty Law Center for tweets that contained anti-immigrant or
                   racist views.

                   “I think that’s a positive thing that the president is hearing new ideas and
                   entertaining difference of opinion” and seeing if he could use his power to
                   tackle conservatives’ complaints, Mr. Kirk said.

                   The president and his supporters feel as though their voices have been
                   silenced by platforms like Twitter, Facebook and Google, while making the
                   somewhat confounding argument that their efforts are indeed covered
                   breathlessly in the news media, but just not to their liking.

                   Weeks ago, the president and his social media director, Dan Scavino,
                   hatched the idea to hold the event. The White House created a website that
                   was meant to capture evidence of Google, Twitter and Facebook
                   suppressing conservative voices. In the end, representatives of all three
                   were left off the guest list.

                   “At a time when social media platforms are banning conservative voices
                   and supporters of the president,” said Brad Parscale, the president’s 2020
                   campaign manager, “it’s important for President Trump to emphasize that
                   he appreciates their support and wants to protect their First Amendment
                   rights.”

                   Mr. Trump treated his audience to an unusually detailed look into one of
                   the hallmarks of his presidency — his tweets. He said they were intended to
                   kick-start a new news cycle, and lately he was wondering why he seemed to
                   notice lower engagement numbers. Could something more nefarious be
                   afoot?




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 7 of 11




                   President Donald Trump hugged conservative social media figure Rochelle Richardson,
                   known as Silk of “Diamond and Silk,” as she and Lynnette Hardaway, known as Diamond,
                   joined him on stage during his social media summit on Thursday. Carlos Barria/Reuters



                   “I used to watch it like a rocket ship when I put out a beauty,” Mr. Trump
                   said, waxing poetic about those early days running the Twitter account as
                   president. Recounting a tweet accusing President Barack Obama of
                   wiretapping his office, he said: “Remember I said somebody was spying on
                   me? That was like a rocket.”

                   Mr. Trump had special praise for his golf caddie turned social media
                   impresario. Once upon a time, Mr. Trump noticed that Mr. Scavino — “My
                   Dan,” as he called him — loved to stare at his computer screen all day long.
                   These days, he said, Mr. Scavino works directly with many of the
                   president’s digital supporters, who send him content that he then runs by
                   the president in the Oval Office. That summary was pretty much open
                   confirmation of the White House’s slapdash social media system.

                   “He works about 28 hours a day,” Mr. Trump said, “working with all of you,
                   many of you.”

                   In between complaining about houseflies — “I don’t like flies!” — and
                   talking about his hair, Mr. Trump gave his own unique interpretation of the
                   First Amendment.

                   “To me free speech is not when you see something good and then you
                   purposely write bad,” Mr. Trump said, describing the kind of thing the First
                   Amendment is meant to protect. “To me that’s very dangerous speech, and


https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 8 of 11
                   you become angry at it. But that’s not free speech.”

                   Not surprisingly, the whole concept of the event alarmed the president’s
                   critics.

                   Madihha Ahussain, a lawyer with Muslim Advocates, a nonprofit legal and
                   advocacy organization, described it as a ruse.

                   “Enforcing basic standards of decency on social media isn’t censoring
                   conservative speech,” Ms. Ahussain said in a statement. “Hate speech is
                   hate speech, regardless of whether the person spewing it has met with the
                   president.”

                   She added, “We urge social media platforms to ignore the circus at the
                   White House and instead commit to enforcing their hate-content policies
                   objectively and forcefully.”

                   Thomas Melia, the Washington director of the PEN American Center, a
                   nonprofit organization that advocates press freedom and advancement of
                   literature, said the United States needed “high-level dialogues” about the
                   role of private companies in the practice of content moderation and
                   drafting terms-of-service policies.

                   The White House, Mr. Melia said, was not the place for this on Thursday.

                   “Sadly,” he said, “today’s gathering entirely misses the mark with its highly
                   politicized guest list that excludes important voices and includes conspiracy
                   peddlers and purveyors of false information who might more rightly be
                   viewed as part of the problem.”

                   Correction: Jul 12, 2019
                   A caption with an earlier version of this article misidentified a woman
                   taking a photo during the president’s speech at the White House Social
                   Media Summit as the right-wing activist Laura Loomer; Ms. Loomer was
                   not in attendance.

                   A version of this article appears in print on , Section A, Page 14 of the New York edition with the headline: In



https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                            Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 9 of 11
                   Social Media Summit, Trump Praises Loyal Meme Makers. Order Reprints | Today’s Paper | Subscribe




                   Related Coverage




                   Jul 10, 2019       Trump Rolls Out the Red Carpet for Right-
                                      Wing Social Media Trolls




                   May 15, 2019       Trump Wants Your Tales of Social Media
                                      Censorship. And Your Contact Info.




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 10 of 11




                   Aug 28, 2018       Trump Accuses Google of Burying
                                      Conservative News in Search Results




                                                                      ADVERTISEMENT




                                                                                                                                       Go to Home Page »

     NEWS


     OPINION


     ARTS


     LIVING


     LISTINGS & MORE

                                                           © 2019 The New York Times Company

    Contact Us     Work with us    Advertise    T Brand Studio    Your Ad Choices      Privacy      Terms of Service   Terms of Sale    Site Map     Help
                                                                       Subscriptions




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
White House Hosts Conservative Internet Activists at a ‘Social Media Summit’ - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-2 Filed 08/20/19 Page 11 of 11




https://www.nytimes.com/2019/07/11/us/politics/white-house-social-media-summit.html[8/12/2019 8:30:30 PM]
Case 1:19-cv-02514-KBJ Document 3-3 Filed 08/20/19 Page 1 of 4




               Exhibit 3
Trump called supporter after mocking him during a rally over 'a serious weight problem' -... Page 1 of 3
            Case 1:19-cv-02514-KBJ Document 3-3 Filed 08/20/19 Page 2 of 4

   Trump called supporter after mocking
him during a rally over 'a serious weight
problem'

                                                                                                 LIVE TV


             By Maegan Vazquez, CNN

             Updated 1:19 PM ET, Fri August 16, 2019
 Washington (CNN) — President Donald Trump phoned a supporter he mocked as overweight during
 Thursday's New Hampshire rally and left a message, according to a senior administration official.

 Trump mocked the man while delivering remarks from the podium during his rally in a Manchester
 arena, apparently confusing him for a protester.

 "That guy's got a serious weight problem," Trump said as the man escorted out several protesters. "Go
 home. Start exercising."

                                                         "Get him out of here please. Got a bigger problem
                                                         than I do," the President joked. "Got a bigger
                                                         problem than all of us. Now he goes home and his
                                                         mom says, 'What the hell have you just done?'"

                                                         After the rally, the senior administration official said,
                                                         Trump got the man's name and contact
                                                         information from a campaign aide and called him
                                                         from Air Force One. He left the man a voicemail,
                                                         the official said.

                                                         The man Trump appeared to criticize, Frank
   Related Article: Man reconciles with Trump
                                                         Dawson, told Fox News after the rally, "Everything's
   supporter who punched him at rally                    good, I love the guy. He's the best thing that ever
                                                         happened to this country."

                                                     Dawson said the President "didn't see me rip the
 signs away from" protesters seated nearby. "It wasn't going to happen beside me because I'm trying to
 listen to my President," he added.

 This isn't the first time Trump has heckled protesters at his rallies.

 At one rally in 2016, he mocked a protester for wearing a turban and at another, he said one protester
 was so young he was "still wearing diapers." He also said he'd like to punch a protester in the face,
 adding that "in the old days" protesters would be "carried out on stretchers."

 "We're not allowed to push back anymore," he added.




https://www.cnn.com/2019/08/16/politics/donald-trump-supporter-weight-new-hampshire... 20-Aug-19
Trump called supporter after mocking him during a rally over 'a serious weight problem' -... Page 2 of 3
            Case 1:19-cv-02514-KBJ Document 3-3 Filed 08/20/19 Page 3 of 4


 More recently, at a 2018 rally, he questioned whether a protester he spotted was a man or a woman.

 "Was that a man or a woman? Because he needs a haircut more than I do," Trump said. "I couldn't tell.
 Needs a haircut."

 CNN's Sarah Westwood, Joe Johns and Nikki Carvajal contributed to this report.




   Search CNN...                                                                        LIVE TV



                                                  US

                                                World

                                               Politics

                                              Business

                                               Opinion

                                               Health

                                          Entertainment

                                                Tech

                                                Style

                                                Travel

                                               Sports

                                               Videos

                                              Coupons

                                                More




                                       FOLLOW CNN POLITICS




https://www.cnn.com/2019/08/16/politics/donald-trump-supporter-weight-new-hampshire... 20-Aug-19
Trump called supporter after mocking him during a rally over 'a serious weight problem' -... Page 3 of 3
            Case 1:19-cv-02514-KBJ Document 3-3 Filed 08/20/19 Page 4 of 4



   Terms of Use   Privacy Policy   Accessibility & CC   AdChoices    About Us   CNN Studio Tours   CNN Store

                   Newsletters     Transcripts   License Footage    CNN Newsource    Sitemap



              © 2019 Cable News Network. Turner Broadcasting System, Inc. All Rights Reserved.
                                    CNN Sans ™ & © 2016 Cable News Network.



                                                                                                   LIVE TV




https://www.cnn.com/2019/08/16/politics/donald-trump-supporter-weight-new-hampshire... 20-Aug-19
Case 1:19-cv-02514-KBJ Document 3-4 Filed 08/20/19 Page 1 of 3




               Exhibit 4
Case 1:19-cv-02514-KBJ Document 3-4 Filed 08/20/19 Page 2 of 3
Case 1:19-cv-02514-KBJ Document 3-4 Filed 08/20/19 Page 3 of 3
Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 1 of 9




               Exhibit 5
                Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 2 of 9




                                                                                                                               

                                                                                                    Theodore J. Boutrous Jr.
                                                                                                   Direct: +1 213.229.7804
                                                                                                   Fax: +1 213.229.6804
                                                                                                    TBoutrous@gibsondunn.com
    


    $XJXVW

    0V6WHSKDQLH*ULVKDP
    $VVLVWDQWWRWKH3UHVLGHQW
    :KLWH+RXVH3UHVV6HFUHWDU\
    7KH:KLWH+RXVH
    3HQQV\OYDQLD$YHQXH1:
    :DVKLQJWRQ'&

    

    'HDU0V*ULVKDP
    

            :HZULWHRQEHKDOIRIRXUFOLHQW%ULDQ.DUHPZKRVHUYHVDVWKH:KLWH+RXVH
    FRUUHVSRQGHQWIRU3OD\ER\ LQUHVSRQVHWR\RXU$XJXVWOHWWHULQIRUPLQJKLPRI\RXU
    ³SUHOLPLQDU\GHFLVLRQ´WRVXVSHQGKLVKDUGSDVVIRUGD\VVXSSRVHGO\³GXHWR>KLV@
    FRQGXFWDWWKHSUHVVHYHQWLQWKH5RVH*DUGHQRQ-XO\´DQGJLYLQJKLPRQH
    EXVLQHVVGD\WRVXEPLWDUHVSRQVHEHIRUH\RX³PDNHDILQDOGHFLVLRQLQWKLVPDWWHU´:H
    REMHFWWRWKLVDUELWUDU\DQGXQIDLUSURFHGXUHWKUHDWHQLQJWRGHSULYH0U.DUHPRIKLV
    FRQVWLWXWLRQDOO\SURWHFWHGOLEHUW\DQGSURSHUW\LQWHUHVWVLQKLVKDUGSDVVZKLFKZRXOGIODWO\
    YLRODWHWKH)LUVW$PHQGPHQWDQGWKH'XH3URFHVV&ODXVHDQGWKHSULQFLSOHVHVWDEOLVKHGE\
    WKH'&&LUFXLW¶VGHFLVLRQLQSherrill v. Knight)G '&&LU DQGPDQ\
    RWKHUFDVHV<RXULQYRFDWLRQRIWKH5RVH*DUGHQHYHQWZHHNVDIWHULWRFFXUUHGDQGZLWKRXW
    DQ\QRWLFHZKDWVRHYHUWKDW\RXZHUHFRQVLGHULQJWDNLQJDFWLRQDJDLQVW0U.DUHPLVWKH
    RSSRVLWHRIGXHSURFHVVDQGLVFOHDUO\DSUHWH[WIRUSXQLVKLQJ0U.DUHPEDVHGRQKLV
    YLHZSRLQWDQGWKHFRQWHQWRIKLVUHSRUWLQJRQ3UHVLGHQW7UXPS

            $V3UHVV6HFUHWDU\WRWKH3UHVLGHQWRIWKH8QLWHG6WDWHV\RXKDYHWKHSULYLOHJHWREH
    LQDSRVLWLRQWRSURWHFWIUHHGRPRIWKHSUHVVDQGWRHQVXUHWKDWRXUQDWLRQ¶VMRXUQDOLVWVKDYH
    WKHDELOLW\WRJDWKHUDQGUHSRUWWRWKH$PHULFDQSHRSOHQHZVDERXWWKH3UHVLGHQWDQGWKH
    :KLWH+RXVH%XWWKLV$GPLQLVWUDWLRQ¶VXQSUHFHGHQWHGDQGXQFRQVWLWXWLRQDODWWHPSWVWR
    FRQYHUWWKHKDUGSDVVV\VWHPLQWRDPHDQVRIFHQVRULQJDQGSHQDOL]LQJWKHSUHVVFKDUWVD
    GDQJHURXVSDWKWKDWZHKRSH\RXZLOOUHFRQVLGHU

    
      :KLOHZHDUHVXEPLWWLQJWKLVUHVSRQVHZLWKLQWKHXQUHDVRQDEOHGHDGOLQH\RXVHWLQ\RXUOHWWHUZHDOVR
         UHTXHVWWKDW\RXSURYLGHDGGLWLRQDOLQIRUPDWLRQUHODWLQJWRWKHGHFLVLRQLQFOXGLQJDQ\DQGDOO
         FRPPXQLFDWLRQVZLWK6HEDVWLDQ*RUND:HZRXOGDOVRDSSUHFLDWHWKHFKDQFHWRPHHWZLWK\RXWRGLVFXVV
         WKHVHLVVXHVSULRUWR\RXUPDNLQJDILQDOGHWHUPLQDWLRQ



                                                                                                         
    
           Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 3 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    ,    %DFNJURXQG

            0U.DUHPLV3OD\ER\¶VVHQLRU:KLWH+RXVHFRUUHVSRQGHQWDSROLWLFDODQDO\VWIRU
    &11DQGWKHFXUUHQWSUHVLGHQWRIWKH0DU\ODQG'HODZDUH'LVWULFWRI&ROXPELD3UHVV
    $VVRFLDWLRQ+HLVDKLJKO\UHVSHFWHGDZDUGZLQQLQJMRXUQDOLVWZLWKDORQJKLVWRU\RI
    VWDQGLQJXSIRUSUHVVIUHHGRP,QKHZDVMDLOHGIRUFRQWHPSWRIFRXUWDIWHUUHIXVLQJWR
    GLVFORVHWKHQDPHRIFRQILGHQWLDOVRXUFHVZKRKHOSHGKLPDUUDQJHDWHOHSKRQHLQWHUYLHZZLWK
    DMDLOHGPXUGHUVXVSHFWDIWHUZKLFKKHZRQWKH1DWLRQDO3UHVV&OXE¶V)UHHGRPRIWKH3UHVV
    DZDUG+HZHQWRQWRZRUNDVH[HFXWLYHHGLWRURIThe Sentinel NewspapersLQ0DU\ODQGDQG
    DVSURGXFHUDQGWHOHYLVLRQFRUUHVSRQGHQWIRUAmerica’s Most WantedKDVVHUYHGDVD
    IUHTXHQWQHZVFRPPHQWDWRUDQGDXWKRUHGVHYHQERRNV

            3OD\ER\OLNHZLVHKDVDORQJKLVWRU\RIILJKWLQJIRUDQGDGYRFDWLQJIRU)LUVW
    $PHQGPHQWULJKWV)RUH[DPSOHLQ3OD\ER\FRQYLQFHGWKH6XSUHPH&RXUWWR
    LQYDOLGDWHDVHFWLRQRIWKH7HOHFRPPXQLFDWLRQV$FWRIOLPLWLQJWKHWUDQVPLVVLRQRI
    VH[XDOO\RULHQWHGFKDQQHOVDVDQLPSHUPLVVLEOHFRQWHQWEDVHGUHVWULFWLRQ. See United States
    v. Playboy Entm’t Grp., Inc.86  3OD\ER\IRXQGHU+XJK+HIQHUZDVDOVRD
    ZHOONQRZQFKDPSLRQRIIUHHVSHHFKSXEOLVKLQJFahrenheit 451 LQVHULDOL]HGIRUPLQ
    3OD\ER\LQDQGODWHUVWDUWLQJWKH+XJK0+HIQHU)RXQGDWLRQDQRQSURILWFRPPLWWHG
    WRWKHVXSSRUWRI)LUVW$PHQGPHQWIUHHGRPV

            ,Q\RXU$XJXVWOHWWHU\RXSXUSRUWWREDVH\RXUGHFLVLRQWRVXVSHQG0U.DUHP¶V
    KDUGSDVVRQD-XO\H[FKDQJHEHWZHHQ0U.DUHPDQGFRQVHUYDWLYHUDGLRKRVWDQG
    IRUPHU:KLWH+RXVHDGYLVRU6HEDVWLDQ*RUND7KLVH[FKDQJHWRRNSODFHIROORZLQJD:KLWH
    +RXVH6RFLDO0HGLD6XPPLWDWWHQGHGE\FRQVHUYDWLYHVRFLDOPHGLDDFWLYLVWVLQFOXGLQJ
    0U*RUNDDQGDSHUVRQZKRRSHUDWHGXQGHUWKHQDPH³&DUSH'RQNWXP´DQGLVEHVWNQRZQ
    IRUFUHDWLQJDZLGHO\GLVWULEXWHGIDNHYLGHRRIIRUPHU9LFH3UHVLGHQW-RH%LGHQ7KHHYHQW
    ³ZDVFDOOHGD6RFLDO0HGLD6XPPLWEXWQRRQHIURPWKHODUJHVWSODWIRUPV±7ZLWWHU
    )DFHERRNDQG*RRJOH±ZDVLQFOXGHG,QVWHDGWKHJXHVWOLVWLQFOXGHGIDUULJKWH[WUHPLVWV
    SHRSOHZLWKDUHFRUGRIFUHDWLQJDQGWU\LQJWRVSUHDGIDOVHFRQVSLUDF\WKHRULHVDQGUDFLVW
    WURSHV´White House Social Media Summit Recap, 135 -XO\ 
    KWWSVQSU*/$HIN.DWLH5RJHUV White House Hosts Conservative Internet Activists at a
    ‘Social Media Summit’N.Y. Times -XO\ KWWSVQ\WLPVO\KKZ QRWLQJWKDWWKH
    HYHQWIHDWXUHGWKHDWWHQGDQFHRI³FRQVHUYDWLYHVRFLDOPHGLDILUHEUDQGV´WRZKRPWKH
    3UHVLGHQWVWDWHG³µ>W@KHFUDS\RXWKLQNRILVXQEHOLHYDEOH¶´ 7RVD\WKHOHDVWLWZDVD
    FRORUIXODQGERLVWHURXVFURZG

           7KHH[FKDQJHLQWKH5RVH*DUGHQIROORZHG3UHVLGHQW7UXPS¶VSRVWVXPPLWUHPDUNV
    RQ$WWRUQH\*HQHUDO%DUU¶VVWUDWHJ\WRLQFOXGHWKHFLWL]HQVKLSTXHVWLRQRQWKHFHQVXV0U
    .DUHPDVNHGZKHWKHU3UHVLGHQW7UXPSZRXOGVWLFNDURXQGDQGDQVZHUVRPHTXHVWLRQV
           Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 4 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    ZKLFKKHGLGQRW2QHFRQVHUYDWLYHVRFLDOPHGLDDFWLYLVWWKHQPRFNHG.DUHPVD\LQJ³'RQ¶W
    EHVDGGRQ¶WEHVDG´DQG0U.DUHPLQJRRGKXPRUPDGHDMRNHGRLQJKLV5RGQH\
    'DQJHUILHOGLPSUHVVLRQ²³ORRNVOLNHDFURZGHDJHUWREHGHPRQLFDOO\SRVVHVVHG´$VWKH
    YLGHRV\RXFLWHPDNHFOHDUWKHMRNHZDVZHOOUHFHLYHGE\WKHDVVHPEOHGDFWLYLVWVPDQ\RI
    ZKRPZHUHWDXQWLQJDQGLQVXOWLQJWKH:KLWH+RXVHUHSRUWHUVLQDWWHQGDQFH

            ,QUHVSRQVH0U*RUNDDVVKRZQLQYLGHRVDQGDFFRUGLQJWRWKRVHLQDWWHQGDQFH
    EHJDQ\HOOLQJDW0U.DUHPWDXQWLQJKLPDQGFDOOLQJKLPD³MRXUQDOLVW´ZLWKPRFNLQJDLU
    TXRWHV,QUHVSRQVHWR0U*RUND¶VRQVODXJKW0U.DUHPVWDWHG³+H\EURWKHUZHFDQWDON
    DQ\WLPH\RXZDQWRUJRRXWVLGHDQGKDYHDORQJWDON´E\ZKLFKKHZDVVXJJHVWLQJWKDWKH
    DQG0U*RUNDDFWXDOO\GLVFXVVWKHLUYLHZVRXWVLGHRIWKH5RVH*DUGHQQRWWKDWWKHWZR
    HQJDJHLQD³SK\VLFDOFRQIURQWDWLRQ´DV\RXUOHWWHUIDOVHO\LQGLFDWHV$QGDOWKRXJK0U
    .DUHPQHYHUFURVVHGWKHURSHOLQHVHSDUDWLQJWKHSUHVVFRUSVIURPWKHHYHQWDWWHQGHHV0U
    *RUNDFKDUJHGDFURVVWKH5RVH*DUGHQWRFRQIURQW0U.DUHP\HOOLQJDW0U.DUHPDQG
    DFFXVLQJ0U.DUHPRI³WKUHDWHQLQJ´KLPDQGVKRXWLQJ³<RX¶UHQRWDMRXUQDOLVW<RX¶UHD
    SXQN´7KHFURZGRILQYLWHGFRQVHUYDWLYHDFWLYLVWVVWDUWHGFKHHULQJ³*RUND*RUND´2QH
    ZRPDQLQWKHFURZG\HOOHG³+LWKLP*RUND+LWKLP´)R[1HZVFRQWULEXWRU-LP+DQVRQ
    HYHQWROG0U.DUHPWKDW³MXVWIRUWKHUHFRUG>0U*RUNDZRXOG@NLFN\RXUSXQNDVV´0U
    *RUNDDOVRDSSDUHQWO\UHIHUUHGWRRWKHUUHSRUWHUVDV³DVVKDWV´DQG0U.DUHPZLWQHVVHG
    QXPHURXVDWWHQGHHVRIWKHHYHQWDFWLYHO\KHFNOLQJUHSRUWHUVLQFOXGLQJ&11¶V-LP$FRVWD
    7KHHVFDODWLRQRIWKLVVLWXDWLRQZDVWKHUHVXOWRI0U*RUND¶VDFWLRQVDQGWKHFURZG¶V
    UHVSRQVHWRWKHP$WQRWLPHGLGDQ\:KLWH+RXVHVWDIIHUVRUWKH6HFUHW6HUYLFHDWWHPSWWR
    VWRSany RIWKHJXHVWVIURPKHFNOLQJWKHSUHVVQRUGLGWKH\LQWHUFHGHWRNHHS0U*RUNDRU
    DQ\RWKHUHYHQWDWWHQGHHIURPHQJDJLQJLQKDUDVVPHQW

            ,QGHHG0U.DUHPDFWXDOO\DSSURDFKHG0U*RUNDDIWHUWKHFRQIURQWDWLRQLQDQ
    DWWHPSWWRGHHVFDODWHWKHVLWXDWLRQDQGWDONWKLQJVRXW0U.DUHPRIIHUHGWRVKDNH0U
    *RUND¶VKDQG%XW0U*RUNDUHEXIIHGWKHVHHIIRUWVDQGUHIXVHGWRHQJDJHZLWK0U.DUHP
    RWKHUWKDQLQVLVWLQJUHSHDWHGO\WKDW0U.DUHPZDV³GRQH´²ZKLFKPD\KDYHIRUHVKDGRZHG
    0U*RUND¶VHIIRUWVWREULQJDERXWWKHFXUUHQWVXVSHQVLRQ6LPLODUO\VXEVHTXHQWWRWKH-XO\
    SUHVVHYHQW0U.DUHPUHDFKHGRXWWR\RXURIILFHPXOWLSOHWLPHVWRGLVFXVVWKHLQFLGHQW
    EXW\RXFDQFHOHGPHHWLQJV\RXDQGKHKDGVFKHGXOHGDQGWZRVXEVHTXHQWHPDLOV0U.DUHP
    VHQWWR\RXURIILFHHQGHGZLWKQRVFKHGXOHGPHHWLQJ<RXURIILFHWKHQIXUWKHUDGYLVHGWKDW
    \RXZRXOGEHDYDLODEOHGXULQJWKHZHHNRI$XJXVWVXJJHVWLQJDQHIIRUWWRGHOD\PHHWLQJ
    ZLWK0U.DUHPXQWLOafter\RXGHFLGHGWRVXVSHQGKLVKDUGSDVV

           0U*RUNDDSSHDUVWRKDYHUHOLVKHGWKHFRQIURQWDWLRQ+HVXEVHTXHQWO\EUDJJHGWKDW
    KHWRRNRQWKH³IDNHQHZVLQGXVWULDOFRPSOH[´KWWSVELWO\.H%E\(DQG³UHDG>0U
    .DUHP@WKHULRWDFW#6HE*RUNDTwitter -XO30 VXJJHVWLQJKLV
    DJJUHVVLRQDLPHGDW0U.DUHPPD\ZHOOKDYHEHHQVWDJHGWKHDWULFV+HHYHQFDOOHGRQ
             Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 5 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    RWKHUVWRIROORZKLV³H[DPSOH´LQFRQIURQWLQJMRXUQDOLVWVKWWSVZDVKH[DP<$1YY
    3UHVLGHQW7UXPSDSSODXGHG0U*RUNDRQ7ZLWWHUZULWLQJ³#6HE*RUND:LQV%LJ1R
    &RQWHVW´7KHWZHHWLVQRZ³SLQQHG´DWWKHWRSRI0U*RUND¶V7ZLWWHUSURILOH7KH
    3UHVLGHQW¶VWZHHWLQIDFWGHPRQVWUDWHVWKDWKHGLGQRWYLHZ0U.DUHP¶VFRQGXFWDV
    WKUHDWHQLQJWRWKHDGPLQLVWUDWLRQRUDQ\RILWVJXHVWVEXWUDWKHUWKRXJKWLWZDVKXPRURXV

            ,QWKHGD\SHULRGEHWZHHQWKHVRFLDOPHGLDVXPPLWDQG\RXU$XJXVW
    ³SUHOLPLQDU\GHFLVLRQ´WRVXVSHQG0U.DUHP¶VKDUGSDVV3UHVLGHQW7UXPSKDVUHVSRQGHGWR
    VHYHUDORI0U.DUHP¶VTXHVWLRQVDWSUHVVHYHQWVLQFOXGLQJDQVZHULQJWZRTXHVWLRQV²RQH
    DERXWSRWHQWLDO'LUHFWRURI1DWLRQDO,QWHOOLJHQFHQRPLQHHVDQGRQHDERXWSRWHQWLDOIDUP
    VXEVLGLHVGXHWRWKH&KLQD7UDGH:DU²DOLWWOHOHVVWKDQWZRKRXUVEHIRUH0U.DUHP
    UHFHLYHGWKHHPDLOWHOOLQJKLPRI\RXUSUHOLPLQDU\GHFLVLRQ2Q$XJXVWLQIDFW²WKHGD\
    EHIRUH\RXVHQW\RXUOHWWHU²0U.DUHPDVNHGWKH3UHVLGHQWWRUHVSRQGWRSUHVLGHQWLDO
    FDQGLGDWH%HUQLH6DQGHUV¶VFRQWHQWLRQWKDWWKH3UHVLGHQWZDVDSDWKRORJLFDOOLDUDTXHVWLRQ
    WKH3UHVLGHQWLJQRUHG

           7KHQH[WGD\GHVSLWHQRUHOHYDQWFRPPXQLFDWLRQVVLQFHWKH5RVH*DUGHQHYHQW\RX
    VHQW\RXUOHWWHUDGYLVLQJRI\RXU³SUHOLPLQDU\´GHFLVLRQWRUHYRNH0U.DUHP¶VKDUGSDVV
    0U*RUNDLPPHGLDWHO\FHOHEUDWHGWKHVXVSHQVLRQRQ7ZLWWHUWKDQNLQJ\RXDQGWKH3UHVLGHQW
    ³>R@QEHKDOIRI$PHULFDQVZKR¶YHKDGHQRXJKRI)DNH1HZVSXQNVOLNH#%ULDQ.DUHP´

    ,,     7KH3UHOLPLQDU\'HFLVLRQWR6XVSHQG0U.DUHP¶V+DUG3DVV9LRODWHV+LV'XH
             3URFHVVDQG)LUVW$PHQGPHQW5LJKWV

            <RXURZQOHWWHUDPSO\GHPRQVWUDWHVWKHYLRODWLRQRI0U.DUHP¶VDQG3OD\ER\¶V
    FRQVWLWXWLRQDOULJKWVFirst\RXDFNQRZOHGJHLQ\RXUOHWWHUWKDWWKH:KLWH+RXVHKDV³not´
    LVVXHGDQ\³H[SOLFLWUXOHVWRJRYHUQEHKDYLRUE\PHPEHUVRIWKHSUHVVDW:KLWH+RXVH
    SUHVVHYHQWV´VXFKDVWKHVRFLDOPHGLDVXPPLWRQ-XO\,QVWHDG\RXFLWHRQO\YDJXH
    SXUSRUWHGO\³ZLGHO\VKDUHGXQGHUVWDQGLQJ>V@´DVWKHEDVLVIRU\RXUGHFLVLRQWRWHPSRUDULO\
    VXVSHQG0U.DUHP¶VKDUGSDVV²DSDVVRXUFOLHQWKDVSRVVHVVHGIRUQHDUO\D\HDUDQGLQ
    ZKLFKKHXQTXHVWLRQDEO\KDVD³)LUVW$PHQGPHQWOLEHUW\LQWHUHVW´Cable News Network,
    Inc. v. Trump1RFY'NW1R ''&1RY  RUDOUXOLQJ 

                ,QSherrill v. Knight)G '&&LU WKH'&&LUFXLWPDGHFOHDUWKDW
    GXHSURFHVVLQWKLVFRQWH[WUHTXLUHVWKHJRYHUQPHQW³to articulate and publishDQH[SOLFLWDQG
    PHDQLQJIXOVWDQGDUG´JRYHUQLQJWKHGHQLDORI:KLWH+RXVHSUHVVSDVVHVLQDGYDQFHRIDQ\
    
      <RXQRWHWKDWWKH:KLWH+RXVH³KDGQRWSUHYLRXVO\WKRXJKWKDWDVHWRIH[SOLFLWUXOHVZDVQHFHVVDU\WR
         JRYHUQEHKDYLRUE\PHPEHUVRIWKHSUHVVDW:KLWH+RXVHHYHQWV´:HDJUHHDQGEHOLHYHWKDWWKHSULRU
         SUDFWLFHRIWKH:KLWH+RXVHZRUNLQJFRRSHUDWLYHO\ZLWKWKHSUHVVLVSUHIHUDEOHWRXVLQJUHYRFDWLRQDQG
         WKUHDWVRIUHYRFDWLRQRIKDUGSDVVHVDVDWRROWRVWLIOHMRXUQDOLVWLFDFWLYLW\
           Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 6 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    VXFKGHSULYDWLRQId. DW HPSKDVLVDGGHG see also id.DW ³>7@KHSURWHFWLRQDIIRUGHG
    QHZVJDWKHULQJXQGHUWKHILUVWDPHQGPHQWJXDUDQWHHRIIUHHGRPRIWKHSUHVVUHTXLUHVWKDWWKLV
    DFFHVV>WR:KLWH+RXVHSUHVVIDFLOLWLHV@QRWEHGHQLHGDUELWUDULO\RUIRUOHVVWKDQFRPSHOOLQJ
    UHDVRQV´ 7KDWLVFRQVLVWHQWZLWKORQJVWDQGLQJ866XSUHPH&RXUWSUHFHGHQWUHTXLULQJ
    FOHDUDQGREMHFWLYHO\DGPLQLVWUDEOHVWDQGDUGVSDUWLFXODUO\ZKHUHWKH)LUVW$PHQGPHQWLV
    FRQFHUQHG³$IXQGDPHQWDOSULQFLSOHLQRXUOHJDOV\VWHPLVWKDWODZVZKLFKUHJXODWHSHUVRQV
    RUHQWLWLHVPXVWJLYHIDLUQRWLFHRIFRQGXFWWKDWLVIRUELGGHQRUUHTXLUHG´FCC v. Fox
    Television Studios, Inc.86  $QG³>Z@KHQVSHHFKLVLQYROYHG
    ULJRURXVDGKHUHQFHWRWKRVHUHTXLUHPHQWVLVQHFHVVDU\WRHQVXUHWKDWDPELJXLW\GRHVQRWFKLOO
    SURWHFWHGVSHHFK´Id.DW±

             ,QWUXWKWKHUHDUHQRVRFDOOHG³ZLGHO\XQGHUVWRRGXQGHUVWDQGLQJ>V@´WKDWZRXOG
    VXSSRUW\RXUSUHOLPLQDU\GHFLVLRQDQGWKHVWDQGDUGV\RXKDYHFRQFRFWHGDUHVRYDJXHDQG
    VXEMHFWLYHDVWREHXQFRQVWLWXWLRQDORQWKHLUIDFH1RWLRQVWKDWWKHSUHVVFRUSVKDVZLGHO\
    XQGHUVWRRGWKDWWKH\PXVWPDLQWDLQ³GHFRUXP´³REH\LQVWUXFWLRQVIURP:KLWH+RXVHVWDII´
    DQGUHIUDLQIURP³WDXQWLQJRWKHUPHPEHUVRIWKHSUHVV´DSSHDUWREHQRWKLQJPRUHWKDQ
    QHZO\JHQHUDWHGSUHWH[WXDOUDWLRQDOHVVHHNLQJWRMXVWLI\WKH:KLWH+RXVH¶VGHFLVLRQpost hoc
    LQWKLVFLUFXPVWDQFH,QGHHGQXPHURXVDWWHQGHHVDWWKH-XO\HYHQWYLRODWHGWKHDSSDUHQW
    QRWDXQWLQJUXOH\HW\RXKDYHVLQJOHGRXWRQO\0U.DUHPIRUSXQLVKPHQWZLWKRXW
    H[SODQDWLRQ

            0RUHRYHUWKHYDJXH³XQGHUVWDQGLQJ>V@´UHIHUUHGWRLQ\RXUOHWWHUSODLQO\GRQRW
    FRQVWLWXWHWKH³SXEOLVK>HG@H[SOLFLWDQGPHDQLQJIXOVWDQGDUGV´UHTXLUHGXQGHUSherrill v.
    KnightDQGRWKHUELQGLQJFDVHODZ7KLVLVSUHFLVHO\ZKDWWKH&RQVWLWXWLRQSURKLELWVSee,
    e.g. Fox Television Stations86DW ILQGLQJEURDGFDVWHU¶VGXHSURFHVVULJKWVZHUH
    YLRODWHGDQGQRWLQJWKDWWKH³YRLGIRUYDJXHQHVVGRFWULQHDGGUHVVHVDWOHDVWWZRFRQQHFWHGEXW
    GLVFUHWHGXHSURFHVVFRQFHUQVILUVWWKDWUHJXODWHGSDUWLHVVKRXOGNQRZZKDWLVUHTXLUHGRI
    WKHPVRWKH\PD\DFWDFFRUGLQJO\VHFRQGSUHFLVLRQDQGJXLGDQFHDUHQHFHVVDU\VRWKDWWKRVH
    HQIRUFLQJWKHODZGRQRWDFWLQDQDUELWUDU\RUGLVFULPLQDWRU\ZD\´ Reno v. ACLU
    86±   ³7KHYDJXHQHVVRI>DFRQWHQWEDVHGUHJXODWLRQRIVSHHFK@UDLVHV
    VSHFLDO)LUVW$PHQGPHQWFRQFHUQVEHFDXVHRILWVREYLRXVFKLOOLQJHIIHFWRQIUHHVSHHFK´ 
    BMW of N. Am., Inc. v. Gore86   ³(OHPHQWDU\QRWLRQVRIIDLUQHVV
    HQVKULQHGLQRXUFRQVWLWXWLRQDOMXULVSUXGHQFHGLFWDWHWKDWDSHUVRQUHFHLYHIDLUQRWLFHQRWRQO\
    RIWKHFRQGXFWWKDWZLOOVXEMHFWKLPWRSXQLVKPHQWEXWDOVRRIWKHVHYHULW\RIWKHSHQDOW\WKDW
    D6WDWHPD\LPSRVH´ Giaccio v. Pennsylvania86   ³>2@QHRIWKH
    EDVLFSXUSRVHVRIWKH'XH3URFHVV&ODXVHKDVDOZD\VEHHQWRSURWHFWDSHUVRQDJDLQVWKDYLQJ
    WKH*RYHUQPHQWLPSRVHEXUGHQVXSRQKLPH[FHSWLQDFFRUGDQFHZLWKWKHYDOLGODZVRIWKH
    ODQG,PSOLFLWLQWKLVFRQVWLWXWLRQDOVDIHJXDUGLVWKHSUHPLVHWKDWWKHODZPXVWEHRQHWKDW
    FDUULHVDQXQGHUVWDQGDEOHPHDQLQJZLWKOHJDOVWDQGDUGVWKDWFRXUWVPXVWHQIRUFH´ 
             Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 7 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
              Second0U.DUHPZDVDIIRUGHGno SURFHVVEHIRUH\RXUHDFKHGWKLV³SUHOLPLQDU\
    GHFLVLRQ´ZKLFKZDVUHYHDOHGWR0U.DUHPDIWHUWKHIDFWOLPLWLQJ0U.DUHPWRDQ
    ³DSSHDO´RQVKRUWQRWLFHRIDGHFLVLRQDOUHDG\PDGHSee Sherrill)GDW ³>1@RWLFH
    RIWKHIDFWXDOEDVHVIRUGHQLDO>RIDFFHVVWR:KLWH+RXVHSUHVVIDFLOLWLHV@ZLWKDQ
    RSSRUWXQLW\WRUHEXWLVDPLQLPXPSUHUHTXLVLWHIRUHQVXULQJWKDWWKHGHQLDOLV>QRW@EDVHG
    RQDUELWUDU\RUOHVVWKDQFRPSHOOLQJUHDVRQV´  7KHUHLVQRLQGLFDWLRQWKDWUHVSRQGLQJWR
    \RXU³SUHOLPLQDU\´GHFLVLRQWRUHYRNH0U.DUHP¶VSDVVSURYLGHV0U.DUHPDQ\
    PHDQLQJIXORSSRUWXQLW\WREHKHDUGE\DQREMHFWLYHGHFLVLRQPDNHUDVGXHSURFHVVUHTXLUHV
    WKXVUHQGHULQJDQ\ILQDOGHFLVLRQ\RXPDNHWRVWULSKLPRIKLVSDVVFRQVWLWXWLRQDOO\LQILUP
    See Caperton v. A.T. Massey Coal Co86   QRWLQJWKDWGXHSURFHVV
    YLRODWHGQRWRQO\ZKHQD³MXGJHLVDFWXDOO\VXEMHFWLYHO\ELDVHG´EXWDOVRZKHQWKHUHH[LVWV
    HYHQWKH³SRWHQWLDOIRUELDV´ <RXHYHQVWDWHWKDWWKH3UHVLGHQWLV³DZDUH´RI\RXUGHFLVLRQ
    WRVXVSHQG0U.DUHP¶VSDVVDQGDOUHDG\³FRQFXUV´ZLWKLW

            7KLVUHWURDFWLYHDSSOLFDWLRQRIYDJXHXQDUWLFXODWHGVWDQGDUGVWRDMRXUQDOLVW¶VDFFHVV
    WRWKH:KLWH+RXVHWKURXJKDSURFHVV³VKURXGHGLQP\VWHU\´LVMXVWWKHW\SHRIGXHSURFHVV
    YLRODWLRQWKDWOHGWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH'LVWULFWRI&ROXPELDWRLVVXHD
    WHPSRUDU\UHVWUDLQLQJRUGHUDJDLQVWPHPEHUVRIWKH7UXPS$GPLQLVWUDWLRQLQ1RYHPEHULQ
    FRQQHFWLRQZLWKWKHUHYRFDWLRQRIDQRWKHUUHSRUWHU¶VKDUGSDVVSee Cable News Network
    1RFY'NW1R RUDOUXOLQJ 

                ThirdZKLOHWKHVWDWHGUDWLRQDOHIRUWKHSUHOLPLQDU\GHFLVLRQDQGWKH ODFNRI SURFHVV
    WKDWOHGWRLWDUHE\WKHPVHOYHVIXQGDPHQWDOO\IODZHGWKHIDFWVDQGFLUFXPVWDQFHVDOVR
    VXJJHVWWKDWWKHGHFLVLRQZDVLQIDFWEDVHGRQXQFRQVWLWXWLRQDOFRQWHQWDQGYLHZSRLQWEDVHG
    GLVFULPLQDWLRQDQGSRWHQWLDOO\PDGHLQFRRUGLQDWLRQZLWK0U*RUND See, e.g.Knight First
    Amendment Inst. at Columbia Univ. v. Trump)G G&LU  LQYDOLGDWLQJWKH
    3UHVLGHQW¶VYLHZSRLQWGLVFULPLQDWLRQDVXQFRQVWLWXWLRQDO cf. Cable News Network1R
    FY'NW1RDW± FRQFOXGLQJWKDWWKH$GPLQLVWUDWLRQ¶VRULJLQDOMXVWLILFDWLRQ
    IRUVXVSHQGLQJ-LP$FRVWD¶VKDUGSDVVZDVEDVHGRQHYLGHQFH³RITXHVWLRQDEOHDFFXUDF\´ 
    0U*RUNDDWWDFNHG0U.DUHPIRUEHLQJZKDW0U*RUNDGHHPVDIDNHMRXUQDOLVWDWHUPWKDW
    3UHVLGHQW7UXPSDQGKLVVXSSRUWHUVIUHTXHQWO\DSSO\WRZKDWWKH\SHUFHLYHDVQHJDWLYH
    FRYHUDJHRIWKH3UHVLGHQWDQGFDOOHGRQRWKHUVWRIROORZKLV³H[DPSOH´
    KWWSVZDVKH[DP<$1YY$QG3UHVLGHQW7UXPSWZHHWHGKLVDSSURYDORI0U*RUND¶V
    DFWLRQVZULWLQJ³#6HE*RUND:LQV%LJ1R&RQWHVW´)XUWKHUDOWKRXJK0U*RUNDDQGWKH
    
      7KHFRXUWLQCNN DOVRFRQFOXGHGWKDW³>H@DFKGD\WKDW>DUHSRUWHU@LVGHSULYHGRI´KLV³)LUVW$PHQGPHQW
         OLEHUW\LQWHUHVWLQD:KLWH+RXVHSUHVVSDVV´³ZLWKRXWWKHSURFHVVSUHVFULEHGE\WKHFRXUWLQSherrillKH
         VXIIHUVDKDUPWKDWFDQQRWEHUHPHGLHG´Cable News Network, Inc.1RFY'NW1RDW±
         ±7RWKHH[WHQW\RXXQODZIXOO\GHSULYH0U.DUHPRIKLVSUHVVSDVVIRUHYHQRQHGD\\RXZLOO
         FDXVHLUUHSDUDEOHKDUPDQGZHUHVHUYHDOOOHJDOULJKWVWRVHHNDFRQFRPLWDQWUHPHG\WRWKDWKDUPLQFOXGLQJ
         PRQH\GDPDJHVIRUWKHYLRODWLRQRIFOHDUO\HVWDEOLVKHGIHGHUDOODZ
             Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 8 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    RWKHUDWWHQGHHVRIWKHVXPPLWZHUHLQIDFWUHVSRQVLEOHIRUWKH³JURVVEUHDFKRIGHFRUXP´\RX
    LGHQWLI\LQ\RXUOHWWHUDQGQRW0U.DUHP\RXGHFLGHGLQVWHDGWRVLQJOHRXW0U.DUHPIRU
    UHWDOLDWLRQHYHQZKLOHWKH3UHVLGHQWFHOHEUDWHVWKRVHLQFOXGLQJ0U*RUNDYLDSUHVLGHQWLDO
    WZHHWZKRKDYHEHKDYHGIDUZRUVHSee, e.g.Trump Praises Montana Congressman Who
    Body-Slammed Reporter&1%& 2FW$0 KWWSVFQEF[G<&5 QRWLQJ
    WKH3UHVLGHQW¶VSUDLVHRI*UHJ*LDQIRUWH¶VERG\VODPRIDUHSRUWHU³$Q\JX\WKDWFDQGRD
    ERG\VODP²KH¶VP\NLQGRIJX\+H¶VDJUHDWJX\WRXJKFRRNLH´ 7KLVH[KLELWVD
    FOHDUDQGSURKLELWHGELDVEDVHGRQFRQWHQWRIVSHHFKDQGWKHLGHQWLW\RIWKHVSHDNHUSee
    Citizens United v. Fed. Election Comm’n86   ³6SHHFKUHVWULFWLRQV
    EDVHGRQWKHLGHQWLW\RIWKHVSHDNHUDUHDOOWRRRIWHQVLPSO\DPHDQVWRFRQWUROFRQWHQW´ 

            7KHIDFWWKDWWKHVXVSHQVLRQLVFRQWHQWEDVHGLVDOVRVXSSRUWHGE\WKHIDFWWKDWWKH
    :KLWH+RXVHZDLWHGGD\VEHIRUHLVVXLQJLWVSUHOLPLQDU\GHFLVLRQWRVXVSHQG0U.DUHP¶V
    KDUGSDVV²ZLWKWKH3UHVLGHQWDQVZHULQJVHYHUDORI.DUHP¶VTXHVWLRQVGXULQJWKDWSHULRG²
    VXJJHVWLQJWKDWWKHGHFLVLRQLVOHVVDERXWSURWHFWLQJVDIHW\RUGHFRUXPWKDQVLOHQFLQJD
    MRXUQDOLVWNQRZQIRUWRXJKTXHVWLRQLQJRIWKH3UHVLGHQW,QGHHGWKHWLPLQJRIWKHOHWWHU
    DSSHDUVPRUHFRQQHFWHGWR0U.DUHP¶VTXHVWLRQLQJRI3UHVLGHQW7UXPSRQ$XJXVW
    UHJDUGLQJ%HUQLH6DQGHUV¶VFRQWHQWLRQWKDWWKH3UHVLGHQWZDVDSDWKRORJLFDOOLDUWKDQWRD
    SUHVVHYHQWWKUHHZHHNVHDUOLHUQRWWKHILUVWWLPH0U.DUHPKDVDSSHDUHGWRUDQNOH3UHVLGHQW
    7UXPSDQG:KLWH+RXVHRIILFLDOVZLWKWRXJKTXHVWLRQV7KHIDFWWKDW\RXPDGHQRHIIRUW
    GXULQJWKHWKUHHZHHNGHOD\WRLQTXLUHDERXWWKHLQFLGHQWRUSURYLGHDZDUQLQJUHJDUGLQJ
    FRQGXFWDW5RVH*DUGHQHYHQWVLVIXUWKHUHYLGHQFHWKDWWKH³SUHOLPLQDU\GHFLVLRQ´WRVXVSHQG
    0U.DUHP¶VKDUGSDVVLVQRWKLQJPRUHWKDQDSUHWH[WIRUSXQLVKLQJ0U.DUHPIRUWKH
    FRQWHQWRIKLVTXHVWLRQLQJDQGDPHDQVWRFKLOO0U.DUHPDQGRWKHUMRXUQDOLVWVIURP
    DJJUHVVLYHO\FRYHULQJWKH3UHVLGHQWDQGWKH:KLWH+RXVHE\LQVWLOOLQJIHDURIKDYLQJWKHLU
    KDUGSDVVHVVXVSHQGHGRUUHYRNHG

                Finally\RXDOVRSURYLGHQRH[SODQDWLRQDVWRZK\VXVSHQGLQJ0U.DUHP¶VKDUG
    SDVVLVDVXIILFLHQWO\WDLORUHGUHVWULFWLRQRIKLV)LUVW$PHQGPHQWOLEHUW\LQWHUHVWVZKHUH
    
      )RUH[DPSOHDVUHFHQWO\DV-XO\QHDUO\WZRZHHNVDIWHUWKHLQFLGHQWLQTXHVWLRQWKH3UHVLGHQW
         FDOOHG0U.DUHPDQGRWKHUMRXUQDOLVWV³IDNHQHZV´ZKLOHSRLQWLQJKLVILQJHUDW0U.DUHP$VDQRWKHU
         H[DPSOHRQ-XQH.DUHPKDGDZLGHO\UHSRUWHGH[FKDQJHZLWK6DUDK+XFNDEHH6DQGHUVLQWKH
         :KLWH+RXVHEULHILQJURRP,QUHVSRQVHWRDTXHVWLRQIURP&11:KLWH+RXVHFRUUHVSRQGHQW-LP$FRVWD
         DERXWWKHGHWHQWLRQRILPPLJUDQWFKLOGUHQ6DQGHUVUHVSRQGHGWKDWLWLV³ELEOLFDOWRHQIRUFHWKHODZ´
         .DUHPWKHQDVNHG6DQGHUVZKHWKHUVKHKDGHPSDWK\JLYHQWKDWVKHKHUVHOILVDSDUHQW/DWHUWKDWGD\)R[
         1HZVKRVW-HVVH:DWWHUVVDLGWKDW.DUHPDQG$FRVWD³GRQ¶WEHORQJ´LQWKHEULHILQJURRPDQGWKDWWKH
         :KLWH+RXVH³QHHG>V@WRVWDUWULSSLQJSUHVVSDVVHVDZD\´7KH3UHVLGHQWKDVPDGHFOHDUKLVGLVOLNHRI
         WRXJKTXHVWLRQLQJE\.DUHP2Q)HEUXDU\DIWHU.DUHPDVNHGWKH3UHVLGHQWZKHUHKHJRWKLV
         VWDWLVWLFVDERXWERUGHUYLROHQFH7UXPSWROG.DUHP³6LWGRZQ6LWGRZQ6LWGRZQ´$IHZZHHNVODWHU
         RQ-XQHZKHQ.DUHPWULHGWRDVNWKH3UHVLGHQWDTXHVWLRQ7UXPSWXUQHGDQGJODUHGDW.DUHPDQG
         VDLG³4XLHW4XLHW4XLHW´
            Case 1:19-cv-02514-KBJ Document 3-5 Filed 08/20/19 Page 9 of 9



    
    0V6WHSKDQLH*ULVKDP
    $XJXVW
    3DJH


    
    VHYHUDOOHVVVHYHUHUHVWULFWLRQVDUHDYDLODEOHSherrillUHTXLUHV³FRPSHOOLQJ´UHDVRQVIRU
    UHYRNLQJDKDUGSDVVDQG\RXUOHWWHUGRHVQRWDUWLFXODWHDQ\VXFKFRPSHOOLQJUHDVRQ,QVWHDG
    LWDJDLQPLVVWDWHVWKHIDFWVDQGVKLIWVWKHUDWLRQDOH

    ,,,   &RQFOXVLRQ

             +DUGSDVVHVDUHQRWPHDQWWREHZHDSRQL]HGDVDPHDQVRISHQDOL]LQJUHSRUWHUVIRU
    FRYHUDJHZLWKZKLFKWKHDGPLQLVWUDWLRQGLVDJUHHVEDVHGRQDPRUSKRXVDQGVXEMHFWLYH
    VWDQGDUGV6XFKDFWLRQVXQFRQVWLWXWLRQDOO\FKLOOWKHIUHHSUHVV:HWKXVUHVSHFWIXOO\UHTXHVW
    WKDW\RXUHYRNH\RXU³SUHOLPLQDU\´GHFLVLRQWRVXVSHQG0U.DUHP¶VKDUGSDVVDQGFRQILUP
    WKHIXOOUHVWRUDWLRQRIKLVSDVV,QWKHHYHQWWKDW\RXGHFOLQHWRGRVRZHUHTXHVWWKDW\RX
    SURGXFHDOOFRPPXQLFDWLRQVEHWZHHQ\RXWKH3UHVLGHQWDQGRWKHUVLQWKH:KLWH+RXVHRU
    3UHVV2IILFHRQWKHRQHKDQGDQG0U*RUNDRQWKHRWKHUKDQGUHJDUGLQJWKH-XO\
    ³VRFLDOPHGLDVXPPLW´DQGWKHLQFLGHQWWKDWRFFXUUHGWKHUHDQGDOOGRFXPHQWVUHODWLQJWRWKLV
    SUHOLPLQDU\GHFLVLRQ:HIXUWKHUUHTXHVWWKDW\RXPHHWZLWKXVSULRUWRILQDOL]LQJWKH
    GHFLVLRQVRWKDW0U.DUHPKDVDPHDQLQJIXORSSRUWXQLW\WRUHVSRQGWRWKHHYLGHQFH

            :HUHVHUYHDOOULJKWVWRFRQWHVWZKDWZRXOGEHDQXQFRQVWLWXWLRQDOVXVSHQVLRQ

    5HVSHFWIXOO\

    
    BBBBBBBBBBBBBBBBBBBBBBBBBBB
    7KHRGRUH-%RXWURXV-U
    
    
    
                
Case 1:19-cv-02514-KBJ Document 3-6 Filed 08/20/19 Page 1 of 2




               Exhibit 6
Case 1:19-cv-02514-KBJ Document 3-6 Filed 08/20/19 Page 2 of 2
Case 1:19-cv-02514-KBJ Document 3-7 Filed 08/20/19 Page 1 of 5




               Exhibit 7
        Case 1:19-cv-02514-KBJ Document 3-7 Filed 08/20/19 Page 2 of 5




From: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>
Sent: Thursday, August 8, 2019 9:02 PM
To: Dupree Jr., Thomas H. <TDupree@gibsondunn.com>
Cc: Champion, Anne <AChampion@gibsondunn.com>; Philbin, Patrick F. EOP/WHO
<Patrick.F.Philbin@who.eop.gov>
Subject: Re: [EXTERNAL] RE: Brian Karem Response

[External Email]
Mr. Dupree and Ms. Champion:

Thank you for meeting today to discuss this matter. During today’s meeting, you asked several
questions suggesting that you desired access to witnesses to prepare your response. To avoid any
confusion or misunderstanding, I wanted to clarify the materials on which I will base my final
decision regarding Mr. Karem’s hard pass. I will base my final decision solely on the following: the
publicly available videos listed below (which show several angles of the incident), the observations
of the U.S. Secret Service agent who intervened and spoke to Mr. Karem as shown on the videos and
whose recollection concerning the event we described to you today, your initial August 6, 2019
response, our in-person discussion today , and any supplemental response you wish to submit
(including any supporting documents or facts) in accordance with my August 6, 2019 letter. We
have not conducted, nor will I rely on, interviews with any other witnesses to the event.


       ·         >https://youtu.be/VNfPaZ4Ipsw<

       ·         >https://youtu.be/HMVmkTFedUc<

       ·         >https://youtu.be/qQe2JFS08Rg<

       ·         >https://youtu.be/mNySuQFh2YE<

       ·         >https://youtu.be/zRogWTuS5HI<

       ·         >https://twitter.com/dcexaminer/status/1149451612227887104<

       ·         >https://twitter.com/Reuters/status/1149445607288950784<


Sent from my iPhone

On Aug 7, 2019, at 5:06 PM, Dupree Jr., Thomas H. <TDupree@gibsondunn.com> wrote:

      Thank you. Brian will not be accompanying us, but Anne and I have
  Case 1:19-cv-02514-KBJ Document 3-7 Filed 08/20/19 Page 3 of 5


registered and look forward to seeing you tomorrow at 4 pm.

-Tom

From: Murrell, Baxter R. EOP/WHO <Baxter.R.Murrell@who.eop.gov> On Behalf Of
Grisham, Stephanie A. EOP/WHO
Sent: Wednesday, August 7, 2019 4:09 PM
To: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>
Cc: Brian Karem <brianjkarem@gmail.com>; Dupree Jr., Thomas H.
<TDupree@gibsondunn.com>; Champion, Anne <AChampion@gibsondunn.com>;
Murrell, Baxter R. EOP/WHO <Baxter.R.Murrell@who.eop.gov>
Subject: RE: Brian Karem Response

[External Email]
Mr. Boutrous:

I am happy to meet tomorrow, August 8, 2019 at 4:00 PM with Mr. Karem, along with
Mr. Dupree and Ms. Champion. Please have Mr. Dupree and Ms. Champion get in
touch with my assistant, Baxter Murrell (copied here), as soon as possible to provide
the information necessary to access the White House.


From: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>
Sent: Wednesday, August 7, 2019 9:17 AM
To: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>
Cc: Brian Karem <brianjkarem@gmail.com>; Dupree Jr., Thomas H.
<TDupree@gibsondunn.com>; Champion, Anne <AChampion@gibsondunn.com>
Subject: [EXTERNAL] Re: Brian Karem Response

Dear Ms. Grisham:

Thank you for your response. My partners Thomas Dupree and
Anne Champion are available to meet at 4 PM on Thursday, August
8, 2019. Does that work for Mr. Gidley? I am copying them so they
can work directly with your office to set it up. Regards,

                    Ted

Theodore J. Boutrous Jr.

GIBSON DUNN

Gibson, Dunn & Crutcher LLP
333 South Grand Avenue, Los Angeles, CA 90071-3197
  Case 1:19-cv-02514-KBJ Document 3-7 Filed 08/20/19 Page 4 of 5


Tel +1 213.229.7804 • Fax +1 213.229.6804  
TBoutrous@gibsondunn.com • >>www.gibsondunn.com<<

On Aug 6, 2019, at 2:26 PM, Grisham, Stephanie A. EOP/WHO
<Stephanie.A.Grisham@who.eop.gov> wrote:

[External Email]
Please see the attached in response to your letter.


From: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>
Sent: Monday, August 5, 2019 4:18 PM
To: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>
Cc: Brian Karem <brianjkarem@gmail.com>
Subject: [EXTERNAL] Brian Karem Response
Importance: High

Dear Ms. Grisham:
                                    Attached is Brian Karem’s response to your August 2 letter
notifying him of your preliminary decision suspending his hard pass. Thank for
your consideration of this matter.

                                                                                    Ted Boutrous


Theodore J. Boutrous Jr.


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue, Los Angeles, CA 90071-3197
Tel +1 213.229.7804 • Fax +1 213.229.6804
TBoutrous@gibsondunn.com • >>>www.gibsondunn.com<<<


This message may contain confidential and privileged information for the sole use
of the intended recipient. Any review, disclosure, distribution by others or
forwarding without express permission is strictly prohibited. If it has been sent to
you in error, please reply to advise the sender of the error and then immediately
delete this message.

Please see our website at >>>https://www.gibsondunn.com<</< for information
regarding the firm and/or our privacy policy.

<Letter from Press Sec. to Boutrous re Karem 8.6.2019.pdf>

This message may contain confidential and privileged information for the sole use
of the intended recipient. Any review, disclosure, distribution by others or
forwarding without express permission is strictly prohibited. If it has been sent to
you in error, please reply to advise the sender of the error and then immediately
delete this message.
  Case 1:19-cv-02514-KBJ Document 3-7 Filed 08/20/19 Page 5 of 5


Please see our website at >>https://www.gibsondunn.com/<<; for information
regarding the firm and/or our privacy policy.

This message may contain confidential and privileged information for the sole use
of the intended recipient. Any review, disclosure, distribution by others or
forwarding without express permission is strictly prohibited. If it has been sent to
you in error, please reply to advise the sender of the error and then immediately
delete this message.

Please see our website at >https://www.gibsondunn.com/< for information
regarding the firm and/or our privacy policy.
Case 1:19-cv-02514-KBJ Document 3-8 Filed 08/20/19 Page 1 of 5




               Exhibit 8
       Case 1:19-cv-02514-KBJ Document 3-8 Filed 08/20/19 Page 2 of 5




                                                                                    Theodore J. Boutrous Jr.
                                                                                    Direct: +1 213.229.7804
                                                                                    Fax: +1 213.229.6804
                                                                                    TBoutrous@gibsondunn.com




August 9, 2019



VIA ELECTRONIC MAIL

Ms. Stephanie Grisham
Assistant to the President
White House Press Secretary
The White House
1600 Pennsylvania Avenue NW
Washington, D.C. 20500

Re:    Brian Karem

Dear Ms. Grisham,

       This letter, and the enclosed statement from our client, Brian Karem, follow up on
our meeting yesterday and provide additional information relevant to the events in the Rose
Garden on July 11, 2019. As we have explained, those events provide no basis for
suspending Mr. Karem’s hard pass.

         While I appreciate your meeting with my partners Tom Dupree and Anne Champion
yesterday, that meeting falls far short of providing Mr. Karem due process. We still lack
critical information that remains in your possession and that you have refused to disclose.
For example, you have advised that you intend to rely on a witness statement you obtained
from a Secret Service official who observed the events at issue, yet you have refused to give
us the full statement, or even to disclose his identity. Instead, you read aloud to us what
appeared to be a selected excerpt from the statement. We again ask that you provide us with
the full statement, which may contain information that confirms that Mr. Karem did nothing
wrong in the face of widespread taunting and even physical aggression and menacing from
one of the invited guests.

        Your email of last night revealed that you failed to conduct a reasonable investigation
before reaching your preliminary decision. Among other deficiencies, you admit that you
did not speak to a single witness. You did not speak to Sebastian Gorka, Jim Hanson, or any
of the other individuals who are seen on video taunting and/or threatening Mr. Karem. You
did not speak to any of the journalists who were standing alongside Mr. Karem in the press
pen and observed firsthand what happened. Nor did you speak to Mr. Karem himself,
despite his efforts to speak with you. In fact, you claimed to lack evidence that Mr. Karem
         Case 1:19-cv-02514-KBJ Document 3-8 Filed 08/20/19 Page 3 of 5




Ms. Stephanie Grisham
August 9, 2019
Page 2



made any attempt to speak with you. Enclosed with this letter are emails reflecting his
efforts.

        You have also elected to ignore publicly-available evidence that Mr. Gorka has
trumpeted his confrontation with Mr. Karem, bragging that he took on the “fake news
industrial complex,”1 as well as evidence that the President himself viewed the events as
humorous.2 All of this information is highly relevant to your decision, yet you have
deliberately chosen to ignore it.

       You have advised us that the potential basis for suspending Mr. Karem’s hard pass
was that he insulted the guests and then “escalated” the situation by stating to Mr. Gorka,
“Hey brother we can talk anytime you want or go outside and have a long talk.” As Mr.
Karem explains in the enclosed statement, the alleged insult was intended as a humorous
remark—and was understood by the crowd as such, as the laughter that followed makes
abundantly clear.

        Mr. Karem also explains that, by asking Mr. Gorka to go outside and have a long talk,
he did not intend to start a fight. Mr. Karem did not call on Mr. Gorka simply to step
outside; rather, he asked Mr. Gorka to go outside so they could have a conversation. Those
words cannot be reasonably understood as an invitation to fight. The Supreme Court has
described “fighting words” as “those which, by their very utterance, inflict injury or tend to
incite an immediate breach of the peace,” Chaplinsky v. New Hampshire, 315 U.S. 568, 572
(1942), and Mr. Karem’s statement does not remotely approach that standard.

        The President himself has used far stronger language and imagery. Among other
things, he has tweeted an image of himself wrestling a CNN icon to the ground,3 and stated
that a congressman who body-slammed a reporter is “my kind of guy.”4 He has also urged
his supporters to “knock the hell” out of protestors at his rallies,5 and remarked about one
protestor, “I’d like to punch him in the face.”6 If the President’s statements cannot
reasonably be understood as endorsing or inciting violence, the White House cannot possibly

 1
     https://bit.ly/2KeBbyE.
 2
     The President tweeted about the incident, writing “@SebGorka Wins Big, No Contest!”
 3
     https://mobile.twitter.com/realDonaldTrump/status/881503147168071680
 4
     Trump Praises Montana Congressman Who Body-Slammed Reporter, CNBC (Oct. 19, 2018 6:19AM),
     https://cnb.cx/33d1YCR (noting the President’s praise of Greg Gianforte’s body slam of a reporter: “Any
     guy that can do a body slam—he’s my kind of guy . . . . He’s a great guy, tough cookie.”).
 5
     https://www.latimes.com/politics/la-na-trump-campaign-protests-20160313-story.html.
 6
     https://www.latimes.com/politics/la-na-trump-campaign-protests-20160313-story.html
        Case 1:19-cv-02514-KBJ Document 3-8 Filed 08/20/19 Page 4 of 5




Ms. Stephanie Grisham
August 9, 2019
Page 3



deem Mr. Karem’s offer to “go outside and have a long talk” as over the line. See
Nwanguma v. Trump, 903 F.3d 604, 609 (6th Cir. 2018) (dismissing claims that President
incited violence at a campaign rally and holding that “only speech that explicitly or implicitly
encourages the imminent use of violence or lawless action is outside the protection of the
First Amendment”) (citing Brandenburg v. Ohio, 395 U.S. 444 (1969)).

         Mr. Karem’s “have a long talk” statement must also be viewed in context. When he
spoke those words, Mr. Karem was not in a barroom, but in the Rose Garden—one of the
least likely places on earth to challenge someone to a fight. Moreover, Mr. Karem did
nothing to suggest he wanted a physical confrontation. Throughout the incident, he remained
standing in the press area and did not advance toward Mr. Gorka. In contrast, Mr. Gorka
made a beeline toward Mr. Karem, shouting at him, making menacing and aggressive
gestures, calling him a “punk” and not a real journalist—all to further whip the crowd into a
frenzy. Indeed, Mr. Gorka’s behavior was so threatening that it caused the crowd to start
yelling at Mr. Gorka to hit Mr. Karem, and prompted Mr. Hanson to declare that “just for the
record, [Mr. Gorka would] kick your punk ass.” The videos show that, in the face of this
onslaught, Mr. Karem folded his arms respectfully—body language making clear he had no
wish to engage in a physical confrontation—and said to Mr. Gorka, “I’d be happy to talk to
you.”

        Any reasonable viewer of the video of this event would conclude that Mr. Karem was
not the aggressor and did nothing to escalate the situation. The aggressors were Mr. Gorka
and a hostile crowd whose anger against Mr. Karem and his colleagues in the press pen had
been stoked by the President’s constant references to the media as “fake news,” the
“opposition party” and “the enemy of the people.”7 Indeed, after the event, both Mr. Gorka
and the President celebrated Mr. Gorka’s aggression on Twitter as a “win” for Mr. Gorka
over Mr. Karem and the “fake news industrial complex.”

        Under these circumstances, your decision to single out Mr. Karem—and not punish
anyone else, even those who can be seen on video expressly calling for Mr. Karem to be
attacked—conclusively establishes that a suspension would amount to arbitrary,
discriminatory, content-based punishment arising from Mr. Karem’s viewpoint and the
content of his reporting. See R.A.V. v. City of St. Paul, 505 U.S. 377, 388-91 (1992)
(constitutionally impermissible to single out and punish content-based speech through
prohibition on “fighting words”).

       Finally, you have asked what lesser sanctions might be appropriate. As we explained
yesterday, we believe that Mr. Karem did not act inappropriately and no sanction is

 7
     https://cpj.org/blog/2019/01/trump-twitter-press-fake-news-enemy-people.php
       Case 1:19-cv-02514-KBJ Document 3-8 Filed 08/20/19 Page 5 of 5




Ms. Stephanie Grisham
August 9, 2019
Page 4



warranted. If you are nonetheless inclined to impose a lesser sanction, it could consist of a
letter setting forth your position on these events—an approach that would be consistent with
the way the White House resolved the matter involving Jim Acosta.

We continue to reserve all rights to contest what would be an unfair, unlawful, and
unconstitutional suspension.

Respectfully,




Theodore J. Boutrous, Jr.

cc:    Patrick Philbin, Deputy White House Counsel

Attachments
Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 1 of 6




               Exhibit 9
         Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 2 of 6



                             STATEMENT OF BRIAN KAREM

        I write to provide you with background about myself and to tell you my side of the story
regarding what happened at the Social Media Summit on July 11, 2019.
        I have been a political reporter for almost 40 years. I have also covered crime and wars,
and I have run community newspapers. I’ve been jailed, shot at, beaten, and threatened. I am
currently Playboy’s senior White House correspondent and a political analyst for CNN. I am
president of the Maryland, Delaware, and District of Columbia Press Association. In 1990, I was
jailed for contempt of court after refusing to disclose the name of confidential sources who
helped me arrange a telephone interview with a jailed murder suspect, after which I was awarded
the National Press Club’s Freedom of the Press award. I went on to work as executive editor of
The Sentinel Newspapers in Maryland and as producer and television correspondent for
America’s Most Wanted. I have also authored seven books.
        I have covered six White Houses. While I have held my current hard pass since last year,
in the past I also held hard passes. My experience in the White House is important because I can
tell you, point blank, that the behavior of the press corps today is tame by comparison.
        The first time I walked into the White House I was 25. It was 1986 and Ronald Reagan
was president. The first person I met was Helen Thomas, who covered the White House under
ten Presidents, and who, as it turns out, knew my great grandfather from Lebanon. She offered to
take me to her house and make me an authentic Lebanese dinner.
        Then she walked upstairs to Acting Press Secretary Larry Speakes’ office and began
banging on the door, encouraging him to come outside and talk to her. I watched, amused and in
awe. President Clinton’s Press Secretary, Mike McCurry, later told me that when Helen was
around he would bring her coffee and a donut by seven a.m. every morning.
        It was a wild time, with other reporters like ABC News Correspondent Sam Donaldson
and long-time White House reporter Sarah McClendon in the briefing room.
        “There’s nothing wrong with the president trying to put his best foot forward,” Sam told
me. “But it’s our job to find out what’s really going on,” he added.
        “If you’re looking for friends, then you’re in the wrong business,” Helen told me.
        Sarah McClendon told me, “Watch and learn.”
        CBS White House Correspondent Bill Plante once, in a story widely told by his peers,
nearly got into blows with a guest in the Rose Garden. They were a vocal bunch, those reporters
of old, and pushed the envelope and pushed back—hard—against presidents and their agendas.
        I have come and gone in that briefing room over the years, rarely staying long enough to
be a central player in the history of the White House and the battles with the press that have been
memorable and an important part of the American tapestry. I’ve seen administrations learn from
the questions asked by reporters and adapt their policy and strategy based on what was asked of
them in briefings.
        The briefings have been contentious at times. Or silly. Or both. I remember a defrocked
minister who always asked about UFOs or Big Foot. One day a press secretary walked in with
the usual huge briefing book to refer to administration policy, facts and figures. He fielded a
question from the minister who asked if we were hiding a Big Foot family or aliens.
        The administration official thumbed back and forth through the huge book, settled on a
page. He opened it wide, ran down the length of the page, seemed to find the appropriate
information and looked up. “No.” He said. Then he moved on.



                                                 1
         Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 3 of 6



         I remember once tripping over myself in the White House (I am now an aging klutz and
looked up to see President Reagan smile at me as I tried to pull myself up.
         I remember covering scandals, angering presidents, and laughing with them. I’ve often
talked to sources in the White House, or invited them off the grounds for private conversations. I
adopt an upbeat and jovial attitude inside the White House because there is so much of a serious
nature going on that I find a little levity helps people make it through the day. I know I benefit
from a sense of humor.
         When Rodney Dangerfield said, “I’m telling you it’s a tough room,” I used that in the
White House. When I didn’t get answers, I have been known to say, “I’m tellin’ you, no
respect.” Sean Connery and Curly from the Three Stooges have visited through my
impersonations as well.
         All I have seen and all I’ve been a part of in the last four decades, however, did not
prepare me for the White House of President Donald Trump. Reporters covering the White
House are routinely demeaned by the President and some of his allies, as “fake news,” “enemies
of the people,” and other epithets. Reporters have been threatened—explicitly by some of the
President’s more fringe followers—and sometimes the President implicitly supports this rhetoric.
I myself have been subjected to ugly threats, in particular in the weeks since July 11, 2019.
         On July 11, 2019, we saw these forces collide. That day, I went to the White House, as I
do most days when the President is in town. President Trump had scheduled that day with no
open press events.
         But on his schedule was a Social Media Summit, or something similarly named. But as
the day wore on, the President announced he would allow a pool spray during the summit at 3:45
p.m. and then would have a press conference for the open press at 5 p.m. in the Rose Garden.
         Rose Garden events are mixed blessings. It can be mid-January with an ongoing blizzard,
but it always seems that in the Rose Garden it is 150 degrees, sunny, with no wind. Many
reporters remember the day President Trump announced we were leaving the Paris Climate
Accords and took it as a warning sign that many of us were close to a heat stroke in that sun.
         So, no one was looking forward to a Rose Garden press conference.
And, as it turns out, the President did not have a press conference. He was fashionably late. It
was hot. We waited. He came out. He made a statement—that could’ve been made in the 3:45
p.m. event. Then he turned and left. As the President did so, I said words to the effect of
“Mr. President, do you mind sticking around to answer a few questions?” I think one or two
others may have tried to ask a question. My voice is loud. I was heard. The President left and did
not respond, but some of the bloggers apparently thought the President’s departure was an
opportunity to try to humiliate the working press. Some of the guests had already been heckling
the press corps. The heckling began anew. And I heard someone from the crowd say, “He talked
to us, the real news.” Someone else taunted me, “don’t cry, don’t be sad” that the President
hadn’t taken my questions, or something equally demeaning.
         I’m telling you. Tough Room. I get no respect... So, in an attempt to defuse the situation,
I did my Rodney Dangerfield: “Hey, looks like a group eager to be demonically possessed.” I
smiled. They smiled. We laughed. I thought that was that. Hey, at least I got a laugh.
         Then I heard Sebastian Gorka taunt me from across the lawn about being a journalist. I
don’t know Gorka. I have only seen him twice in my life. I’ve never read anything that he’s
written or listened to his podcasts. I only know about him from others, figured he was a
character, and relished the idea of getting to know him—not fight him. So I said “Hey, we can



                                                 2
         Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 4 of 6



talk here brother, or we can go outside and have a long conversation.” I actually had a thought I
could get him on my podcast and that might be fun. He said I wanted to fight and began calling
me a punk and threatening me as he made a beeline toward me from across the lawn—getting in
my face as I stood behind the rope-line. As he continued to yell at me, the crowd began to join
in, jeering and yelling, “Gorka! Gorka!”
         I was a little discombobulated by his aggression, which I did not understand and did not
feel I had provoked. I told him, “I’d be happy to talk to you,” assuring him I did not want to
fight.
         I mostly remained motionless. I’ve invited dozens of people outside the White House
during the last 35 years to talk. The optimal word of course is “talk”—not fight. Who would
invite someone to a WWF smackdown in the White House Rose Garden in front of 200 people,
dozens of television cameras? Certainly not me. I’m about to be a grandfather for the first time.
The only thing I’m fighting is arthritis and a bad meniscus.
         A few days after I ran into Gorka I invited someone else I saw at the White House to go
off campus and have a talk. It’s always better to talk where there are fewer reporters and
listening devices. Privacy is hard to come by.
         I saw John McCain at the White House once and asked him that very same thing. “Can
we go outside and have a conversation?” I asked. I remember him saying, “Where to?” I
suggested “Off the Record Lounge.” He smiled. “Too many people know me there.” I settled for
a short stroll in Lafayette Park.
         No one I’ve ever said this to has ever taken this to mean I wanted to fight them.
         At the White House, I come in with a smile. I sing. I dance. I entertain lower press. I’ve
done that off and on over the years when I come to the White House. You might as well enjoy a
laugh because life is too short.
         Most everyone who knows me knows that’s me. I’ve done my Rodney impression and a
few other impressions (some like the Sean Connery and others like show tunes). I take my job
seriously, but I do not take myself too seriously.
         Gorka escalated events. He wanted the fight. I just wanted to talk. I thought he’d be a
fascinating guy to talk to for my podcast and still do. I’ve interviewed Trump campaign advisor
George Papadopoulos, Republican communications consultant Alice Stewart, former Trump
White House Communications Director Anthony Scaramucci, comedian Carl Reiner, and
reporter Sam Donaldson, so why not Gorka?
         After he stormed off, we began to leave. The rope fell. I think I tripped over the rope as I
was trying to leave. A Secret Service Agent said I had crossed the fallen rope. I apologized. I
moved back. I never strayed too far. I certainly didn’t chase after anyone.
         As we left and the hubbub had died down, I passed Gorka and approached him to see if
he was just playing things for the camera and to make peace with him. I offered to shake his
hand, and he wouldn’t do it. I told him I had no intention of fighting with him and said we could
talk any time. He wouldn’t shake my hand. I shook my finger in disappointment at him, not
aggression, while he yelled at me over and over again, “You’re done!”
         I still wouldn’t mind having him on my podcast.
         I left.
         I never heard one word from the White House about this matter. Not once. White House
logs should show that I was at the White House at least a dozen times from July 22 until my
suspension on August 5. I interacted with the White House staff two or three times a day during
those visits, including with Hogan Gidley and Stephanie Grisham, at least briefly. Not once did

                                                  3
         Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 5 of 6



this episode ever get mentioned by them, nor did they say they wanted to schedule time to talk to
me about it.
         I had been trying to schedule an interview with the new press secretary Stephanie
Grisham for some time. I had scheduled an interview prior to the Social Media Summit and she
canceled it. After the event I tried to reschedule my meeting, hoping to discuss this issue with
her—specifically I wanted to ask her if she could make sure White House guests could refrain
from heckling and insulting working members of the press.
         She never rescheduled that meeting, though I asked her, and her secretary Annie
LeHardy, in person at least once and via email twice, as late as July 17. On that day, I believe I
was told she would be available that week. We are submitting some related emails. Later I was
told Grisham would not be available until this week for a meeting—apparently after the
preliminary decision to yank my press pass.
         Meanwhile, I’ve seen Gorka celebrating this confrontation with the “fake news industrial
complex” and encouraging others to do as he did. He apparently used this episode for several
days on his radio show, I’m told, to further drive home his desire to confront reporters.
         In the several weeks following the Summit, the President took several questions from me
in appearances on the South Lawn. It was, frankly, business as usual.
         On July 17, I asked him if he’d ever been to a social function with Jeff Epstein and
underage girls. He didn’t answer. On July 18, I asked him if he disavowed racism, and he told
me he did. On July 24, he called me and others “Fake News” gratuitously and pointed his finger
right at me. Then he singled me out again, saying I had been nice to him and could ask him a
question—which I did and he answered. The day before I received the suspension letter, I asked
the President to respond to Bernie Sanders’s statement that the President was a pathological liar,
and the President didn’t answer.
         Then, on Friday, August 2, 2019, on the South Lawn he took two questions from me in a
rather cordial exchange. At 4:55 p.m. in the afternoon, I received an email from Ms. Grisham
attaching her letter informing me that my hard pass had been suspended for 30 days, and I could
respond within one business day, by 5 p.m. Monday, August 5, 2019. Given that the letter came
weeks after the Social Media Summit, I thought it had more to do with the question I had asked
the day before about Sanders’ statement that the President was a pathological liar.
         I understand that Ms. Grisham says she has taken this action against my hard pass
because I insulted White House guests and escalated the situation. The escalation ran the other
direction, as did the insults. The crowd was heckling the journalists, and singled me out because
of my parting question to President Trump. Then Gorka singled me out, and interpreted my
friendly attempt to defuse the situation as a threat. At no point in time was I ever of the mindset I
was going to fight anyone. As I said, I’m 58 years old, about to be a grandfather for the first time
and I’ve got bad knees. I ain’t fighting anybody. Seriously. There would have been NO
confrontation if Gorka hadn’t come after me. I wasn’t looking for him. I don’t cover Gorka. I
cover the president.
         Of course, I ask questions and write things that the White House may not like. But
reporters aren’t scribes and contention is normal. What is not normal is retaliation. Since the
Social Media Summit, I’ve received a great deal of hate mail, a few death threats, threats against
my children, and one anonymous caller who said, “I will stake you to a tree and make you watch
while I rape your wife.” And now, of course, I face the prospect of having my hard pass
suspended. At the same time, apparently no action has been taken against Mr. Gorka or other
attendees of the Summit who escalated the situation.

                                                  4
         Case 1:19-cv-02514-KBJ Document 3-9 Filed 08/20/19 Page 6 of 6



        All of this is perhaps not surprising when the President himself repeatedly insults
journalists, smears the mainstream media, and threatened a Time magazine reporter who tried to
take a picture of a letter from Kim Jong Un with prison time.
        As a journalist, it’s my responsibility to ask tough questions of President Trump and this
administration. I was just doing my job on July 11, as I have done in previous administrations.
Just today, I asked the President two questions regarding assault weapons bans and the NRA.
After the news conference, as he walked by me and headed to Marine One, I asked if we could
do this indoors sometime—he stopped, laughed, and waved.
        It’s essential that I hold on to my hard pass so that I can continue to carry out my
responsibility. After all, that’s what the First Amendment is all about.
        And I still look forward to a one-on-one sit down with the President at his earliest
convenience. I believe it would be informative and fun.




                                                     _____________________
                                                     Brian Karem
                                                     August 9, 2019




                                                5
Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 1 of 14




              Exhibit 10
            Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 2 of 14




                                             THE WHITE HOUSE
                                                 WASHINGTON



                                                 August 16, 2019

Theodore J. Boutrous Jr., Esq.
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue
Los Angeles, CA 90071-3197



Dear Mr. Boutrous:

        I previously informed your client, Brian Karem, that I had preliminarily determined that
his hard pass should be suspended for 3 0 days due to his conduct at the press event in the Rose
Garden on July 11, 2019. As explained below, I have now made a final determination to suspend
Mr. Karem's hard pass for 30 days, effective immediately through Saturday, September 14,
2019.

         Process

       On August 2, 2019, I provided Mr. Karem with written notice that I had reached a
preliminary decision to suspend his hard pass for 30 days due to his conduct at the press event in
the Rose Garden on July 11, 2019 .1 That letter provided notice of the factual basis for my
preliminary decision, explicitly provided Mr. Karem with the opportunity to contest that decision
by submitting a written response to me by 5:00 PM on August 5, 2019, and explained that I
would consider any timely written response before making a final determination.

        On August 5, 2019, you submitted an eight-page written response on Mr. Karem's
        2
behalf. That response did not include any supporting material, but did request, among other
things, a meeting: "We further request that you meet with us prior to finalizing the decision so
that Mr. Karem has a meaningful opportunity to respond to the evidence."3 The next day, I
acknowledged receipt of your response and informed you that my office would be happy to meet
"with Mr. Karem and you or other counsel" on August 8, 2019. 4 In light of your complaint that
you had not had sufficient time to prepare a written response and in light of this anticipated

1
  See 8/2/2019 Letter from S. Grisham to B. Karem (Preliminary Decision).
2
  See 8/5/2019 Letter from T. Boutrous Jr. to S. Grisham (Initial Response). Your initial response complained that
"Mr. Karem was afforded no process before [I] reached this 'preliminary decision."' Initial Response at 6. That
complaint is fundamentally mistaken. The first step in providing process is providing notice, which is exactly what
my August 2 letter provided. While Mr. Karem may be entitled to due process before his hard pass is suspended,
my preliminary decision did not suspend his hard pass. My preliminary decision merely provided written notice to
Mr. Karem that I intended to suspend his hard pass, informed him of the factual basis for that decision, and gave him
an opportunity to respond. Preliminary Decision at 1-2. Mr. Karem's hard pass has not been suspended or
restricted in any way pending this final decision.
3
  Initial Response at 8.
4
  8/6/2019 Letter from S. Grisham to T. Boutrous Jr. (emphasis added).
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 3 of 14




meeting, I also explained that Mr. Karem could submit any supplement he wished to his written
response by 5:00 PM on Friday, August 9, 2019. 5 The next morning, you stated that your
"partners Thomas Dupree and Anne Champion are available to meet at 4 PM on Thursday,
August 8, 2019." 6 I reiterated that I was "happy to meet tomorrow, August 8, 2019 at 4:00 PM
with Mr. Karem, along with Mr. Dupree and Ms. Champion." 7 Mr. Dupree then responded that
he and Ms. Champion would meet with me, but that "Brian will not be accompanying us." 8

        Despite Mr. Karem's decision not to attend the meeting he had requested, I met with Mr.
Dupree and Ms. Champion at about 4:00 PM on August 8, 2019, along with attorneys from the
Office of White House Counsel. During that approximately 45-minute meeting, I provided Mr.
Dupree and Ms. Champion with the opportunity to present whatever facts and arguments they
wished until they were finished, and we asked some clarifying questions as well. Mr. Dupree
and Ms. Champion confirmed that there was no reason for Mr. Karem's absence other than a
belief that he was not required to be there. They offered to have him come to another meeting if
I wished to arrange a separate, second meeting to speak with him.

       An attorney from the Office of White House Counsel also informed you of additional
information that I would consider in making my final decision-the observations of the U.S.
Secret Service agent who intervened and spoke to Mr. Karem during the incident. Because Mr.
Karem was not present at the meeting, we invited you to respond to the agent's recollections in
your supplemental response. 9 On August 8, 2019, I sent you an email outlining all of the
information on which I would base my final decision. 10 You submitted a supplemental, four-
page response on August 9, 2019 along with supporting materials, including a written statement
by Mr. Karem. 11

       I have thus provided Mr. Karem with written notice and three opportunities to respond, in
person and in writing, and the opportunity to submit any materials that he considers relevant.



         As I confirmed on August 8, 2019, 12 I have based my final decision on the following:




s Id.
6 Email from T. Boutrous Jr. to S. Grisham (Aug. 7, 2019 9:17 AM).
7 Email from S. Grisham to T. Boutrous Jr. (Aug. 7, 2019 4:09 PM) (emphasis added).
8
  Email from T. Dupree Jr. to S. Grisham (Aug. 7, 2019 5:06 PM).
9
  See Email from S. Grisham to T. Dupree Jr. & A. Champion (Aug. 8, 2019 9:02 PM). Your supplemental response
speculates that the Secret Service agent may have provided exculpatory information that is not included in this final
decision. 8/9/2019 Letter from T. Boutrous Jr. to S. Grisham (Supplemental Response). Your speculation is
factually incorrect. I have relied on the Secret Service agent's statement only for the point that the agent approached
Mr. Karem because he grew concerned, after Mr. Karem's invitation to "go outside" and Mr. Gorka's response, that
a physical altercation might break out and for the agent's recollection of what he said to Mr. Karem. The Secret
Service agent did not provide any infmmation "confirm[ing] that Mr. Karem did nothing wrong" as you
hypothesize, id.
10 Email from S. Grisham to T. Dupree Jr. & A. Champion (Aug. 8, 2019 9:02 PM).
11 See generally Supplemental Response; 8/9/2019 Statement ofB. Karem (Karem Statement).
12
   Email from S. Grisham to T. Dupree Jr. & A. Champion (Aug. 8, 2019 9:02 PM).

                                                          2
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 4 of 14




             •   Seven publicly available videos, which show multiple angles of the incidents
                 involving Mr. Karem in the Rose Garden on July 11, 2019; 13
             •   The observations of the U.S. Secret Service agent who intervened and spoke to
                 Mr. Karem as shown on the videos and whose recollection concerning the
                 incident we described during the August 8, 2019 in-person meeting;
             •   Mr. Karem's August 5, 2019 initial response; and
             •   The in-person discussion on August 8, 2019.

I have also relied on Mr. Karem's August 9, 2019 supplemental response, which includes a
statement from Mr. Karem and several emails between Mr. Karem and my office. As I also
confirmed to you on August 8, 2019, 14 I have not conducted, and have not relied on, interviews
with any other witnesses. After considering the sources listed above, I find the following.

        After the conclusion of the President's address in the Rose Garden to invited guests of the
White House Social Media Summit, Mr. Karem attempted to ask the President a question as he
walked away, but the President did not respond and continued walking. I credit Mr. Karem's
assertion that, at this point, a couple of the invited guests made comments to Mr. Karem, such as
"[h]e talked to us, the real news," 15 and at least one video shows that a guest said "don't be sad,
don't be sad." 16 In response, Mr. Karem, who was standing in the designated press area behind a
rope line, insulted the President's invited guests, stating that "This is a group of people that are
eager for demonic possession." 17 One of the guests, Sebastian Gorka, then asked, while
gesturing sarcastically with air quotes, "And you're a journalist, right?" 18 In response, Mr.
Karem escalated the exchange by calling to Mr. Gorka from across the Rose Garden, "Come on
over here and talk to me, brother. We can go outside and have a long conversation." 19 Mr.
Karem accompanied the suggestion that they "go outside" by gesturing with his right hand
(closed hand, thumb extended, gesturing over his shoulder) and noticeably cocking his
eyebrow-as ifto indicate, "you know what I mean."20 Under the circumstances, Mr. Karem's




13 Bloomberg TicToc, Sebastian Gorka Clashes with Journalist After Trump Refuses Media Questions, YouTube
(July 11, 2019), https://youtu.be/VNfPaZ4lpsw (Video I); Baxter, Journalist Brian Karem picks a fight with
Sebastian Gorka, YouTube (July 11, 2019), https://youtu.be/HMVmkTFedUc (Video 2); Terrence Daniels, Fights in
The Rose Garden ... , YouTube (July 11, 2019), https://youtu.be/g0e2JFS08Rg (Video 3); Nicholas Ballasy,
Sebastian Gorka and Reporter Get Into Shouting Match at White House, YouTube (July 11, 2019),
https://youtu.be/mNySuOFh2YE (Video 4); Washington Post, Gorka to Karem: 'You 're not a journalist, you're a
punk', YouTube (July 11, 2019), https://youtu.be/zRogWTuS5HI (Video 5); Washington Examiner (@dcexaminer),
Twitter (July 11, 2019, 3 :53 PM), https://twitter.com/dcexaminer/status/l l 4945 l 612227887104 (Video 6); Reuters
Top News (@Reuters), Twitter (July 11, 2019, 3:29 PM), https://twitter.com/Reuters/status/l 149445607288950784
(Video 7).
14 Email from S. Grisham to T. Dupree Jr. & A. Champion (8/8/2019 9:02 PM).
15
   Karem Statement at 2.
16 E.g., Video l, https://youtu.be/VNfPaZ4lpsw?t~J3 (at 0:13~:15); Video 4, https://youtu.be/mNySuOFh2YE (at

0:00-0:02).
17 E.g., Video I, https://youtu.be/VNfPaZ41psw?t~l 7 (at 0: 17~:20); Video 4, https://youtu.be/mNySuOFh2YE?t~4

(at 0:04~:08).
18
   Video l, https://youtu.be/VNfPaZ4lpsw?t~23 (at 0:23~:25).
19
   Video 2, https://voutu.be/HMVmkTFedUc?t~Jo (at 0:10~:14).
20
   See id.

                                                        3
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 5 of 14




words and gestures together created the impression to a reasonable observer that Mr. Karem was
suggesting a physical confrontation.

        Mr. Gorka then crossed the Rose Garden to approach Mr. Karem, shouting in response to
Mr. Karem: "Are you threatening me now in the White House? In the Rose Garden? You're
threatening me in the Rose Garden?"21 As Mr. Gorka approached, Mr. Karem moved towards
him, while staying within the rope line designating the press area. 22 The assertion in Mr.
Karem's supplemental response that Mr. Karem "did not advance toward Mr. Gorka"23 is belied
by the video of the event. Mr. Karem and Mr. Gorka then traded insults face to face. Someone
shouted "hit him, Gorka!"24 After calling Mr. Karem a "punk," Mr. Gorka tmned and walked
away, and some guests briefly chanted, "Gorka, Gorka, Gorka." As Mr. Gorka turned to walk
away toward the Palm Room, a U.S. Secret Service agent moved quickly from a position to Mr.
Karem's right, approached Mr. Karem, placed the fingers of his right hand on Mr. Karem's right
forearm and kept that position for a moment as Mr. Gorka continued to leave and as Mr. Karem
shouted after him, "Go home!"25

        As videos show, 26 the Secret Service agent then crossed in front of Mr. Karem and began
to move in the direction that Mr. Gorka had gone. Mr. Karem yelled after Mr. Gorka: "Go
home! Go Home!" and "Hey Gorka, get a job!" Mr. Karem then left the designated press area
and paced in front of other members of the press and in front of the rope that marked the
designated press area (which had partially fallen to the ground). One of the guests said, "Just for
the record, he'd kick your punk ass." The Secret Service agent turned around and saw that Mr.
Karem had stepped outside of the designated press area. The Secret Service agent approached
Mr. Karem, put his hand on Mr. Karem's chest, and said something to Mr. Karem that is not
audible on the videos, at which point Mr. Karem stepped back into the press area.

        In an interview, 27 the Secret Service agent explained that he approached and intervened
during Mr. Karem's exchange with Mr. Gorka because he believed there was a risk of a physical
altercation. He also explained that when he approached Mr. Karem the second time, he said
words to the effect of, "Take a look around, remember where you're at, and please step back into
the press pen. Let's calm down a little bit."




21 E.g., Video 1, https://youtu.be/VNfPaZ41psw?t~28 (at 0:28-0:35); Video 4,
https://youtu.be/mNySuQFh2YE?t~l5 (at O: 15-0:23).
22
   E.g., Video 2, https://youtu.be/HMVmkTFedUc?t~ 17 (at 0: 15-0: 19).
23
   Supplemental Response at 3.
24
   E.g., Video 2, https://youtu.be/HMVmkTFedUc?t~l9 (at 0:19-0:20).
25
   E.g., Video I, https://youtu.be/VN1PaZ4Ipsw?t~28 (at 0:39-0:40); Video 5, https://youtu.be/zRogWTuS5Hl?t~lO
(at 0:10-0:13).
26
   E.g., Video 1, https://youtu.be/VNfPaZ4Ipsw?t~40 (at 0:40-1:09); Video 2,
https://youtu.be/HMVmkTFedUc?t~23 (at 0:23-0:33); Video 3, https://youtu.be/g0e2JFS08Rg?t~7 (at 0:07-0: 16);
Video 4, https://youtu.be/mNySuQFh2YE?t~25 (at 0:25-0:46); Video 5, https://youtu.be/zRogWTuS5HI?t~ I I (at
0:11-0:31); Video 7, https://twitter.com/Reuters/status/l 149445607288950784 (at 0: 17-0:31).
27
   The facts in this paragraph are the only ones that came solely from the interview of the Secret Service agent.
While these facts supplement my understanding of the events, they are not critical to my findings or decision. I
would reach the same findings and decision without them.

                                                       4
        Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 6 of 14




        As video shows,28 after leaving the Rose Garden; Mr. Karem found Mr. Gorka in the
Palm Room and again tried to engage with him. As he persisted in attempting to engage Mr.
Gorka, Mr. Karem ignored a White House staffer's repeated directions to leave and instructions
that "the press are leaving now." I credit Mr. Karem's assertion that he attempted to say some
words to Mr. Gorka "to make peace with him" and that he "offered to shake his hand. " 29 When
Mr. Gorka made clear that he would not shake Mr. Karem's hand, however, Mr. Karem turned
this exchange into a confrontation as well. Mr. Karem repeatedly said "you won't shake my
hand," and then wagged his finger in Mr. Gorka's face. Mr. Karem asserts that he "shook [his]
finger in disappointment at him, not aggression."30 However, after a confrontation that included
an invitation to "go outside" and shouted insults, a reasonable observer would view shaking a
finger in another adult's face as only renewing the confrontation. Mr. Gorka then referred to the
instructions to leave from the White House staffer, repeating "You're done!" and saying "Listen
to him. Get out. Get out."31 As he said this, Mr. Gorka gestured toward the staffer. Mr. Karem
eventually left after Mr. Gorka rebuffed him.

        In defense of Mr. Karem's conduct, you have not disputed the basic outline of events.
Instead, you primarily argue that Mr. Karem's actions should be characterized as nothing more
than a good-natured and humorous exchange with the invited guests and as an attemptto de-
escalate aggression initiated by Mr. Gorka when he crossed the Rose Garden to Mr. Karem's
spot. That argument depends on two assertions: (1) Mr. Karem's "demonic possession"
comment was good natured and pmt of what you call Mr. Karem' s "Rodney Dangerfield"
routine, and (2) Mr. Karem's invitation to Mr. Gorka to "go outside and have a long
conversation" was genuinely asking Mr. Gorka for a conversation and was an effort to de-
escalate the situation. Based on the totality of the circumstances, I find that these assertions are
not credible. Moreover, even ifI found that these asse1tions were consistent with Mr. Karem's
subjective intent, Mr. Karem still should have known how his actions would have been received
by a reasonable observer.

        First, Mr. Karem's "demonic possession" comment cannot credibly be understood as
mere light-hearted comedy. Mr. Karem has asserted that he made that comment as a Rodney
Dangerfield impersonation. I do not find that assertion credible. During our August 8, 2019
meeting, Mr. Dupree and Ms. Champion conceded that Mr. Karem's "demonic possession"
comment is not a quotation (or a variation of one) from any Dangerfield movie or routine. And I
do not believe that any reasonable observer would have seen anything about Mr. Karem's choice
of words, mannerisms, or inflection that remotely evoked Rodney Dangerfield. In addition, Mr.
Karem has asserted that "everyone" in the press pool knows that he does a Dangerfield
impersonation, but, despite having the opportunity to do so, he has not provided any statement
from press members familiar with his impersonation stating that Mr. Karem was performing that .
impersonation on this occasion. In any event, even if Mr. Karem had been doing an impression,
it would not alter the fact that he insulted White House guests. An insult to guests is still an
insult even if delivered while mimicking a comedian.


28
   Video 4, https://youtu.be/mNySuOFh2YE?t~I 73 (at 2:53-3:26).
29
   Karem Statement at 3.
,o Id
31 Video 4, https://youtu.be/mNySuOFh2YE?t~J S6 (at 3:06--3: 11); Video 4, https:l/youtu.belmNySuOFh2YE?t~200

(at 3:20-3:24).

                                                     5
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 7 of 14




       You have placed a great deal of weight on the fact that there was some laughter after Mr.
Karem's comment about demonic possession. I do not believe that laughter in that situation
somehow establishes that Mr. Karem was having nothing more than a good-natured exchange.
Mr. Karem's comment was not light-hearted; it denigrated the mental state of the gathered
audience. And the laughter in response was equally consistent with a reaction in disbelief at the
bizarreness of Mr. Karem' s taunt. In any event, the comment was certainly taken as an insult by
some members of the audience, as evidenced by Mr. Gorka's response. That objective response,
no matter Mr. Karem's subjective intent, reinforces the fact that the comment was inappropriate
and unprofessional.

         Second, Mr. Karem's invitation to Mr. Gorka to "go outside and have a long
conversation" cannot objectively be understood as an effort to de-escalate by making a genuine
invitation for a conversation in another forum. Any characterization of this comment as a neutral
comment or an attempt to de-escalate the situation is belied by the facts shown on the videos. As
a tln·eshold matter, the videos plainly show that it was the suggestion to "go outside" that
escalated the situation. Before that comment, Mr. Karem had made his "demonic possession"
comment and Gorka had responded from across the Rose Garden by suggesting that Mr. Karem
was a 'journalist" only with air quotes. It was only after Mr. Karem invited Mr. Gorka to "go
outside" that Mr. Gorka asserted that he had been threatened and began to cross the Rose Garden
to confront Mr. Karem. In particular, any suggestion that the invitation to "go outside" was
designed to defuse a situation after Mr. Gorka had acted aggressively is flatly contrary to the
sequence of events.

        In addition, when Mr. Karem made this comment, his body language did not remotely
suggest an effort to defuse tension. Instead, Mr. Karem's hand gesture (a closed hand, thumb
extended, gesturing over his shoulder), his noticeably cocked eyebrow, and his tone ofvoice 32 all
indicate an aggressive posture inviting further confrontation~not someone trying to calm down
the situation or genuinely interested in talking.

        Consistent with Mr. Karem' s body language, the videos show that other people
contemporaneously understood Mr. Karem's comment as an invitation to a physical altercation.
It appears that Mr. Gorka understood it as a threat and repeatedly asked Mr. Karem ifhe was
"threatening him." Other individuals responded at the time as if it were a threat. One individual
yelled, "hit him Gorka! " 33 A second individual told Mr. Karem that Mr. Gorka would "kick your
punk ass. " 34 A third individual, speaking to Mr. Karem just over a minute later, explicitly
characterized it as a threat:

        Individual:       "You just threatened Gorka just a minute ago. You told him to go
                          outside."

        Mr. Karem:        "I said I would talk to him. I didn't threaten. I was standing right here."

        Individual:       "Everybody knows what that means. What were you going to do?"


32 Video 2, https://youtu.be/HMVmkTFedUc?t~lO (at 0: 10---0: 14).
33 E.g., Video 2, https://youtu.be/HMVmkTFedUc?t~l 7 (at 0:17).
34 E.g., Video 2, https://youtu.be/HMVmkTFedUc?t~3 l (at 0:31---0:34).


                                                        6
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 8 of 14




         Mr. Karem:        "No, it means talk."

         Individual:       "You could talk to him right here. Why would you take him outside?"

         Mr. Karem:        "I'd be happy to talk."

         [cross-talk]

         Mr. Karem:        "I didn't threaten to kick his butt. I said I would talk to him."

         Individual:       "We all know what that means." 35

        Mr. Karem claims that he was "a little discombobulated by [Mr. Gorka's] aggression."36
But the videos of the incident do not show Mr. Karem reacting in a manner that suggests
discombobulation. Instead, Mr. Karem advances toward Mr. Gorka as he approaches, within the
limits permitted by the rope line defining the press pen. 37

        Mr. Karem's further conduct also belies any claim that he was trying to de-escalate the
situation. After he had invited Mr. Gorka to "go outside," after Mr. Gorka had asked if that was
a "threat," after Mr. Gorka and Mr. Karem had exchanged words, and after Mr. Gorka had turned
to walk away, Mr. Karem sought to continue the confrontation. As Mr. Gorka was leaving, Mr.
Karem shouted loudly after him "Go home! Go home!" and "Hey Gorka, get a job!" and then
stepped over the partially fallen rope line to pace in front of the other journalists. 38 Those taunts
are inconsistent with any intent to de-escalate the situation.

         Another factor also weighs against Mr. Karem's interpretation of the events. Because
Mr. Karem's characterization of his words depends critically on the asserted sincerity of his
invitation to talk and requires convincing me of his credibility with respect to that assertion, I
find it significant that Mr. Karem chose not to meet with me in person to explain his conduct
after I expressly invited him to do so. 39

        Finally, Mr. Karem's subjective intent is not, in any case, dispositive here. Even ifI
credited Mr. Karem's assertion that his sincere subjective intent was to de-escalate the situation,
it would not alter the fact that his comments were objectively inappropriate to the circumstances.
Even if Mr. Karem subjectively believed that his actions were non-threatening, he should have
known how a reasonable observer would have reacted to these repeated confrontations, as many

35
   E.g., Video 4, https://youtu.be/tnNySuOFh2YE?t=l 33 (at 2:13-2:36); Video 6,
https://twitter.com/dcexaminer/status/1 149451612227887104 (at 0:50-1: 12).
36
   Karem Statement at 3.
37
   Video 2, https://youtu.be/HMVmkTFedUc?t=l 7 (at 0:15-0:19).
38 E.g., Video I, https://youtu.be/VN!PaZ4lpsw?t~40 (at 0:40-1 :09); Video 2,

https://youtu.be/HMVmkTFedUc?t=23 (at 0:23-0:33); Video 4, ht!ps://youtu.be/mNySuOFh2YE?t~25 (at 0:25-
0:46); Video 5, https://youtu.be/zRogWTuS5Hl?t~I I (at 0:11-0:31); Video 7,
https://twitter.com/Reuters/status/1149445607288950784 (at 0:17-0:31).
39 I have noted that, at the August 8 meeting, Mr. Dupree and Ms. Champion said that Mr. Karem would be happy to

come to a subsequent meeting ifl wanted to speak with him. This, however, is beside the point. Mr. Karem,
through counsel, asked to meet in person. I agreed to that meeting, specifically stated that I was happy to meet with
Mr. Karem, the meeting was scheduled, and Mr. Karem did not attend, nor did he claim any conflict that prevented
him from attending.

                                                         7
           Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 9 of 14




observers did, in fact, react at the time. His remarks had the predictable effect of offending and
provoking White House guests, and constituted a significant lapse in judgment, regardless of Mr.
Karem's intent. The objective fact is that Mr. Karem's words elicited a predictable response and
that combination of events prompted a Secret Service agent to intervene due to a perceived risk
of a physical altercation. It is inconsistent with widely-shared understandings and norms of
media professionalism to yell statements that could reasonably be interpreted as insults or threats
to guests in the Rose Garden, to repeatedly confront those guests afterward, and to disobey
instructions from White House staff.

           Decision

        Based on the facts described above, I conclude that Mr. Karem's actions, as viewed by a
reasonable observer, (1) insulted invited guests of the White House, (2) threatened to escalate a
verbal altercation into a physical one to the point thai the Secret Service deemed it prudent to
intervene, and (3) re-engaged with Mr. Gorka in what quickly became a confrontational manner
while repeatedly disobeying a White House staffer's instructions to leave. Mr. Karem' s conduct,
taken as a whole, was unacceptable and disruptive, and requires a response to ensure that it does
not happen again.

        I have carefully considered a range of potential responses to Mr. Karem's actions,
including permanently revoking his hard pass, temporarily suspending his hard pass, providing a
written warning, and taking no action. In my judgment, a permanent revocation would be too
great a punishment for the conduct involved here. Taking no action, on the other hand, would be
insufficient to deter Mr. Karem and other members of the press from disrupting White House
events.

        I have concluded that a temporary suspension of Mr. Karem's hard pass is an appropriate
response. It properly accounts for Mr. Karem's stated need for his press pass and it imposes no
greater a restriction than is necessary for an effective sanction. The purpose of a hard pass is to
provide day-to-day access to the White House campus so that a member of the press can report
and ask questions of officials who are taking questions. But a hard pass must be used in a
manner that is respectful of the White House property and grounds in light of the extensive
access it provides. There is a widely-shared understanding that at all times at White House press
events, members of the press must act professionally, maintain decorum and order, and obey
instructions from White House staff. 40 Disruptive behavior, such as Mr. Karem's, is clearly
prohibited. Moreover, I note that Mr. Karem did not use the access granted by his hard pass for
the journalistic purposes for which it is granted. Instead, Mr. Karem used the access granted by
his hard pass to insult invited guests, to make intemperate comments that threatened to escalate a
verbal confrontation into a physical altercation, and to repeatedly disobey the instructions of
White House staff to leave with the rest of the members of the press after the conclusion of the
event. Mr. Karem's actions escalated the situation to the point that the Secret Service deemed it
prudent to intervene to ensure that verbal confrontations involving Mr. Karem would not escalate
into a physical one.




40   Preliminary Decision at I.

                                                 8
         Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 10 of 14




          The only less restrictive alternative that you have proposed is a written warning. After
 considering that suggestion, I conclude that a written warning would be insufficient given the
 serious nature of Mr. Karem' s misconduct and the ineffectiveness that a written warning would
 have in deterring similar misconduct by Mr. Karem or others in the future. On the present
 record, there is no indication that Mr. Karem would take to heart a written warning that his
 behavior was inappropriate. I base that conclusion on at least two factors. First, throughout the
 twelve combined pages of his two written submissions prepared by counsel and his five-page
·personal statement, Mr. Karem has nowhere acknowledged even the slightest indication of any
 regret for his conduct or recognition that it could, even possibly, have transgressed any
 boundaries of professional conduct for the press corps. Instead, Mr. Karem's statement suggests
 that, in his view, it is appropriate to "nearly [get] into blows with a guest in the Rose Garden." 41
 In short, Mr. Karem seems to be oblivious to the fact that his conduct was wrong. Second, Mr.
 Karem has continued to insist that his invitation to Mr. Gorka to "go outside" was sincerely
 meant as a de-escalatory invitation for a genuine conversation. For all the reasons explained
 above, I find that assertion lacking in credibility. Mr. Karem's insistence on continuing to press
 a characterization of events that is plainly incompatible with his words, gestures, tone, and
 actions in the Rose Garden indicates to me that some form of sanction beyond a mere warning
 letter is warranted.

        I have carefully considered your assertion that a 30-day suspension is too harsh, and I
disagree. A warning would be insufficient for the reasons above. Although you have not
suggested that a suspension of any lesser length would be appropriate, I have considered that
alternative as well. In light of the seriousness of Mr. Karem' s conduct, however, I do not believe
that a suspension of fewer than 30 days would be proportionate to the nature of his conduct,
which turned a Rose Garden event into a spectacle and risked a physical altercation.

         You have raised several additional arguments on Mr. Karem's behalf, which I address
below.

        First, you argue that "there are no so-called 'widely understood understanding[s]"' that
would have put Mr. Karem on notice that his conduct was improper. 42 I find that argument
wholly insubstantial. Members of the press certainly understand that, in any professional
context, trading insults with guests at a venue where a press event is taking place and escalating a
verbal confrontation with an invitation to "go outside" is unacceptable behavior. Mr. Karem
does not seriously contend that he lacked actual notice that it is prohibited conduct in the White
House for a member of the press to disrupt a White House press event by threatening guests and
escalating a verbal altercation with insinuations of physical violence such that the Secret Service
deems it prudent to intervene, or to repeatedly disobey a staffer's instructions to leave. Indeed,
Mr. Dupree and Ms. Champion explicitly confirmed during our in-person meeting that they were
not second-guessing the White House's need to ensure basic decorum, order, and security.




41 Karem Statement at I ("CBS White House Correspondent Bill Plante once, in a story widely told by his peers,
nearly got into blows with a guest in the Rose Garden.").
42 Initial Response at 5.


                                                        9
        Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 11 of 14




        Second, you assert that I "failed to conduct a reasonable investigation before reaching
[my] preliminary decision" because I "did not speak to a single witness." 43 That argument rests
on a fundamentally flawed premise. There was no need for an investigation involving witness
interviews here because Mr. Karem's words and conduct were caught on multiple videos
recorded from several different angles. You have not provided any basis for believing that the
imperfect recollections of witnesses would somehow provide a more accurate basis for assessing
events than the video and audio recordings that capture exactly what happened second by
second. Where there was one interaction that was potentially relevant but could not be heard on
any of the videos-the Secret Service agent's interaction with Mr. Karem-the Secret Service
agent was interviewed. Mr. Karem has not disputed the Secret Service agent's observations and
recollection, nor have you identified any specific way in which additional investigation could
uncover relevant facts that would be important to my decision. Indeed, as we explained to Mr.
Dupree and Ms. Champion on August 8, Mr. Karem knows which members of the press
witnessed events that day and he was free to provide statements from them ifhe believed they
would be useful. You have neither provided any witness statements nor even provided any
plausible basis for thinking that witness statements could possibly bring to light different
information that would justify a different conclusion in this matter.

        In that regard, it is worth noting that the subjective, after-the-fact "impressions" of
witnesses would not be particularly relevant to my decision, because my decision here involves
determining whether Mr. Karem breached standards of conduct based on an objective assessment
of his actions, which can be determined from the objective facts recorded on tape. 44 Whether
one individual or another might have believed that a particular comment was funny or light
hearted is not the critical point. A poll of the opinions of everyone present is not required to
determine the objectively reasonable understanding of Mr. Karem's statements and actions.

        Third, you have made wholly unfounded accusations that taking action against Mr.
Karem for his conduct on July 11 is actually a pretext for unconstitutional content-based and
viewpoint-based discrimination against Mr. Karem. Those accusations are baseless. The content
and viewpoint of Mr. Karem's reporting have played no role in this decision. Indeed, admissions
in Mr. Karem's own submissions disprove the theory that there has been some effort to stifle his
speech. Both Mr. Karem's initial response and his statement admit that the President has called
on Mr. Karem and answered Mr. Karem's questions several times since the incident in the Rose
Garden on July 11, 2019. 45 Indeed, as Mr. Karem admits, the President answered two questions
from Mr. Karem, in what you admit was "a rather cordial exchange," on August 2, shortly before
I issued notice of my preliminary decision. 46 These admissions confirm that the content and

43 Supplemental Response at I.
44 You claim that I have "elected to ignore publicly-available evidence that Mr. Gorka has trumpeted his
confrontation with Mr. Karem, bragging that he took on the 'fake news industrial complex,' as well as evidence that
the President himself viewed the events as humorous." Supplemental Response at 2. I have not ignored these
points. I have considered them, but I reject them. The fact that Mr. Gorka may have touted his response to Mr.
Karem's taunts to spin the whole event to his advantage in the media is irrelevant. Mr. Gorka is a known media
figure and such a response is to be expected. It does not alter the original impropriety of Mr. Karem's conduct.
Similarly, the President's tweet suggesting that Mr. Gorka had the better of the exchange does not undercut my
conclusion that Mr. Karem's conduct was improper and does not suggest that it was merely a "humorous" interlude
that warrants no sanction.
45 Initial Response at 7; Karem Statement at 4.
46
   Karem Statement at 4.

                                                        10
        Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 12 of 14




viewpoint of Mr. Karem' s journalism have nothing to do with this decision. If the White House
had been engaged in some effort to "silenc[e] a journalist known for tough questioning,"47 as you
claim, the President could have simply ignored Mr. Karem and refused to answer any of his
questions. The very fact that the President has continued to call on Mr. Karem demonstrates that
there has been no effort to silence his journalism.

        Fourth, you have argued that Mr. Karem sought "multiple times" to discuss the July 11
incident with me and that when my office rescheduled a meeting with him it was done
deliberately to delay speaking with him at all until after his hard pass had been suspended. 48 All
of these assertions are false. Mr. Karem's initial submission claims that, after July 11, Mr.
Karem "reached out to [my] office multiple times to discuss the incident. " 49 In his personal
statement, Mr. Karem modified that claim to assert solely that he had been "trying to schedule an
interview with" me "for some time" and that he had "hop[ed] to discuss" the events of July 11,
2019 with me. so The only contact from Mr. Karem of which I had been aware was an effort to
schedule an off-the-record meeting as a get-to-know-you meeting after I started as Press
Secretary on June 25. That meeting was scheduled and then canceled more than once, just as I
have canceled similar meetings with more than a dozen other reporters due to other matters
arising on my schedule as Press Secretary. At the meeting with Mr. Dupree and Ms. Champion
on August 8, we explained that we were not aware of any contacts from Mr. Karem seeking to
discuss the July 11 incident and asked you to provide any emails or other evidence showing that
he sought to discuss the incident with me. The emails that Mr. Karem has submitted in response
do not support your assertions. 51 None of them mentions or even hints at a desire to speak with
me about the events of July 11, 2019, and they certainly do not suggest that Mr. Karem
attempted "multiple times to discuss the incident" with me. One email chain simply thanks me
for the format of a briefing with Secretary Mnuchin and provides no support whatsoever for your
assertions. 52 The other set of emails involved an initial request made on July 8, 2019 for a ten-
minute off-the-record meeting-before the events in the Rose Garden on July 11. That earlier
request is then referenced and renewed in emails after July 11 when my schedule required
rescheduling our meeting. 53 Those emails involved simply the request for a get-to-know-you
meeting that I mentioned above. There is no indication in any of the emails, however, that in Mr.
Karem's efforts to reschedule that meeting, which was initially requested on July 8, he was
actually hoping to discuss with me the events of July 11.

        Fifth, you have emphasized the fact that some of the invited guests made comments to
Mr. Karem before Mr. Karem's "demonic possession" comment, such as, "don't be sad." 54 The
assertion that "he started it first," however, is not a justification for a member of the press to
insult invitees at the White House, nor is it a license to escalate the situation, and it certainly does
not absolve Mr. Karem of responsibility for his conduct. In addition, your argument on this

47 Initial Response at 7.
48 Id at 3.
49 Initial Response at 3 ( emphasis added).
50
   Karem Statement at 4.
51 See 8/9/2019 B. Karem Emails in Supp. of Supplemental Response.
52 See Email from B. Karem to S. Grisham (July 16, 2019 1:53 PM).
53 See Email from B. Karem to A. LeHardy (July 9, 2019 6:40 PM); Email from B. Karem to S. Grisham (July 9,

2019 12:54 PM).
54 Karem Statement at 2; Video 4, https://youtu.be/mNySuQFh2YE (at 0:00~:02).


                                                      11
          Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 13 of 14




point ignores the fact that there is a fundamental difference between invited White House guests
and the press. The press is present to cover events and to ask questions of those officials who are
taking questions. Openly insulting a gathering of guests is never appropriate conduct for a
member of the press at the White House, even if one of the guests has directed remarks to the
press.

        Sixth, for similar reasons, your complaint that I am not imposing consequences on others
involved-by which I assume you mean Mr. Gorka or any guests who made comments to Mr.
Karem-is misplaced. Mr. Gorka and other individuals were present in the Rose Garden as
invited guests, not members of the press. My responsibility as Press Secretary involves
credentialing members of the White House press and providing the press access to the White
House campus so that they can do their jobs. In that role, I am responsible for ensuring that
basic standards of conduct are maintained by the press so that White House events can proceed
without disruption and with a basic level of decorum. I am not the behavior czar for everyone
who enters the campus. I have no authority to dictate the conduct of all guests invited to the
White House, nor do I have authority to revoke press passes for guests who did not use a press
pass for access to the event. Mr. Gorka, in particular, does not hold a press pass. The assertion
that Mr. Karem was "single[d] out" 55 is thus incorrect. You have not identified any members of
the press whose conduct in the Rose Garden on July 11, 2019 was remotely comparable to Mr.
Karem's or that wa1Tants any sanction.

         In addition, Mr. Karem's hard pass is not being suspended merely for a single insult that
violates what you characterize as a "no-taunting rule." Instead, as explained above, it is the
totality of the conduct in this case that warrants such a sanction, inciuding disrupting the press
event with a persistent series of comments that threatened to escalate a verbal altercation into a
physical one to the point where the Secret Service had to intervene-and then disobeying staff
instructions to leave while trying to re-engage with Mr. Gorka. You have not identified any
member of the press who engaged in equivalently egregious and persistent conduct that day.

       Seventh, you have speculated that this decision has been "potentially made in
coordination with Mr. Gorka." 56 That is false. As I confirmed during the August 8, 2019 in-
person meeting, I am the decision-maker in this matter. I have informed you of the materials on
which my decision is based, and I can state categorically that I have not coordinated or
communicated with Mr. Gorka at all about Mr. Karem or the events in the Rose Garden on July
11, 2019. Your request for discovery of any communications between anyone at the White
House and Mr. Gorka is equally baseless, and you are not entitled to review White House
communications based on unfounded speculation. However, even if Mr. Gorka had contacted
me to complain about Mr. Karem's conduct and had requested that Mr. Karem be sanctioned in
some way, there would not have been anything improper about such a request from a guest who
had been insulted and who felt threatened, and it would have been perfectly appropriate for me to
take such a request into account. As it happens, no such contact occU1Ted.

       Eighth, Mr. Dupree and Ms. Champion argued that Mr. Karem's conduct was less
deserving of punishment than the conduct of Jim Acosta at a press event on November 7, 2018,


55   Supplemental Response at 3.
56
     Initial Response at 6.

                                                12
       Case 1:19-cv-02514-KBJ Document 3-10 Filed 08/20/19 Page 14 of 14




because Mr. Karem's conduct occurred after the press event had ended, the President was not
present, and there was no physical contact here, whereas Mr. Acosta's conduct occurred during a
press event while he was asking questions of the President and there was incidental physical
contact with an intern. See generally Tr. of Mot. Hr' g, ECF No. 22, Cable News Network, Inc. v.
Trump, No. l:18-cv-02610-TJK (D.D.C. Nov. 16, 2018). I have considered these points, and I
disagree. Mr. Karem's conduct in this case was completely different in kind from the event in
November 2018, and it warrants a significant sanction. Persistently taunting others in a way that
threatens to escalate a situation into a physical altercation and prompts Secret Service
intervention is always prohibited. The fact that the press event had ended and Mr. Karem's
conduct was not related in any way to asking questions during the press event serves only to
reduce First Amendment concerns for imposing sanctions on his conduct. And to the extent
there was physical contact involving Mr. Acosta and the intern, it appeared incidental and
fleeting, whereas Mr. Karem's words and actions in this case were deliberate, intentional, and
persistent, and threatened to escalate into an actual physical altercation.

                                        *       *         *
       As explained above, Mr. Karem's White House hard pass is suspended effective
immediately through Saturday, September 14, 2019. Please inform Mr. Karem that if Playboy
has another co1Tespondent they wish to send to the White House during his absence, they should
contact me and we will arrange a press pass as swiftly as possible.



                                             Sincerely,



                                            Stephame A. Grisham
                                            Assistant to the President
                                            White House Press Secretary




CC:    Thomas Dupree, Esq.
       Ann Champion, Esq.




                                               13
Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 1 of 9




              Exhibit 11
                    Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 2 of 9




---------- Forwarded message ---------
From: Brian Karem <brianjkarem@gmail.com>
Date: Tue, Jul 9, 2019 at 12:54 PM
Subject: Re: [EXTERNAL] checking in for a time to talk
To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>


Got it. I just want to touch base sooner rather than later. Thanks. Look forward to sitting down with her next
week.

I thought it had something to do with that ...or travel.

Thanks again.

B

On Tue, Jul 9, 2019 at 10:45 AM LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov> wrote:

 Off the record –



 As you can imagine – her schedule is incredibly busy as she focuses on meeting her new staff and getting up to speed
 on policies. All media meetings are being scheduled over the next couple of weeks.




 From: Brian Karem <brianjkarem@gmail.com>
 Sent: Tuesday, July 9, 2019 10:42 AM
 To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>
 Subject: Re: [EXTERNAL] checking in for a time to talk




 Ok, thanks for the update. What happened?



                                                           1
                  Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 3 of 9
B



On Tue, Jul 9, 2019 at 9:19 AM LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov> wrote:

Hi Brian – we are going to have to reschedule your meeting with Stephanie. Let’s circle back next week for a time that
works.




Thank you!



From: Brian Karem <brianjkarem@gmail.com>
Sent: Monday, July 8, 2019 5:04 PM
To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>
Subject: Re: [EXTERNAL] checking in for a time to talk




Sounds good.



On Mon, Jul 8, 2019 at 4:57 PM LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov> wrote:

    Sure – let’s plan on Friday at 11AM



    From: Brian Karem <brianjkarem@gmail.com>
    Sent: Monday, July 8, 2019 3:10 PM
    To: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>; LeHardy, Annie H. EOP/WHO
    <Anne.H.LeHardy@who.eop.gov>
    Subject: [EXTERNAL] checking in for a time to talk




    Anne;



    I spoke with Stephanie and she said you could set up a time this week for a brief off-the-record conversation.
    I think 10 minutes at most would do it.




                                                         2
            Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 4 of 9
Thanks for your help. And welcome back to the West Wing everybody!



B




                                                3
                 Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 5 of 9




---------- Forwarded message ---------
From: Brian Karem <brianjkarem@gmail.com>
Date: Mon, Jul 15, 2019 at 6:40 PM
Subject: Catching up
To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>


Annie;

Great to see you again. Just following up on the request. I know a lot of folks are looking for time, but we were
initially scheduled to talk (Me with Stephanie) for about 10 minutes last week.

Anytime this week that she has free for that type of meeting, I'm free.

Just looking for availability.

B




                                                        1
                  Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 6 of 9




---------- Forwarded message ---------
From: Brian Karem <brianjkarem@gmail.com>
Date: Tue, Jul 16, 2019 at 1:57 PM
Subject: Re: [EXTERNAL] Checking in
To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>


Great. Thanks for the update.
Just let me know when and where.

B

On Tue, Jul 16, 2019 at 1:56 PM LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov> wrote:

Hi there –



Off the record:



I have received all of your emails. I am taking everyone’s requests as they come in. As of now, she will have
an availability to meet with you during the week of August 5th.



Thank you

Annie




From: Brian Karem <brianjkarem@gmail.com>
Sent: Tuesday, July 16, 2019 1:51 PM
To: LeHardy, Annie H. EOP/WHO <Anne.H.LeHardy@who.eop.gov>
Subject: [EXTERNAL] Checking in

                                                      1
              Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 7 of 9



Annie;



Did you get my last email?



B




                                             2
                 Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 8 of 9




---------- Forwarded message ---------
From: Brian Karem <brianjkarem@gmail.com>
Date: Tue, Jul 16, 2019 at 3:35 PM
Subject: Re: [EXTERNAL] Thanks
To: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>


Stephanie;

My vote may not count for much but for what it's worth thanks for the effort.

B

On Tue, Jul 16, 2019 at 3:19 PM Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>
wrote:

 I agree and hope we can have more like that. Thanks for the feedback.



 From: Brian Karem <brianjkarem@gmail.com>
 Sent: Tuesday, July 16, 2019 1:53 PM
 To: Grisham, Stephanie A. EOP/WHO <Stephanie.A.Grisham@who.eop.gov>
 Subject: [EXTERNAL] Thanks




 Stephanie;



 Thank you for the Mnuchin briefing. It was great to just ask policy questions.



 If it means anything those are far more beneficial to the administration than the driveway gaggles.




                                                          1
    Case 1:19-cv-02514-KBJ Document 3-11 Filed 08/20/19 Page 9 of 9
B




                                   2
Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 1 of 7




              Exhibit 12
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                              Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 2 of 7
                                                         The Washington Post logo
                                                                             Democracy Dies in Darkness
             Sections    




        The Fix • Analysis

        ‘You’re a parent!’ Things got personal in the White House
        briefing room.




             By Callum Borchers
             June 14, 2018


            White House media briefings are often contentious, but Thursday's question-and-
            answer session got personal.



https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 3 of 7
          During one exchange, White House press secretary Sarah Huckabee Sanders said
          to CNN reporter Jim Acosta, a frequent sparring partner, “I know it's hard for you to
          understand even short sentences.”

          Acosta had asked Sanders about Attorney General Jeff Sessions's attempt, earlier in the
          day, to use the Bible to justify the Trump administration's immigration policies, which
          include splitting up families that arrive at U.S. borders seeking asylum.

          “I would cite you to the Apostle Paul and his clear and wise command in Romans 13 to
          obey the laws of the government because God has ordained them for the purpose of
          order,” Sessions said in Fort Wayne, Ind.

          Other biblical passages, including some written by Paul, have been cited by advocates of
          softer immigration policies. In Romans 12, for example, Paul wrote: “Share with the
          Lord’s people who are in need. Practice hospitality. ... Live in harmony with one
          another. Do not be proud, but be willing to associate with people of low position.”

          “Where in the Bible does it say that it's moral to take children away from their mothers?”
          Acosta asked.

          “I'm not aware of the attorney general's comments or what he would be referencing,”
          Sanders replied. “I can say that it is very biblical to enforce the law.”

          Sanders and Acosta went back and forth until Sanders insulted Acosta's comprehension
          skills. On a telecast of the briefing, another reporter could be heard scolding Sanders for
          a “cheap shot.”

          Sanders then falsely asserted that the Trump administration is separating children from
          their parents “because it's the law, and that's what the law states.” In fact, separation is
          not required by law but is a Trump administration practice that White House Chief of
          Staff John F. Kelly calls a “tough deterrent.”

          [Fact-checking immigration spin on separating families]

          Sanders gave the next question to CBS's Paula Reid, who performed an on-the-spot fact-
          check.

          “There is no law that requires families to be separated at the border,” Reid said. “This
          was the administration's choice.”

https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 4 of 7

          Unmoved, Sanders continued to insist, falsely, that the Trump administration is simply
          doing what the law mandates. When Reid asked whether the administration will “take
          responsibility for its policy change,” Sanders replied, “It's not a policy change to enforce
          the law.”


               “Don’t you have any empathy? Come on, Sarah, you’re a parent. Don't you have any empathy for what these people

               are going through," reporter stands up to ask @PressSec after @PaulaReidCBS asks about families being separated

               at the border https://t.co/mZ4B11O1uj pic.twitter.com/G8qWhgJdVK
               — CBS News (@CBSNews) June 14, 2018



          Sanders tried to move on from Reid, but Brian Karem, executive editor of the Sentinel
          newspapers in Maryland, interjected.

          “Come on, Sarah, you're a parent!” Karem said. “Don't you have any empathy for what
          these people are going through?”

          “Brian, guys, settle down,” Sanders answered. “I'm trying to be serious, but I'm not
          going to have you yell out of turn.”

          Karem kept going. “These people have nothing,” he said.

          “Hey, Brian, I know you want to get some more TV time, but that's not what this is
          about,” Sanders said.

          Karem kept going.

          “Answer the question,” he said. “It's a serious question. These people have nothing. They
          come to the border with nothing, and you throw children in cages. You're a parent.
          You're a parent of young children. Don't you have any empathy for what they go
          through?”

          “Jill, go ahead,” Sanders said to another reporter, ignoring Karem.

          The final question went to CNBC's Eamon Javers, who asked about a CBS report that
          Sanders has told friends that she plans to quit by the end of the year. Sanders neither
          confirmed nor denied the report.

          “In terms of personnel announcements, I don't have any to make,” she said. “I can tell

https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 5 of 7
          you that I show up here every day. I love my job. I'm glad to work for the president. And
          each and every day, I'll pray for clarity and discernment on what my future looks like.”



                      Most Read Politics


                         1 ‘Everything that we hold dear’: From race to plastic straws,
                               Trump dials up culture wars in divisive play for 2020 votes
                         2 Fourth board member resigns from NRA in a sign of further
                               upheaval
                         3     Analysis
                               How a recession could doom Trump’s 2020 reelection
                         4     Analysis
                               Anger at being labeled racist is the new ‘cultural anxiety’
                               for Trump supporters
                         5 Epstein’s accusers call her his protector and procurer. Is
                               Ghislaine Maxwell now prosecutors’ target?




https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 6 of 7




https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
‘You’re a parent!’ Things got personal in the White House briefing room. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-12 Filed 08/20/19 Page 7 of 7




https://www.washingtonpost.com/...e-fix/wp/2018/06/14/youre-a-parent-things-got-personal-in-the-white-house-briefing-room/?noredirect=on[8/12/2019 9:48:53 PM]
Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 1 of 6




              Exhibit 13
Fox News' Jesse Watters: Reporters who act like 'a wild animal' should lose press passes | TheHill
                                       Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 2 of 6

                                                                                                                                                                                Search

                         News           Policy          Opinion            Events          Jobs       HILL.TV

     TRENDING:          JEFFREY EPSTEIN             MASS SHOOTINGS              DONALD TRUMP                  SPONSORED:           IRAN: THE UNTOLD STORY




                                                           Fox News' Jesse Watters: Rep
                                                           who act like 'a wild animal' sh
                                                           lose press passes
                                                           BY MORGAN GSTALTER - 06/14/18 07:42 PM EDT




                                                                                                                                           Video




                                                                                                                                           Democratic official sees Steyer with
                                                                                                                                           early on-the-ground 'advantage' in
                                                                                                                                           Iowa
                                                                                                                                           RISING



     Fox News host Jesse Watters blasted a pair of reporters covering the White
     House on Thursday, suggesting they have their press credentials revoked after
     a contentious briefing.

     Watters said during an appearance on Fox News' “The Five” that the two
     reporters, Playboy's Brian Karem and CNN's Jim Acosta, “don’t belong” in the
     White House briefing room.
                                                                                                                                           Iowa Democratic official: Trump
       “They are jokes,” Watters said during the program. "They need to start ripping
      ADVERTISEMENT                                                                                                                        tariffs starting to hurt his standing in
       press passes away. If you’re going to act like a wild animal, you don’t belong                                                      the state
                                                                                                                                           RISING
     there.”

     Acosta responded to Watters on Twitter after the segment aired.

     “This from a lapdog for the White House,” he retorted.




https://thehill.com/business-a-lobbying/392388-fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for[8/12/2019 9:53:58 PM]
Fox News' Jesse Watters: Reporters who act like 'a wild animal' should lose press passes | TheHill
                                       Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 3 of 6




            This from a lapdog for the White House. https://t.co/cJkJh2aZOi

            — Jim Acosta (@Acosta) June 14, 2018
                                                                                                                                         Democratic strategist predicts Biden
     Karem sparred with White House press secretary Sarah Huckabee Sanders                                                               gaffes won't hurt him in long run
     during Thursday's media briefing, questioning whether she had "any empathy"                                                         RISING

     over the Trump administration's policy of separating families who illegally cross
     the border into the U.S.

     Acosta then feuded with Sanders after she invoked the Bible as justification for
     separating families.

     "Where in the Bible does it say that it's OK to take children away from their
     parents?" Acosta pressed. "You just said it’s in the Bible to follow the law."
                                                                                                                                         Voters blame mental illness, gun
     "I know it’s hard for you to understand even short sentences, I guess, but please                                                   laws, rhetoric as top reasons for
     don’t take my words out of context," Sanders fired back.                                                                            shootings
                                                                                                                                         WHAT AMERICA'S THINKING
            Asked about Jeff Sessions ' claim that separating children from parents is
            rooted in the Bible, Sanders says "it it is very biblical to enforce the law."

            She then calls @Acosta dumb, saying, "I know it's hard for you to
            understand even short sentences." pic.twitter.com/LnQrBUvDBe

            — Aaron Rupar (@atrupar) June 14, 2018

     Watters said Thursday evening that it was inappropriate for the reporters to
     interject with their opinions and have a “meltdown.”

     “I don’t care if you have opinions like that,” Watters said. “Be an analyst. Go
     debate it on CNN on primetime but don’t pretend to be a non-partisan
     correspondent and then meltdown like that and embarrass your integrity.”

     TAGS JEFF SESSIONS SARAH HUCKABEE SANDERS JIM ACOSTA WHITE HOUSE PRESS BRIEFING
     PRESS CREDENTIALS JESSE WATTERS THE FIVE




https://thehill.com/business-a-lobbying/392388-fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for[8/12/2019 9:53:58 PM]
Fox News' Jesse Watters: Reporters who act like 'a wild animal' should lose press passes | TheHill
                                       Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 4 of 6
     DON'T MISS A BRIEF. SIGN UP FOR OUR DAILY EMAIL.                                                                                    YOUR EMAIL   Sign Up




                                              News


                                              SENATE

                                              HOUSE

                                              CAMPAIGN

                                              ADMINISTRATION

                                              REGULATION

                                              MEDIA

                                              BRIEFING ROOM

                                              LATINO

                                              POLLS

                                              12:30 REPORT

                                              FLOOR ACTION

                                              IN THE KNOW

                                              SUNDAY TALK SHOWS

                                              MORE


                                                   Policy


                                                   DEFENSE

                                                   ENERGY & ENVIRONMENT

                                                   FINANCE

                                                   HEALTHCARE

                                                   TECHNOLOGY

                                                   INTERNATIONAL

                                                   TRANSPORTATION

                                                   CYBERSECURITY

                                                   NATIONAL SECURITY

                                                   MORE



                                                   Video


                                                   LATEST

                                                   DEFENSE

                                                   ENERGY & ENVIRONMENT

                                                   FINANCE

                                                   HEALTHCARE

                                                   TECHNOLOGY

                                                   TRANSPORTATION

                                                   INTERNATIONAL



https://thehill.com/business-a-lobbying/392388-fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for[8/12/2019 9:53:58 PM]
Fox News' Jesse Watters: Reporters who act like 'a wild animal' should lose press passes | TheHill
                                       Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 5 of 6
                                                   CYBERSECURITY

                                                   NATIONAL SECURITY

                                                   SUNDAY SHOWS

                                                   EVENTS

                                                   MORE


                                                   Opinion


                                                   BRENT BUDOWSKY

                                                   COLUMNISTS

                                                   CONGRESS BLOG

                                                   CONTRIBUTORS

                                                   MORE




          TheHill.com


          PRIVACY POLICY

          TERMS & CONDITIONS

          CONTACT

          SUBSCRIPTIONS

          ADVERTISE




          Resources


          THE HILL APPS

          PEOPLE

          RSS




          Contributors


https://thehill.com/business-a-lobbying/392388-fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for[8/12/2019 9:53:58 PM]
Fox News' Jesse Watters: Reporters who act like 'a wild animal' should lose press passes | TheHill
                                       Case 1:19-cv-02514-KBJ Document 3-13 Filed 08/20/19 Page 6 of 6

          BECOME A CONTRIBUTOR




          Other Areas


          SPECIAL REPORTS

          GALLERIES

          CLASSIFIEDS

          JOBS




     THE HILL 1625 K STREET, NW SUITE 900 WASHINGTON DC 20006 | 202-628-8500 TEL | 202-628-8503 FAX
     THE CONTENTS OF THIS SITE ARE ©2019 CAPITOL HILL PUBLISHING CORP., A SUBSIDIARY OF NEWS COMMUNICATIONS, INC.




https://thehill.com/business-a-lobbying/392388-fox-news-jesse-watters-says-reporters-acted-like-wild-animals-for[8/12/2019 9:53:58 PM]
Case 1:19-cv-02514-KBJ Document 3-14 Filed 08/20/19 Page 1 of 11




              Exhibit 14
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 2 of 11




                    An Ode to Sarah Huckabee Sanders From the Enemy
                                    Brian Karem re ects on the departure of his sparring partner




                                                           Written by Brian Karem
                                                                June 18, 2019


    Sarah Sanders is a true believer. Conditioned by an upbringing rooted in Christian rhetoric that's
    impervious to reason, she views the world through a lens in which everything exists in absolutes.
    The world is absolutely against the believers, and only the believers know the truth.


    It is scary enough to deal with this mindset in religious circles, but Sanders has applied it to politics,
    and to Donald Trump. It explains her defenses of Trump against all odds, her un appable ability to
    tell the most egregious lies, to deny facts and to look upon those who stand against the president—
    or in the case of reporters asking questions, as heathens and/or unwashed sinners incapable of
    understanding “The Truth” she claims to provide.


    It is why she can declare, with a straight face, that she wants to be remembered as being
    transparent and honest. Privately, Sanders can be kind and funny. I have had interactions with her—
    o -the-record and in her o ce—that have been amicable and memorable. In a gaggle with a small

https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                     1/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 3 of 11
    group of reporters after she announced her resignation, I asked her if she had any regrets. She
                                           F I N D on
    wanted to think about that, but said calling   SOM E Tin
                                                      me  HIaNG N E Wng had to be one of them. I laughed.
                                                              brie


    After all, the press is still here. Publicly, we have had major disagreements. Though she has been in
    close contact with members of the media more or less (and lately far, far less) on a daily basis, she
    still hasn’t hesitated to side with the president when he calls us the enemy of the people. She has
    openly accused us of providing fake news and at one point, drew my ire when she encouraged us
    to watch a piece of recorded ction and then denounced reporters for not believing the ction.


    Any claims of Christian good charity from this administration melted away when I confronted her
    about having empathy for young refugees the administration puts in cages. Her tenure as a
    presidential press secretary is replete with propaganda instead of facts and the details will be
    studied in post-secondary education circles for years.




      Her lack of experience exacerbated the situation and further
            helped to drive a wedge between Trump and millions of
         American voters—though the administration doesn’t see it
                                                              that way.



    But I do not endorse those who shame her for a variety of shallow and meaningless physical
    reasons, nor will I bother indulging in such folly.


    Sanders, who announced last week she is leaving, walks away from the White House leaving a
    smoldering caldera of scorched earth and the desecration of our founding fathers precepts which
    metaphorically represent the Armageddon her religion taught her. She was never quali ed to hold
    the post of Press Secretary. She is naïve, inexperienced and didn’t know the purpose of the o ce
    or how to deal with the press in a functional way. During the last two years, she abandoned the
    traditional role of the Press Secretary in favor of being the president’s chief defender; in doing so,
    she never faltered come hell, high water or a lack of factual information.
https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                 2/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 4 of 11


                                           F I N Dnever
    While previous press secretaries said they     S O M Ewanted
                                                          T H I N G Nto
                                                                      EWbe put in a position to lie to the public,
    Sanders did it proudly and with impunity. Larry Speakes, Ronald Reagan’s press secretary, once
    told reporters we shouldn’t tell the administration how to stage the news and they wouldn’t tell us
    how to report it. This administration, with Sanders’ assistance, wants to tell us what to report, how
    to do it and admonish us for not doing exactly what is dictated.


    As a direct result, reporters across this country have endured hate mail and death threats. We’re
    still here. Sanders, guided by Trump, eliminated the daily press brie ng and replaced it with a series
    of driveway excursions conducted by administration o cials, which gives her cover to say the
    administration is being transparent even though no useful information was ever provided to the
    public. Press secretaries used to carry a brie ng book thick with administration policies, facts to
    supply and talking points on issues to cover. It’s gone.


    Starting with Ronald Reagan, the rst president I covered, and until this president took o ce, press
    secretaries supplied morning background “gaggles” to bring the press up to speed on issues facing
    the administration and the Republic. Brie ng papers with facts and opinions were routinely
    disseminated to the press. I’m old enough to remember when they were printed out instead of
    emailed. Today, there is none of that.


                                                          RELATED CONTENT




   s For Journalists


   ournalists




https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                         3/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 5 of 11


                                                         FIND SOMETHING NEW




                                                               Opinion
                                                               The American Press Is Broken. Here's How Journalists Can Fix It




    We are pelted with propaganda and left without facts to back up anything the president or
    members of his administration say. Perhaps Kellyanne Conway is being hunted for violating the
    Hatch Act because this administration is too feeble to provide us facts on any issue, and that
    vacuum of informational need is being lled with the rotting blow ies resting in Conway’s
    consciousness.


    To be fair, it is damn near impossible to provide vetted facts to the public in a Trump administration.
    Trump is in over his head; Trump the incompetent will save us from Trump the fascist, as more than
    one former administration o cial and pundit have opined. “Don’t try to over analyze us,” former
    communications director Bill Shine once told me. He likened his job to being the guy who cleaned
    up after the circus left.


    That is the handicap dealt to Sanders. Her lack of experience exacerbated the situation and further
    helped to drive a wedge between Trump and millions of American voters—though the


https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                                 4/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 6 of 11
    administration doesn’t see it that way. She destroyed her credibility with lies, some veri ed by the
                                          F I N Ded
    Mueller investigation, and many more veri     S Oby
                                                      M Evideo,
                                                          T H I N Gaudio
                                                                    N E W and printed facts. She was also

    undone by a communication sta that didn’t do the homework, didn’t know the issues and at one
    point referred to the Posse Comitatus Act as “that Hakuna Matata thing.”


    Whomever steps into the role of press secretary—if anyone does—will have to slowly rebuild the
    trust with the American people destroyed by the ravages of a press secretary who had no historic
    perspective of her o ce and cared little for such details. She has been called Trump’s battering
    ram, a smooth dealer in disinformation akin to Goebbels and other propagandists.


    Again, the truth is far scarier.


    She is all those things not because she knows Trump is a fraud and she’s in on the joke like Conway,
    but because she believes. She can forgive Trump’s lies and turn a blind eye to them because those
    who question Trump, in her mind, just don’t get it. He’s the new savior. The man on a mission. She
    and others think Trump’s being vili ed like Jesus, and I’ve heard her privately make allusions to that
    very sentiment.


    It isn’t just frightening that Sanders lied to us, but that she represents millions of people who
    eagerly swallow the lies, continue to smile at you o camera and will even be cordial to you while
    never once thinking you are human or worthy of the redemption the true believer smugly believes
    they deserve. It is that disassociation from reality that is truly frightening.


    Conway, on the other hand is an honest hypocrite. You just know when you look at her she doesn’t
    for one instant believe anything she says. You know she’s lying and she knows you know it.




      The frustration of covering this administration is embodied in
                Sanders, but it is unfair to blame her for everything.



https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                 5/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 7 of 11
    The president’s tweet announcing Sanders’ resignation came at the end of a typical day of Trump
                                        F I N DConway
    revelations, mis res and pronouncements.   S O M E T Hhad
                                                          I N G been
                                                                N E W chastised, Secretary of State Mike

    Pompeo appeared to be threatening a war with Iran, and Trump told ABC he’d take information
    from a foreign adversary in the next election. It was all greeted with muted indi erence. But there
    was a resounding cry of multiple expletives—sounding like wild banshees being eld-stripped while
    still alive—that echoed across the basement of the White House press o ces when the president
    announced Sanders' exit. The frustration of covering this administration is embodied in Sanders,
    but it is unfair to blame her for everything. The fault, of course, is with the president.


    Sanders said she wanted to get out for that age-old reason: spending more time with her family.
    Against all odds, I take her at her word. I don’t think she has any desire to be the governor of
    Arkansas, as the president prodded her into becoming. The school year is over in D.C., her kids are
    entering school in the fall and now is the perfect time to disengage, get away from the struggle and
    go home to Arkansas and enroll her children in school there next school year. Trump merely
    endorsed Sanders for governor to give her an exit boost. If it happens, ne. If it doesn’t, Trump
    won’t care. It wasn’t to be taken seriously—though afterward, in the small gaggle with a dozen or so
    reporters, Sanders smiled when someone addressed her as “Governor.”


    She also said during that gaggle she wasn’t worried about the Mueller report showing she had lied
    and that the report had nothing to do with her decision to leave. Trump remains her liege. She will
    bend spoons, shout at the Democrats, speak in tongues, lie to the public and whatever else she
    feels necessary to defend him. The lie isn’t a lie if it defends Trump.


    Never forget, she and Trump value loyalty above all. She is Trump’s disciple. She is Trump’s charge.
    In her mind she is one of the apostles sent into the hinterlands to preach Trump’s truth.


    From this she has never wavered. It is hard to believe she ever will.




    RELATED TOPICS

    Society



https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                               6/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 8 of 11


                                                         FIND SOMETHING NEW




    Opinion
    'Bachelor in Paradise' and the Dumpster-Fire Love Pentagon



                                                       EXPLORE CATEGORIES




                                  MUSIC                                         DRUGS & LEISURE




https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                               7/10
8/12/2019                                Brian Karem
                     Case 1:19-cv-02514-KBJ          on Sarah 3-14
                                               Document       HuckabeeFiled
                                                                       Sander's White House Exit
                                                                             08/20/19       Page 9 of 11


                                                         FIND SOMETHING NEW




                            POP CULTURE                                                STYLE




                                MILITARY                                          PSYCHOLOGY




                                                                BACK TO TOP




    CONTENT

    Read
    Watch

https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                               8/10
8/12/2019                                 Brian Document
                      Case 1:19-cv-02514-KBJ    Karem on Sarah3-14
                                                              Huckabee Sander's
                                                                     Filed      White HousePage
                                                                            08/20/19       Exit 10 of 11
    Galleries
    Sitemap                                                  FIND SOMETHING NEW



    AC C O U N T

    Membership
    Sign In


    C O M PA N Y

    About Us
    Press

    Contact
    Become a Playmate
    Customer Support

    Magazine Customer Support
    Privacy Policy
    Terms of Use


    SITES

    Playmates
    Download the App

    Playboy Shop
    Playboy Plus
    Playboy.TV

    Playboy Archive
    Playboy Enterprises




    ©2019 Playboy.com, Inc. All rights reserved.

    All models appearing on this website are 18 years or older. Click here for records required pursuant to 18 U.S.C. 2257 Record Keeping
    Requirements Compliance Statement. By entering this site you swear that you are of legal age in your area to view adult material and that you
    wish to view such material.

    Please visit WTS | Epoch, our authorized sales agents. Please visit Vendo, our authorized reseller.

    Playboy.com, Inc. 10960 Wilshire Blvd, Suite #2200, Los Angeles, CA, 90024

    Spice Entertainment Inc. 2300 West Empire Avenue #750, Burbank, CA 91504




https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                                                                        9/10
8/12/2019                                Brian Document
                     Case 1:19-cv-02514-KBJ    Karem on Sarah3-14
                                                             Huckabee Sander's
                                                                    Filed      White HousePage
                                                                           08/20/19       Exit 11 of 11


                                                         FIND SOMETHING NEW




https://www.playboy.com/read/an-ode-to-sarah-huckabee-sanders-from-the-enemy                              10/10
Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 1 of 6




              Exhibit 15
Donald Trump’s News Session Starts War With and Within Media - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 2 of 6



                                                                                                           LOG IN




                   Donald Trump’s News Session Starts
                   War With and Within Media




                President-elect Donald J. Trump had sharp words for a CNN reporter: “Your organization’s
                terrible. ... You are fake news.” Jan. 11, 2017 • Sam Hodgson for The New York Times



                   By Michael M. Grynbaum

                   Jan. 11, 2017


                   He deemed BuzzFeed News “a failing pile of garbage,” mocked an inquiry about
                   his tax returns — “Gee, I’ve never heard that one before” — and, in an unheard-
                   of moment for a presidential news conference, shouted down questions from a


https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
Donald Trump’s News Session Starts War With and Within Media - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 3 of 6
                   CNN reporter, declaring, with some menace, “Not you.”

                   “Your organization is terrible,” said President-elect Donald J. Trump, his voice
                   rising as Jim Acosta of CNN tried to interject. “No, I’m not going to give you a
                   question. I’m not going to give you a question.”

                   “You,” the president-elect said, as Mr. Acosta and other stunned journalists
                   looked on, “are fake news.”

                   Any hope that Mr. Trump would temper his attacks on the news media after the
                   campaign seemed to dissipate in the marble atrium of Trump Tower on
                   Wednesday, as the president-elect, holding his first news conference since July,
                   turned a controversy over his ties to Russia into a deft and unrelenting attack
                   on the journalists who reported it.

                   It was a spectacle that attracted nearly 300 reporters to Midtown Manhattan —
                   the news conference was carried live in Australia, England and Germany — and
                   it came against an extraordinary backdrop: reports that intelligence officials
                   had briefed Mr. Trump on a document alleging collusion between the Russian
                   government and his campaign.

                   CNN broke the news on Tuesday but declined to publish specific allegations,
                   saying its reporters could not verify them. BuzzFeed News published the
                   unverified claims in full, a move that prompted an ethical debate in journalistic
                   circles — and offered Mr. Trump an opening.

                   “The fact that BuzzFeed and CNN made the decision to run with this
                   unsubstantiated claim is a sad and pathetic attempt to get clicks,” the incoming
                   White House press secretary, Sean Spicer, said, inaccurately lumping the two
                   news organizations together.

                   But the result was classic Trump: Not only did he break the norms of
                   presidential engagement with the news media, snubbing organizations because
                   of an unflattering story, but he also had elements of a frustrated political press
                   corps warring with one another.

                   Immediately after the news conference, CNN defended its reporting and drew a


https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
Donald Trump’s News Session Starts War With and Within Media - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 4 of 6
                   sharp distinction between its news story and “BuzzFeed’s decision to publish
                   unsubstantiated memos.” On a broadcast, the CNN anchor Jake Tapper said
                   that BuzzFeed’s move “hurts us all.”

                   “It’s irresponsible to put uncorroborated information on the internet,’’ Mr.
                   Tapper said. “I can understand why President-elect Trump would be upset
                   about that; I would be upset about it. too.’’

                   Later, Chuck Todd, the NBC News moderator, repeatedly pressed BuzzFeed’s
                   editor in chief, Ben Smith, on why unverified claims did not amount to “fake
                   news.”




                President-elect Donald J. Trump on Wednesday in New York held a news conference for the first
                time in six months. Jan. 11, 2017 • Damon Winter/The New York Times



                   Mr. Smith, for his part, said he was “not going to participate in an attempt to
                   divide the media against each other.” (In a memo on Wednesday, BuzzFeed’s
                   chief executive, Jonah H. Peretti, defended the move. “We are going to keep
                   doing what we do best, which is deliver impactful journalism,” he wrote.)

                   Still, by the time the news conference finished — with Omarosa Manigault, the
                   “Apprentice” star and future member of the White House staff, heckling Mr.


https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
Donald Trump’s News Session Starts War With and Within Media - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 5 of 6
                   Acosta, shouting, “Cut it out!” — Mr. Trump had bobbed and weaved his way
                   through nearly an hour of interrogation, offering vague answers to critical
                   questions about his administration.

                   Yet the conduct of the news media, a familiar foil from Mr. Trump’s campaign
                   days, remained at the center of the day’s story.

                   The treatment of Mr. Acosta raised alarms among news media advocates and
                   his fellow journalists, particularly after Mr. Acosta described a threat by Mr.
                   Spicer to eject him from the news conference when he persisted in trying to ask
                   the president-elect a question.

                   Harsh words between reporters and press secretaries happen. But an anchor for
                   a rival network, Shepard Smith of Fox News, later came to Mr. Acosta’s defense,
                   saying that no “journalists should be subjected to belittling and delegitimizing
                   by the president-elect of the United States.”

                   The National Press Club also lamented Mr. Trump’s behavior, saying in a
                   statement: “Presidents shouldn’t get to pick and choose which reporters’
                   questions they will answer based on what news outlet for which they work.”

                   Mr. Trump, who ultimately took one question from a CNN reporter, also called
                   on journalists from two right-leaning organizations: BreitbartNews and One
                   America News. Matthew Boyle, the Breitbart reporter, asked the president-elect
                   for his ideas on how to reform the news media.

                   Mostly, however, Mr. Trump took questions from journalists at the major
                   television networks, with John Roberts of Fox News going first. A Greek chorus
                   of sorts — mostly Trump supporters and aides, including Ms. Manigault —
                   watched from the side, applauding Mr. Trump and jeering questions from
                   reporters they deemed unpleasant.

                   A man who prides himself on finding an opponent’s weakness, Mr. Trump at
                   one point zeroed in on an existential question that has lingered in many
                   newsrooms since his surprise victory: How much does the traditional news
                   media still matter in a polarized age?



https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
Donald Trump’s News Session Starts War With and Within Media - The New York Times
                           Case 1:19-cv-02514-KBJ Document 3-15 Filed 08/20/19 Page 6 of 6
                   When Hallie Jackson, an NBC News correspondent, asked the president-elect if
                   he would finally release his tax returns, to verify his claim that he has no
                   financial dealings in Russia, Mr. Trump scoffed.

                   “You know, the only one that cares about my tax returns are the reporters,
                   O.K.?” the president-elect said. “They’re the only ones who ask.”

                   “You don’t think the American public is concerned about it?” Ms. Jackson
                   asked.

                   “I don’t think so,” Mr. Trump replied, before laying down the political
                   equivalent of a mike-drop: ”I won.”


                   Sydney Ember contributed reporting

                   A version of this article appears in print on , on Page A19 of the New York edition with the headline: Trump
                   Attacks News Media, Which Then Battle Among Themselves. Order Reprints | Today’s Paper | Subscribe




                   Related Coverage




                   Jan. 11, 2017     Donald Trump Concedes Russia’s
                                     Interference in Election




https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
Case 1:19-cv-02514-KBJ Document 3-16 Filed 08/20/19 Page 1 of 2




              Exhibit 16
Case 1:19-cv-02514-KBJ Document 3-16 Filed 08/20/19 Page 2 of 2
Case 1:19-cv-02514-KBJ Document 3-17 Filed 08/20/19 Page 1 of 2




              Exhibit 17
Case 1:19-cv-02514-KBJ Document 3-17 Filed 08/20/19 Page 2 of 2
Case 1:19-cv-02514-KBJ Document 3-18 Filed 08/20/19 Page 1 of 2




              Exhibit 18
Case 1:19-cv-02514-KBJ Document 3-18 Filed 08/20/19 Page 2 of 2
Case 1:19-cv-02514-KBJ Document 3-19 Filed 08/20/19 Page 1 of 2




              Exhibit 19
Case 1:19-cv-02514-KBJ Document 3-19 Filed 08/20/19 Page 2 of 2
Case 1:19-cv-02514-KBJ Document 3-20 Filed 08/20/19 Page 1 of 4




              Exhibit 20
11/11/2018                          Trump Refused To Answer ADocument
                             Case 1:19-cv-02514-KBJ          Question From A CNN Reporter
                                                                           3-20   FiledIn08/20/19
                                                                                          A Press Conference
                                                                                                       PageWith
                                                                                                             2 Theresa
                                                                                                                of 4 May


   BuzzFeed       Quizzes      Tasty     More




   Trump Refused To Answer A Question From A CNN Reporter In A Press Conference With
   Theresa May
   The president did, however, take a question from Fox News, which he called "a real network".
   Originally posted on July 13, 2018, at 11:32 a.m.
   Updated on July 13, 2018, at 1:04 p.m.


             Patrick Smith
             BuzzFeed News Reporter




   Stefan Rousseau / PA Wire/PA Images

          Share             Pin



   President Trump used the global stage to call an unfavoured cable news network "fake news" on Friday, at a joint press conference
   with British prime minister Theresa May.


   During a question and answer session after both leaders had delivered short speeches, Jim Acosta of CNN attempted to ask the
   president about taxes but was cut off.
                        Share                                          Share

https://www.buzzfeed.com/patricksmith/trump-refused-to-answer-a-question-from-a-cnn-reporter-in-a                                      1/8
11/11/2018                    Trump Refused To Answer ADocument
                       Case 1:19-cv-02514-KBJ          Question From A CNN Reporter
                                                                     3-20   FiledIn08/20/19
                                                                                    A Press Conference
                                                                                                 PageWith
                                                                                                       3 Theresa
                                                                                                          of 4 May
   "That's fake news, I don't take questions from CNN, CNN is fake news, I don't take questions from fake news," the president said.

   Trump  alsoQuizzes
   BuzzFeed     criticisedTasty
                           NBC after
                                Moreits reporter asked him about his forthcoming meeting with Russian president Vladimir Putin, calling the
   journalist "dishonest" and the network "possibly worse than CNN".

   He then took a question from Fox News, which he called "a real network".




             BuzzFeed News
             @BuzzFeedNews

      When a CNN reporter tried to ask Trump a question at a news
      conference, Trump said "CNN is fake news. I don't take
      questions from CNN. John Roberts of Fox. Let's go to a real
      network."
         274 8:30 AM - Jul 13, 2018

         382 people are talking about this




                                                                     ADVERTISEMENT




   John Roberts, the Fox reporter, said in an emailed statement that he supported his White House press corps colleagues and that it
   was unfair to marginalise them.

   "In today's press conference, I paused while my colleague from CNN went back and forth with President Trump over a question," he
   said. "When it became clear that the president wasn't going to entertain a question from him, I proceeded with my question, as did my
   fellow colleagues in the press corps.

   "I know Kristen Welker of NBC. She is honest as the day is long. For the President to call her dishonest is unfair. I also used to work at
   CNN. There are some fine journalists who work there and risk their lives to report on stories around the world. To issue a blanket
   condemnation of the network as 'fake news' is also unfair."

   Trump and his supporters have a long history of goading or ignoring CNN, as well as other news outlets. Trump has refused to take
   Acosta's questions before, and just last month the reporter was booed and told to "Go home, Jim!" at a Trump rally in South Carolina.

   But Trump, despite his assertion that he never takes questions from CNN, did so yesterday. After he'd had made some strong
   comments about Germany's defence spending and reliance on Russia at the NATO summit in Brussels, the president was asked by
   CNN's Jeremy Diamond    about the commitments he said he'd secured.Share
                        Share

https://www.buzzfeed.com/patricksmith/trump-refused-to-answer-a-question-from-a-cnn-reporter-in-a                                               2/8
11/11/2018                      Trump Refused To Answer ADocument
                         Case 1:19-cv-02514-KBJ          Question From A CNN Reporter
                                                                       3-20   FiledIn08/20/19
                                                                                      A Press Conference
                                                                                                   PageWith
                                                                                                         4 Theresa
                                                                                                            of 4 May
   Trump gave a fulsome answer, complaining that the US was paying far too much towards NATO budgets and Germany not enough.

   Hadas  Gold,
   BuzzFeed      a CNN reporter,
               Quizzes  Tasty Moresaid on Twitter that by bypassing disliked news outlets on foreign soil Trump had given encouragement
   to authoritarian leaders to restrict press freedom, a view shared by others in the media industry.



             Hadas Gold
             @Hadas_Gold

      The U.S. president doing this abroad is like giving authoritarian
      leaders around the world, who put reporters in jail, who try to
      quash a free press, a green light.

        Christina Wilkie       @christinawilkie
        Trump: "I don't take questions from CNN. Fake news. Let's go to John
        Roberts of Fox. A real network."




         38.3K 8:32 AM - Jul 13, 2018

         14.7K people are talking about this




                David Rothkopf
                @djrothkopf


     Trump is not just being un-American in denying CNN access, he is sending a message to the world that the President of the
     United States does not believe in a free press, giving license to autocrats everywhere to follow his lead.
     02:05 PM - 13 Jul 2018

        Reply       Retweet       Favorite




   Feuds between media outlets and presidents are not new. President Obama was openly critical of Fox News and its nakedly negative
   coverage of his administration – but attempts to ban its reporters from government press briefings were resisted and widely criticised
   by other media outlets.

   In 2009, officials had attempted to omit Fox News from a Treasury briefing, but other networks refused to take part until its journalists
   were allowed in.

   CNN declined to comment.



     Patrick Smith is a senior reporter for BuzzFeed News and is based in London.
     Contact Patrick Smith at patrick.smith@buzzfeed.com.
                              Share                                                 Share
     Got a confidential tip? Submit it here.
https://www.buzzfeed.com/patricksmith/trump-refused-to-answer-a-question-from-a-cnn-reporter-in-a                                              3/8
Case 1:19-cv-02514-KBJ Document 3-21 Filed 08/20/19 Page 1 of 7




              Exhibit 21
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           2 of 7




     The 43 most staggering lines from Donald
  Trump's Indiana speech
  Analysis by Chris Cillizza, CNN Editor-at-large
  Updated 12:59 PM ET, Fri August 31, 2018


  (CNN) — As o cials in Washington prepared to honor the late Sen. John McCain, President Donald Trump headed
  to Evansville, Indiana, to headline a campaign rally for GOP Senate nominee Mike Braun. If you thought Trump
  might honor McCain's passing or adjust his ﬁery campaign rhetoric in any way, you thought wrong! (Trump never
  mentioned McCain by name in the speech.)

  I went through the transcript of Trump's speech and pulled out the most, um, memorable lines. They're below.




      CNN's Chris Cillizza cuts through the political spin and tells you what you need to know. By subscribing,
      you agree to our privacy policy.



         Enter email address                                   Subscribe




  1. "You love our country. You're proud of our history. And you always respect our great American ﬂag."

  While this is a standard Trump line, it takes on a bit of a di erent meaning since the ﬂag over the White House went
  back to full-sta on Monday morning -- even as the US Capitol Building had the ﬂag still at half-sta to honor
  McCain. Later in the day, Trump issued an order for the ﬂags at the White House to hang at half-sta until McCain's
  burial at the Naval Academy on Sunday.

  2. "And now tomorrow you're going to read headlines, 'Trump had protesters all over the place.' One
  person. One person."

  You wouldn't have read headlines like that except for the fact that a Trump volunteer blocked a photographer
  trying to take a picture of the protester.
         By using this site, you agree to our updated Privacy Policy and our Terms of Use.

https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                    1/6
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           3 of 7
                                                                      3. "But are they going to talk about the thousands and
                                                                      thousands of people inside of this arena and outside of
                                                                      the arena, where we put screens? No."

                                                                      The Indianapolis Star reported that all of the arena's 11,000
                                                                      seats were full -- and that people "spilled out onto the ﬂoor."

                                                                      4. "These are just dishonest, terrible people. I'm telling
                                                                      you that. Terrible people."

                                                                      Trump's attack on the media came on the same day that a
                                                                      California man was charged for making violent threats against
  A sta member for President Donald Trump                             reporters for the Boston Globe. He insisted that the media
  blocks a camera as a photojournalist                                was "the enemy of the people." Sound familiar?
  attempts to take a photo of a protester during
                                                                      5. "They do suppression polls. You know what a fake
  a campaign rally at the Ford Center, Thursday,
                                                                      poll is. It's called a suppression. They make you think
  Aug. 30, 2018, in Evansville, Ind. (AP                              you can't win, so you go to see a movie."
  Photo/Evan Vucci)
                                                         This is not a thing. Or at least not a thing any credible,
                                                         mainstream media outlet would get anywhere near. What
                                                         Trump means is that sometimes polls don't come out well for
  him or his side. When that happens, he calls those "suppression polls" because they might have the e ect of
  discouraging people to vote for a lost cause. That, of course, is not the aim of polls. The aim of polls is to provide a
  snapshot of where a race stands.

  6. "But the word is they're ﬁring the head of NBC. What a great thing to do. How smart. That's what the
  word. Who knows? With these people, you never know."

  A classic in the Trump rhetorical catalog. I hear someone might get ﬁred. But that could change. Who knows? By
  doing this, Trump injects the idea into the minds of his supporters and forces some level of media coverage -- even
  if it's very skeptical. He does all of that without a single shred of evidence that NBC News President Andrew Lack is
  getting ﬁred.

  7. "But when I start screaming 'fake news,' you see those red lights go oﬀ for a little while. You know,
  excuse me, we have technical diﬃculties, OK, then they go back. "

  So. The President of the United States is alleging, with no proof, that TV cameras are faking technical di culties
  when he starts talking about "fake news." Which is weird, because I watched him say this line on TV last night.

                                                                      8. "It's tough to have a network where you're calling
  L I K E W H AT YO U ' R E R E A D I N G ?                           them 'fake news' and they're supposed to be proud."

                                                                      [narrator voice] It's not tough at all, actually.
     Check out the latest analysis from The
     Point with Chris Cillizza:                                       9. "That just shows when you get good ratings, you can
                                                                      say anything."
        The absolutely remarkable life of John
        McCain                                          He said the quiet part out loud! If you needed Trump's view on
                                                        the media -- and on life more generally -- condensed into a
        Indictment isn't Trump's biggest threat
                                                        single sentence, this would be the sentence I would write. If
        -- impeachment is                               you listen closely enough to Trump, he always tells you exactly
        Donald Trump just gave a GIANT hint             what he thinks, and who he is.
        about when he'll ﬁre Je Sessions
        The deﬁnitive ranking of 2020                   10. "We're so far ahead of schedule."
        Democrats
                                                        There's a schedule? Who knew!
        This week in politics, GIF'd
          By using this site, you agree to our updated Privacy Policy and our Terms of Use.

https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                                       2/6
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           4 of 7
                                                   11. "I gave Mike, a little while ago, something that I saw
                                                   -- but he's seen it -- the Indianapolis Star did a story,
  and I guess it's a poll of some kind. Joe Donnelly rated least eﬀective Democrat in Senate in a new
  study."

  Two things: 1) Here's the study Trump is referencing and 2) It's amazing how Trump sees zero hypocrisy in calling
  the media "dishonest, terrible people" one moment and then citing a mainstream media story to make a point that
  is good for him.

  12. "Today's Democrat Party is held hostage by left-wing haters, angry mobs, 'deep state' radicals,
  establishment cronies, and their fake news allies."

  This is a pretty remarkable thing for a president -- even Trump -- to say. The opposition party is haters, angry mobs,
  people who make up the news, swamp-dwellers and embedded bureaucrats working to bring down his
  presidency. What's even scarier is that I think he may genuinely believe it.

  13. " You can have the biggest story about Hillary Clinton -- I mean, look at what she's getting away
  with. But let's see if she gets away with it."

  Trump never speciﬁes what Clinton is "getting away with." Doesn't matter. The crowd erupts in an extended "Lock
  Her Up!" chant. What are we locking her up for? No one seems to know!

  14. " All I can say is, our Justice Department and our FBI -- at the top of each, because inside, they
  have incredible people -- but our Justice Department and our FBI have to start doing their job right and
  doing it right and doing it now."

  This is more "deep state" conspiracy stu . Remember that the head of the Justice Department -- Je Sessions --
  was a top Trump supporter during the campaign and was hand-picked by the President for this job.

  15. "What's happening is a disgrace."

  A Republican president o ers his thoughts on his own Justice Department.

  16. "I wanted to stay out. But at some point, if it doesn't straighten out properly -- I want them to do
  their job -- I will get involved, and I'll get in there, if I have to."

                                                                      Trump, translated: The Justice Department better start
                                                                      pursuing my personal whims -- or else.

                                                                      17. "Republicans stand for stopping illegal immigration,
                                                                      ﬁxing bad, horrible, obsolete trade deals, unleashing
                                                                      American energy, cutting taxes, supporting our
                                                                      militaries and our great vets, our great, great vets."

                                                                      Great vets like, say, John McCain?

                                                                      18. "But of the nine, eight of them were crying. And I
                                                                      looked at the ninth, crying out of happiness, because
    Related Article: Joe Biden's McCain                               they're back."
    eulogy just explained exactly what's wrong
    with American politics                                            Trump relayed to the crowd that he ran into nine coal miners
                                                                      backstage in Evansville -- and they were all weeping out of
                                                                      happiness for what he has done for the coal-mining industry.
                                                                      The chances this story is actually true? 50-50.

  19." I actually asked them, I said, did they do polling when Honest Abe Lincoln was around? You know
  what? Nobody's been able to give me that answer, but I'm assuming they did, OK? So we can say we're
  beating Honest Abe."
         By using this site, you agree to our updated Privacy Policy and our Terms of Use.

https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                                    3/6
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           5 of 7
  Donald Trump just said he is more popular right now with Republicans than Abe Lincoln was in his time. What a
  sense of history!

  20. "These -- this is a group of gang members -- I can't say 'animals' anymore, because Nancy Pelosi
  got very angry when I called them animals. I called them animals. She went crazy. I can't do it."

  Here's what Pelosi actually said: "When the President of the United States says about undocumented immigrants,
  'these are not people, these are animals,' you have to wonder, does he not believe in the spark of divinity? In the
  dignity and worth of every person? 'These are not people, these are animals,' from the President of the United
  States."

  21. "We're doing a great job. And we have really no laws to work with. We have really no laws to work
  with. The laws are horrible. Laws are the worst and dumbest in the history of the world."

  A real quote from the President of the United States.

  22. "I pick up. I said hello. He goes, 'Trump, this is Bobby Knight, and you got to run for president. Our
  country needs you.' And I said that's Bobby Knight. That's Bobby Knight. Right? That's Bobby Knight."

  Knight, the famous/infamous longtime basketball coach at Indiana University, was a prominent Trump supporter.

  23. "But I had two big stacks -- you'll see pictures of me in the oﬃce, you'll see these massive stacks."

  Stacks on stacks.

  24. "We were on center stage of every single debate, right? Every single debate. Center stage means
  we were never in second place."

  The re-telling of his positioning on the stage in 2016 primary debates is so, so Trump. Being center stage means he
  was in ﬁrst, the big winner, the one everyone wanted to look at and talk about. This is his life goal.

  25. "We love winners. We love winners. Winners are winners."

  [nods head knowingly]

  26. "Did you say the fake news tried to fake out Tiger? They didn't do too well. Tiger's sharp."

                                                                      Woods was asked at a tournament this week about his
                                                                      relationship with Trump. Here's what he said: "We've played
                                                                      golf together. We've had dinner together. I've known him pre-
                                                                      presidency and obviously during his presidency." Asked
                                                                      whether his friendship with Trump amounted to tacit support
                                                                      for the President's policies, Woods responded: "He's the
                                                                      President of the United States. You have to respect the o ce,"
                                                                      he said. "No matter who is in the o ce, you may like, dislike
                                                                      personality or the politics, but we all must respect the o ce."

                                                                      27. "No, we love winners. We love winners. "
    Related Article: Donald Trump just keeps                          So, let me get this straight. Winning is good? And we like
    claiming things he said on tape aren't real                       winners?

                                                   28. "And we're the talk of the world. I'll tell you, every
                                                   foreign leader who comes to see me, almost, they walk
  in and they start oﬀ, Mr. President, congratulations on the incredible success you're having with your
  economy. Congratulations. Everything. Almost everyone."

  It apparently doesn't occur to Trump that foreign leaders are taking this approach because he's demonstrated
         By over
  over and  usingagain
                  this site, youlikes
                       that he    agree to our
                                      people   updated
                                             who praise Privacy  Policy and
                                                        him. It probably    our Terms
                                                                         should       of him.
                                                                                occur to Use.

https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                                   4/6
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           6 of 7
  29. "See, you have to understand, I have a better education than they do from a much better school,
  but -- the elite. They're the elite. They're the elite. I went to better schools, I went to better everything.
  And by the way, by the way, are you ready for this? And I'm President, and they're not."

  The key to understanding so much of what Trump says and does is this: He believes himself to have always been
  mocked by the so-called "elites." He has always felt like the guy on the outside looking in, the person the people he
  wanted to be ignored and and laughed at. Trump's life has been motivated by a singular desire to prove all of those
  people wrong. "I'm president and you're not," is the sort of thing you might expect to hear from someone in ﬁfth
  grade. But that grade-school mentality is how Trump looks at the world.

  30. "If Crooked Hillary came here, if she had 300 to 500 people -- ﬁrst of all, she wouldn't be in this
  building. She'd be in a hotel conference room. It would be a conference room, right?"

  The 2016 election ended 661 days ago.

  31. "And I'm not saying -- I'm just saying. I'm not saying it's -- I'm just saying, something incredible is
  happening with our country to have this."

  So, is he saying? Or not saying? I'm confused.

  32. "And for the ﬁrst time ever, really -- and we have a lot of great programs to help -- for the ﬁrst time
  ever, employers are hiring prisoners."

  This is not, um, the ﬁrst time that employers are hiring ex-prisoners.

  33. "And I have a friend who hired prisoners. I said, 'Whoa, that's great.' And he said, 'You wouldn't
  believe how great they are. They're better than my other people.'"

  "Whoa, that's great." -- President Donald Trump

  34. "It's such a beautiful name, clean power. Clean power, right?"

  Uh, yes?

  35. "When there's thousands of birds laying at the base of the windmill, what do we do? Isn't that
  amazing?"

  Amazing is, I guess, a word for it?

  36. "If your house is staring at a windmill, not good. When you hear that noise going 'round and 'round
  and 'round, and you're living with it, and then you go crazy after a couple of years, not good."

  "How Windmills Make You Crazy," By Donald Trump

  37. "Because we've put mechanisms in work -- lots of diﬀerent -- I won't bore you with the
  complications -- it's actually -- we had middlemen that were so rich they were making a fortune on
  drugs, prescription drugs."

  "You know, a lotta ins, lotta outs, lotta what-have-you's. And, uh, lotta strands to keep in my head, man. Lotta
  strands in old Duder's head." -- Je rey "The Dude" Lebowski.

  38. "Our veterans are the greatest. ... These are, really, our greatest people, as far as I'm concerned."

  Like, say, John McCain?

  39. "I guess I'm good at getting things passed, but it was great."

  #Humblebrag
         By using this site, you agree to our updated Privacy Policy and our Terms of Use.
  40. "It's called Space Force. So important. So important."
https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                     5/6
11/10/2018                            The 43 most staggering
                        Case 1:19-cv-02514-KBJ               lines from3-21
                                                      Document          Donald Trump's
                                                                               Filed Indiana speech -Page
                                                                                       08/20/19       CNNPolitics
                                                                                                           7 of 7
  Mars Awaits!

  41. "We are standing up for the heroes who protect America."

  Like, say, John McCain?

  42 ."We're going to win so much that you're going to be begging me, 'Please, please, Mr. President, the
  people of Indiana cannot continue to win like this. We're not used to this. This is terrible!'"

  "Terrible Winning" would be a good band name.

  43. "I don't give a damn what they want. We're going to keep on winning."

  "Too much winning can be wonderful." -- Mae West/Donald Trump




             By using this site, you agree to our updated Privacy Policy and our Terms of Use.

https://www.cnn.com/2018/08/31/politics/donald-trump-evansville-speech/index.html                                   6/6
Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 1 of 6




              Exhibit 22
White House bans CNN reporter from Rose Garden event after she peppers Trump with tough questions on Russia, Cohen
                              Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 2 of 6

  


           TRUMP EFFECT


           White House bans CNN reporter from Rose Garden event after
           she peppers Trump with tough questions on Russia, Cohen
           "This decision to bar a member of the press is retaliatory in nature and not indicative of an open and free
           press," CNN said in a statement. "We demand better."




              White House correspondent Kaitlan Collins asks a question during a press conference by U.S. President Donald Trump
       and Canada's Prime Minister Justin Trudeau in the East Room of the White House on February 13, 2017 in Washington, DC.
       Mandel Ngan / AFP - Getty Images file




       July 26, 2018, 12:13 AM UTC / Updated July 26, 2018, 12:17 AM UTC




https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-event-after-she-n894686[8/12/2019 10:44:44 PM]
White House bans CNN reporter from Rose Garden event after she peppers Trump with tough questions on Russia, Cohen
                              Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 3 of 6
       By Phil McCausland

       The White House banned a CNN reporter from attending a press event with President Donald Trump on
       Wednesday after she asked him questions about his former lawyer Michael Cohen and Russian President
       Vladimir Putin.


       The cable networks's White House reporter Kaitlan Collins had served as the "pool reporter" during an Oval
       Office photo op with President Trump and European Commission President Jean-Claude Juncker on
       Wednesday, meaning she was asking questions on behalf of several news organizations. As the president sat for
       pictures, Collins tossed out a few questions in hopes that Trump might answer.


       Major networks trade the duty of serving as the television "pool reporter," and it is typical that this person
       attempt to ask the president questions. Trump is known to sometimes answer, and it is oftentimes reporters'
       only opportunity to ask him questions.


       The White House apparently did not like her line of questioning.


       "After posing questions to President Trump earlier in the day as the network pool reporter, Collins was told by
       White House deputy chief of staff for communications Bill Shine and press secretary Sarah Sanders that her
       questions were 'inappropriate,'" CNN said in a statement.


       Collins' four questions centered on Trump's relationship with his former longtime lawyer Cohen and an
       invitation he extended to President Putin.


       "Did Michael Cohen betray you, Mr. President?" she asked twice, between the whir and clicks of cameras taking
       photos. "Mr. President are you worried about what Michael Cohen is about to say to the prosecutors? Are you
       worried about what is on the other tapes, Mr. President? Why is Vladimir Putin not accepting your invitation,
       Mr. President?"


       All four questions related to news of the day. Cohen's lawyer released the audio of a recording between Cohen
       and the president late on Tuesday in which Trump mentions "cash" in relation to paying off a former Playboy
       model who claims she had a year-long affair with him.


       The final question refers to an invitation that Trump extended to Russian President Putin to come to the White
       House. The White House announced Wednesday that it would delay the meeting until special counsel Robert
       Mueller completed his investigation of Russian election interference, which also looks into whether the Trump
       campaign attempted to collude with the Russian government.


       After Collins asked the questions, however, she was told by Shine and Sanders that she would not be allowed to
       attend an open press event in the White House Rose Garden.


https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-event-after-she-n894686[8/12/2019 10:44:44 PM]
White House bans CNN reporter from Rose Garden event after she peppers Trump with tough questions on Russia, Cohen
                              Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 4 of 6

       "I told them that is often our only chance to ask the president questions. Those questions were questions any
       reporter would have asked, and I was there to represent all of the networks and therefore ask about the
       questions of the day," she said on CNN's The Situation Room with Wolf Blitzer.


       Trump and Juncker gave brief statements at the Rose Garden event about their meeting on Wednesday.


       "Just because the White House is uncomfortable with a question regarding the news of day doesn't mean the
       question isn't relevant and shouldn't be asked," CNN said in its statement. "This decision to bar a member of
       the press is retaliatory in nature and not indicative of an open and free press. We demand better."


       The White House Correspondents' Association also condemned the Trump administration's "misguided and
       inappropriate decision."


       "This type of retaliation is wholly inappropriate, wrong-headed, and weak," WHCA President Olivier Knox said.
       "It cannot stand. Reporters asking questions of powerful government officials, up to and including the
       President, helps hold those people accountable."


       FOX News, the president's preferred news network, also extended their support to CNN and Collins' right to be
       at the press event.


       “We stand in strong solidarity with CNN for the right to full access for our journalists as part of a free and
       unfettered press,” wrote Jay Wallace, the president of FOX News, in a statement.


       Sanders said in a statement from the White House that Collins had "shouted questions and refused to leave
       despite repeatedly being asked to do so."


       "Subsequently, our staff informed her she was not welcome to participate in the next event, but made clear that
       any other journalist from her network could attend," Sanders said. "She said it didn’t matter to her because she
       hadn’t planned to be there anyway. To be clear, we support a free press and ask that everyone be respectful of
       the presidency and guests at the White House."


       Other White House reporters — some who were in the room when Collins asked the questions — and colleagues
       extended their support to the CNN reporter.




               As today's radio pooler, I was in the Oval Office with @kaitlancollins, heard her questions, thought they
               were good and timely ones, and find an official government sanction in response to them an absolute,
               stunning outrage.



https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-event-after-she-n894686[8/12/2019 10:44:44 PM]
White House bans CNN reporter from Rose Garden event after she peppers Trump with tough questions on Russia, Cohen
                              Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 5 of 6
               — Steven Portnoy (@stevenportnoy) July 25, 2018




               Outrageous of the White House to bar @CNN reporter @kaitlancollins from an open press event because
               it did not like her questions. A strong leader does not fear questions. A strong democracy does not shield
               its leader from those who question authority. https://t.co/zmwH0vUZ3A

               — Peter Baker (@peterbakernyt) July 25, 2018




               Absolutely disgraceful behavior from @presssec and Shine. @kaitlancollins is a tough professional and
               had every right to ask about Cohen, about whom POTUS has repeatedly tweeted. WH press corps and
               media writ large needs to unite against this. https://t.co/ryg3Uj8qvG

               — Jake Tapper (@jaketapper) July 25, 2018




               Just got word the WH barred @kaitlancollins from the WH for asking questions today they did not like.
               This is oppression, this anti-American. This cannot stand. Kaitlan is a great reporter. The WH shows its
               true colors. NO MORE!

               — Brian J. Karem (@BrianKarem) July 25, 2018




               Remember, @kaitlancollins was acting on behalf of all network television reporters today in the Oval. I
               stand firmly with her, and would have done exactly the same thing in her shoes.


               — Hallie Jackson (@HallieJackson) July 25, 2018




         
                            ABOUT

                            CONTACT



https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-event-after-she-n894686[8/12/2019 10:44:44 PM]
White House bans CNN reporter from Rose Garden event after she peppers Trump with tough questions on Russia, Cohen
                              Case 1:19-cv-02514-KBJ Document 3-22 Filed 08/20/19 Page 6 of 6
                            CAREERS

                            PRIVACY POLICY
                            © 2019 NBC UNIVERSAL
                            TERMS
                                 OF
                            SERVICE
                            
                            NBCNEWS.COM
                            
                            SITE MAP
                            ADVERTISE

                               ADCHOICES




https://www.nbcnews.com/politics/white-house/white-house-bans-cnn-reporter-rose-garden-event-after-she-n894686[8/12/2019 10:44:44 PM]
   Case 1:19-cv-02514-KBJ Document 3-23 Filed 08/20/19 Page 1 of 1




Exhibit 23 is a video
file that is stored on
electronic media filed
concurrently with this
application.
Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 1 of 11




              Exhibit 24
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                                     Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 2 of 11
                                                                The Washington Post logo
                                                                                                     Democracy Dies in Darkness
               Sections          




         Politics • Analysis
         Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective.

         But not entirely through any fault of their own.




               By Philip Bump
               February 15


           One of the comments that political observers offer to reporters with some regularity is


https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 3 of 11
           that more should be done to challenge President Trump’s repeated lies and inaccuracies
           about matters of public policy. Given the regularity with which Trump offers disproved
           bits of data, it would seem to be a fairly trivial task to interject with corrections.

           In practice, of course, it’s not that simple: The president’s availability is limited, and
           while he tends to repeat debunked talking points, the broad selection of inaccuracies
           from which he might choose on any given day means that reporters might not always be
           prepared for any particular comment.

           On Friday, though, everything fell into place: The president, in trying to defend his
           decision to declare a national emergency to fund a wall on the border with Mexico,
           trotted out the same frequently disproved data he has been using since the fight over the
           wall heated up in December. And reporters, given the opportunity to ask questions of
           the president, directly challenged his presentation of facts.

           In short order, we saw why trying to fact-check Trump, even in real time, is often an
           unrewarding enterprise. The combination of the power imbalance between the president
           and reporters, his willingness to ignore the decorum that has usually guided such
           interactions, and his aggressive lack of interest in engaging in legitimate debate all made
           the day’s incursions broadly unsuccessful.

           CNN’s Jim Acosta

           The first reporter to challenge Trump’s data was CNN’s Jim Acosta. Acosta’s tense
           relationship with the White House is by now well established, including an incident in
           which Acosta’s access badge to the facility was briefly revoked.

           Here was their exchange, with our thoughts interspersed.


                   ACOSTA: Thank you, Mr. President. I — I wonder if you could comment on this disconnect that we

                   seem to have in this country where you are presenting information about what’s happening at the

                   border, calling it an invasion, talking about women with duct tape over their mouths and so on.


                   And yet there’s a lot of reporting out there, there’s a lot of crime data out there, there’s a lot of

                   Department of Homeland Security data out there that shows border crossings at a near-record low …


                   TRUMP: That’s because of us. But it’s still — excuse me …



https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 4 of 11

           A problem with asking questions of anyone, Trump included, comes when you include
           multiple issues in one question. This, too, can stem from having only limited time to
           press the president on any given subject (and his press secretary’s abandonment of daily
           press briefings).

           Here, Trump seizes upon one part of Acosta’s question — a drop in border crossings —
           to interrupt.

           Trump’s claim that border crossings are near a record low is not because of Trump. Data
           on monthly apprehensions at the border, a good proxy for the number of crossings,
           shows that there was a low early in Trump’s administration, but the figure has since
           climbed. Apprehensions are now at a level that has been fairly consistent since 2011 or
           so.


                   ACOSTA: That shows undocumented immigrants committing crimes at lower levels …


                   TRUMP: It’s still massive numbers of crossings.



           Acosta presses on as Trump pivots from taking credit for a drop in border crossings to
           instead touting how many crossings there are — the central argument behind his push
           for a wall.

           Consider that contrast alone. Trump claims we need a wall to address a crisis at the
           border, but also accepts and seeks credit for the number of crossings being near a record
           low.


                   ACOSTA: Shows undocumented criminals — or undocumented immigrants committing crimes at lower

                   levels than native-born Americans. What — what do you say to …


                   TRUMP: You don’t — you don’t really believe that stat, do you? Do you really believe that stat? Take a

                   look at our federal prisons.


                   ACOSTA: What do you — well, let me ask you this. I believe — I believe in facts and statistics

                   (inaudible).


                   TRUMP: Okay. Anymore? Quick, let’s go.




https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 5 of 11
           Acosta asks about a claim that Trump has made since he declared his candidacy: that
           immigrants from Mexico bring crime.

           The idea that immigrants, including immigrants in the country illegally, commit a
           disproportionate amount of crime has been repeatedly shown to be false. It was false in
           July 2015 when Trump first made the claim, and, since Trump has focused on the issue,
           it has been again disproved repeatedly.

           Trump doesn’t offer any factual response to Acosta, besides to point at the federal prison
           population. (Since immigration crimes are federal crimes, the federal prison population
           is disproportionately made up of non-citizens.) Trump simply asks Acosta what he
           believes, as though his own gut feeling is more important than what statistical analysis
           suggests.

           That discrepancy comes up again in short order.


                   ACOSTA: Let me just ask you this: What do you say to your critics who say that you are creating a

                   national emergency, that you’re concocting a national emergency here in order to get your wall because

                   you couldn’t get it through other ways?


                   TRUMP: I ask the Angel Moms, what do you think? Do you think I’m creating something? Ask these

                   incredible women who lost their daughters and their sons, okay? Because your question is a very

                   political question, because you have an agenda, you’re CNN, you’re fake news, you have an agenda.


                   The numbers that you gave are wrong. Take a look at our federal prison population, see how many of

                   them percentage-wise are illegal aliens, just see. Go ahead and see. It’s a fake question.



           Acosta tries another tack: Isn’t this not an emergency but instead simply an effort to get
           the wall that Congress denied?

           Trump demands that Acosta consider the “Angel Moms,” mothers of people who’ve lost
           children to immigrants in the country illegally either through criminal acts or accidents.
           This is another appeal to emotion, centered on undeniable tragedies — but tragedies
           that by themselves don’t prove Trump’s claims about the risk posed by immigrants in
           the country illegally. (Native-born Americans commit crimes at higher rates than
           immigrants.)


https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 6 of 11
           The president then switches to the point he probably wanted to make from the time he
           called on Acosta: CNN’s coverage can’t be trusted because it has an agenda.

           It’s particularly ironic that Trump would make this claim after having just waved away
           pointed questions about issues of fact in favor of politically motivated emotion. But it’s
           not particularly surprising that he did so.

           Playboy‘s Brian Karem

           When Acosta was done, Trump turned to Playboy’s White House correspondent, Brian
           Karem. Karem continued Acosta’s theme.


                   KAREM: Thank you, Mr. President. Just to follow up on that, you — unifying crime-reporting statistics,

                   numbers from your own Border Patrol, numbers from this government, show that the amount of illegal

                   immigrants are down, there is not violence on the border and that most …


                   TRUMP: There’s not violence on the border?


                   KAREM: There’s not as much violence as — wait a minute — wait a minute — let me finish the question

                   …


                   TRUMP: Oh really? You had 26 people killed?


                   KAREM: Please, let me finish the question, please.


                   TRUMP: Two weeks ago, 26 people were killed in a gunfight on the border.


                   KAREM: I understand what the — I understand what you’re saying.


                   TRUMP: A mile away from where I went.


                   KAREM: I — I was there, I understand. That’s not the question. The question is …


                   TRUMP: Do we forget about that?



           Karem begins by noting that the number of immigrants in the country has declined and
           addressing the question of violence on the border. But he misspeaks, and Trump
           immediately pounces.


https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 7 of 11
           Nearly half of Karem’s time is taken up fending off Trump’s accusation that Karem was
           claiming there was no violence on the border. It’s an accusation that’s clearly not made
           in good faith, as Karem quickly makes clear, but Trump keeps pressing on it because it
           allows him to filibuster — and avoid the question.


                   KAREM: No, I’m not forgetting about it, I’m asking you to clarify where you get your numbers, because

                   most of the [Drug Enforcement Administration] crime-reporting statistics that we see show that drugs

                   are coming across at the ports of entry, that illegal immigration is down and that the violence is down.

                   So what do you base your facts on?


                   TRUMP: Okay. Let me — come on, let’s go.


                   KAREM: And secondly …


                   TRUMP: No, no, you get one, you get one. Wait, sit down, sit down.


                   KAREM: Could you — could you please answer it.


                   TRUMP: Sit down! You get one question.


                   KAREM: Please?


                   TRUMP: I get my numbers from a lot of sources, like Homeland Security primarily, and the numbers

                   that I have from Homeland Security are a disaster.


                   And you know what else is a disaster? The numbers that come out of Homeland Security, Kirstjen

                   [Nielsen, the homeland security secretary], for the cost that we spend and the money that we lose

                   because of illegal immigration, billions and billions of dollars a month. Billions and billions of dollars,

                   and it’s unnecessary.



           Karem finally gets back on track: Where, if Trump is claiming that there is a risk of
           crime at the border, does that analysis come from?

           Primarily the Department of Homeland Security, Trump says — leaving open the door
           for other sources of information, including, perhaps, the conservative media that Trump
           eagerly consumes.

           Mind you, Trump doesn’t offer any data on crime, instead asserting that Homeland


https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                             Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 8 of 11
           Security estimates that illegal immigration costs billions of dollars a month.

           Trump has made similar claims before, frequently inflating the annual cost of
           immigration on a whim. The Post’s fact-checkers have looked at Trump’s numbers in the
           past and determined that his claims derive indirectly from numbers tallied by a group
           that opposes current immigration policies. Even that analysis has been challenged as
           inaccurate.

           In other words, this appears to be an example of one of the other sources of information,
           not DHS.


                   KAREM: So your own government’s stats are wrong, are you saying?


                   TRUMP: No, no, I use many stats. I use many stats.


                   KAREM: Could you share those stats with us?


                   TRUMP: Let me tell you, you have stats that are far worse than the ones that I use, but I use many stats,

                   but I also use Homeland Security. All right, next question.



           Karem returns to his point about the Drug Enforcement Administration’s determination
           that most drugs come into the United States at existing border checkpoints, a bit of
           information that’s reinforced by testimony from Homeland Security.

           Trump’s reply? He uses lots of stats, ones that are better than what Karem has, but he
           won’t share them.

           And with that, Karem’s turn with the mic was over. The next question was about China.

           The takeaway here is simple: Trump is uninterested in presenting accurate information
           about immigration that conflicts with his policy goals. He prefers instead to go with his
           gut, even when those feelings are demonstrably false. And if you challenge him on that,
           he’ll bully and mislead and then cut you off.

           Reporters should and do press Trump on his assertions of fact. But it will usually go like
           this.




https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                         Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 9 of 11
                      Most Read Politics


                          1 ‘Everything that we hold dear’: From race to plastic straws,
                               Trump dials up culture wars in divisive play for 2020 votes
                          2    Analysis
                               How a recession could doom Trump’s 2020 reelection
                          3    Analysis
                               Anger at being labeled racist is the new ‘cultural anxiety’
                               for Trump supporters
                          4 Fourth board member resigns from NRA in a sign of further
                               upheaval
                          5 Epstein’s accusers call her his protector and procurer. Is
                               Ghislaine Maxwell now prosecutors’ target?




https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                            Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 10 of 11




https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Reporters tried to correct Trump’s incorrect data on immigration. It was … not effective. - The Washington Post
                            Case 1:19-cv-02514-KBJ Document 3-24 Filed 08/20/19 Page 11 of 11




https://www.washingtonpost.com/...019/02/15/reporters-tried-correct-trumps-incorrect-data-immigration-it-was-not-effective/?noredirect=on[8/12/2019 10:55:48 PM]
Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 1 of 7




              Exhibit 25
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                             Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 2 of 7




                                                                                                                                                 

     ANALYSIS DONALD TRUMP FUNNY THE MEDIA TRUMP'S MENTAL HEALTH
     Trump Goes Ballistic, Freaks Out On Reporter Who Called
     Him Out On His Lies “Quiet, Quiet, Quiet!”
     This is a man losing his grip on reality.


                  by   Andrew Simpson            2 months ago




                                                                                                                                            580

     Whether it was just the humming, buzzing, throbbing headache he must have had over his abysmal poll
     numbers or just the general sense that everything is crumbling down around him, Donald Trump was in a foul,
     foul mood yesterday.




     That may not make for exciting news — he’s usually not in a great mood, given he knows that the world mostly
     hates him — but watching him have tiny public meltdowns when people corner him with something


http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                     Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 3 of 7
     uncomfortable… Now that’s entertainment.

     Senior White House correspondent for Playboy and CNN political analyst Brian J. Karem was on hand as Trump
     was getting ready to depart for Iowa yesterday — the now-famed lawn Q&A featuring what many believed to
     be a blank piece of paper being used as a prop, but later discovered to be a typed-out version of exactly what
     Trump’s been saying about the Mexico “deal” for a week now — and he got a firsthand look at Trump’s mental
     state.

                                                                           Loading...

     Being a reporter for a non-DC publication has its merits: While folks from NYT and WaPo are forced to continue
     pretending like the President says things that are true occasionally, Karem has no such restrictions, and he was
     in rare form as he called out his questions to Trump about lying to the American public.

     That’s the kind of reporting we would like to see more of — perhaps a reporter showing up with a video on
     their cell phone of something the President had subsequently denied saying recently and then forcing him to
     watch as other cameras show him being confronted with his lies in real time.

     But Trump does NOT like that one bit.

     Watch the President’s face contort into a menacing scowl as Karem shouts his questions along with the rest of
     the press corps:



                In reply to @BrianKarem ‘s question about accusations he is lying to the American
                 public, @realDonaldTrump replied: Quiet! Quiet! Quiet!” Brian: Watch the look on
                 tRump’s face. pic.twitter.com/3n1yRN0Sf9

                 — Jeffrey Guterman (@JeffreyGuterman)                                        June 11, 2019


                Three times POTUS tells me to be quiet as I ask him about the accusations he is lying
                 to the American public. ⁦@realDonaldTrump ⁩ pic.twitter.com/ftkHJ2tN0B

                 — Brian J. Karem (@BrianKarem)                                  June 11, 2019


     “Quiet! Quiet! Quiet!” the President says to Karem, holding up the “shush” finger.

     We could watch this all day.


http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                             Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 4 of 7
     Featured image via Twitter

                  Like what you see here? Join the discussion on Facebook over at Americans For Sanity!




                   PREVIOUS POST                                                                                              NEXT POST




        ANGRY TRUMP               WEDNESDAY WISDOM                     WHITE HOUSE




     LIKE IT? SHARE WITH YOUR FRIENDS!

                                                                                                                                            580


                                            Posted by

                                            Andrew Simpson




     MORE FROM: ANALYSIS
                                                                                   ANALYSIS DONALD TRUMP POLITICS RACISM
                                                                                   MONDAY MOTIVATION RACISM TRUMP RACIST


                                                                                   Leaked Documents From The FBI
                                                                                   Show Their Priorities Under Trump’s
                                                                                   “Leadership”
                                                                                   There is no question how racist this President is.
                                                                      572
                                                                                          by Andrew Simpson 2 hours ago


                                                                                   ANALYSIS DONALD TRUMP HEALTH CARE TRUMP'S MENTAL HEALTH
                                                                                   VIDEO DONALD TRUMP HEART ATTACK HEART DISEASE




http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                             Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 5 of 7


                                                                                   CNN Medical Correspondent Says
                                                                                   Trump Has Heart Disease
                                                                                   The implications are staggering.


                                                                       532                by Andrew Simpson 2 days ago
                                                                   



     Comments

     comments



                                                                    TRENDING POSTS

                                                            Leaked Documents From The FBI Show
                                                            Their Priorities Under Trump’s “Leadership”
                                                                    by Andrew Simpson 2 hours ago




                                                            Melania’s Spokesperson Just Handed Over
                                                            Multiple Documents To D.C. Attorney
                                                            General
                                                                    by Andrea Thompson 4 hours ago



                                                            Trump’s Secretary Of Agriculture Gets
                                                            Booed After Making Joke About Farmers
                                                            “Whining” In The Wake Of Trade War
                                                                    by Andrea Thompson 6 hours ago




                                                                        VIDEO NEWS


                                                                       EDITOR’S PICK


                                         1




http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                             Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 6 of 7




                                    Michael Cohen Exposes Trump’s Signature On Documents
                                    Showing Russian Activity In 2016 Campaign


                                    Loading...




                                                                                     


     PRIVACY POLICY         TERMS OF SERVICE         CONTACT US

            

http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Trump Goes Ballistic, Freaks Out On Reporter Who Called Him Out On His Lies "Quiet, Quiet, Quiet!" · DC Tribune
                             Case 1:19-cv-02514-KBJ Document 3-25 Filed 08/20/19 Page 7 of 7
     © 2019 All Rights Reserved.




http://dctribune.org/trump-goes-ballistic-freaks-out-on-reporter-who-called-him-out-on-his-lies-quiet-quiet-quiet/[8/12/2019 11:00:30 PM]
Case 1:19-cv-02514-KBJ Document 3-26 Filed 08/20/19 Page 1 of 6




              Exhibit 26
8/12/2019
                            Narratives, Finales or Facts
                                              On Trump's Reaction
                       Case 1:19-cv-02514-KBJ Document     3-26to Mueller's Testimony
                                                                   Filed 08/20/19     Page 2 of 6

                                                                           Alex Brandon/AP/Shutterstock
              Following Mueller's testimony, Trump knows nothing has
                                       changed
                                                 Written by Brian Karem
                                                      July 25, 2019

    Shortly before Donald Trump walked out to the South Lawn of the White House, a senior
    White House official made sure reporters understood what was about to happen. “He’s in a
    good mood. He’s coming right at you. He wants to talk,” I was told.


    Robert Mueller had just spent seven hours on the Hill testifying before two congressional
    committees. The White House was apparently ecstatic with the results. The GOP had tried to
    attack Mueller’s credibility and failed. They tried to question his facts and failed. But
    Mueller, according to the official White House betting line, looked befuddled and doddering,
    hence a comment from a junior administration official that the president “won another one!
    He’s untouchable.”


    According to the administration, the knockout punch against Trump never came. “He didn’t
    know what was in his own report,” one Trump aide told me. Some pundits from both sides
    of the political divide evaluated Mueller’s testimony in binary fashion. “Those who wanted to
    begin impeachment proceedings needed bombshells from the former special
    counsel,” Politico’s Playbook newslettersaid. “Mueller gave them nothing besides affirmation
    about what was in his report, and a series of sidesteps when he did not want to answer
    questions.”


    Statements like that left a few reporters in the White House press corps breathless. “Did
    they even read the report?” one reporter said out loud in the Brady briefing room. Later that
    day, pundits wrote that if the Democrats were looking for a “seminal moment,” as                The
    Washington Post’s Aaron Blake wrote, then they left disappointed because “their star
    witness was no star.”


    Some saw a different loser. “After Wednesday’s congressional hearing, it looks like President

https://www.playboy.com/read/mueller-testimony                                                            1/5
8/12/2019                                     On Trump's Reaction
                       Case 1:19-cv-02514-KBJ Document     3-26to Mueller's Testimony
                                                                   Filed 08/20/19     Page 3 of 6
    Trump has won a victory over the bedrock American principles of congressional oversight
    and equality before the law,” John Cassidy wrote in          The New Yorker. “Trump’s blitzkrieg
    tactics of demonizing anyone who challenges him, terrorizing potential dissidents on his
    own side, and relentlessly spouting propaganda over social media may have worked,”
    Cassidy added. The president and everyone else seemed to want a cinematic knock out from
    Mueller that didn’t occur. In a reality show presidency, it seemed to be the only viable
    option to some viewing the chaos from the comfort of their living room sofa. Act III needs a
    hero to rise.


    Meanwhile, CNN’s Brian Stelter opined about a dilemma the press faces in this mess: “Old-
    fashioned tenets of the news business fade away in this fog of disinformation. For example:
    'What the president says is news.' I still think that's true, but when he's telling you not to
    believe your own eyes and ears, is it really news?”


    Stelter tried to grapple with one of the fundamental problems facing the press today: how to
    deal with appearance versus reality. Unlike others, he did not get lost in a binary decision of
    “who won” between Mueller and Trump.


    The reality is harder to decipher and doesn’t conveniently breakdown into a 10-second
    sound bite. Reality can be lost in the heat of the moment concerning the news of the day—
    which is exactly what Trump wants. The president’s gaggle on the South Lawn this week
    highlights the problem in a nutshell. The president claimed he was vindicated and said “We
    had a very good day today” and “There was no defense for this ridiculous hoax, this witch
    hunt that’s been going on for a long time..."


    From there, it became an epic presidential slugfest against the press. As he walked up to
    the bank of microphones, I asked if he was worried that Mueller said he could be indicted
    for obstruction once he left office. He ignored me.


    A short time later, Hallie Jackson asked the same question. Trump went off on the NBC
    reporter, calling her fake news.


    “And let me just tell you, the fact that you even asked that question, you’re fake news.

https://www.playboy.com/read/mueller-testimony                                                         2/5
8/12/2019                                     On Trump's Reaction
                       Case 1:19-cv-02514-KBJ Document     3-26to Mueller's Testimony
                                                                   Filed 08/20/19     Page 4 of 6
    Because you know what? He totally corrected himself in the afternoon. And you know that
    just as well as anybody.”


    He went on to Kaitlan Collins, from CNN, who asked about the president being “not truthful”
    in his written answers to Mueller’s questions. Trump danced around that and fired off
    another “fake news” assault at another reporter.


    “Again you’re fake news, and you’re right at the top of the list . . .” he said. To yet another
    reporter he said, “That’s why people don’t deal with you because you’re not an honest
    reporter.”


    After telling John Roberts from Fox News that “this was a devastating day for the
    Democrats,” Trump told another reporter trying to ask about potential indictments after
    leaving office that it was a “very dumb and very unfair question.” He told a group of
    reporters, including myself, Collins, Paula Reid from CBS, and Jackson from NBC that we
    were all fake news. He went after everyone.


    As for Reid, he called her "the worst." A few seconds later, he did a complete about-face
    and singled me out. “I can’t believe how nice you are today. Go ahead, give me a question,”
    he said.


    I did not take the bait. He already showed he wanted to fight. But I wanted answers. I
    returned to my first question. Noticing that Trump went on the attack whenever Mueller’s
    name was mentioned, I did not mention it while drilling down. I said, “Thank you. My
    question, Mr. President, is do you believe that even though he backed away from it, that
    you, after you leave office, could face indictment for obstruction?”


    “No, because we did nothing wrong. The answer is very simple. Nothing was done wrong.
    This was all a big hoax. And if you look at it today, nothing was done wrong,” Trump
    explained.


    It was a frightening but typical answer. Trump defies all facts and to the loyal base plays the
    martyr. Whether or not Trump actually believes his rhetoric, others will and he knows it.

https://www.playboy.com/read/mueller-testimony                                                        3/5
8/12/2019                                     On Trump's Reaction
                       Case 1:19-cv-02514-KBJ Document     3-26to Mueller's Testimony
                                                                   Filed 08/20/19     Page 5 of 6
    Therefore it remains incumbent on the press, as Stetler pointed out, to push back.


    Trump’s victory lap, as some labeled it, lasted a little under 20 minutes and then he was off
    to Wheeling, West Virginia for another love fest with supporters. And we are left trying to
    compare the stoic professional demeanor of Robert Mueller to the bombast of Donald
    Trump.


    We framed it as a horse race or ball game because Trump did, and that is far simpler to do
    than what reality demands. Part of the problem is the press, but it is also the public, which
    has become so enamored of passion without thought, that we cannot appreciate the logic
    and thorough nature of a thinker compared to the sideshow barker antics of the president.
    The public demands winners and losers. Plain and simple. If we as reporters do not frame
    the issues properly, then we all suffer when politicians frame the issues to suit their own
    ends. We all lose.


    The president and his minions, in an attempt to obfuscate the facts, have tried to make it
    about those who deliver facts to the public. Shooting the messenger is an old method, but
    one that Trump has honed to a fine art. He accuses us of bullying him and government
    representatives. He calls us rude. He says we are the problem. Meanwhile, he and his
    representatives are the government. They have the power over other’s lives. We do not. We
    have nothing but the ability to ask questions and write stories.


    If you don’t like us, then you can change the channel or not read us. There are plenty of
    news sources out there and everyone seems to pick someone who speaks to their own
    philosophical cul de sac. Trump knows this and exploits it. He can stand in the South Lawn
    and attack dozens of journalists for asking questions. He can then claim he’s done nothing
    wrong, despite ample factual evidence to the contrary and those who support him will fall in
    line and batter the facts with their own “alternative facts.”


    The Trump administration has never wavered from this approach. They love the heat and
    hate the light and the nation remains as divided as ever as a result. Watching him flail away
    at us on the South Lawn after Mueller’s testimony drove home one truth Trump cannot hide



https://www.playboy.com/read/mueller-testimony                                                      4/5
8/12/2019                                     On Trump's Reaction
                       Case 1:19-cv-02514-KBJ Document     3-26to Mueller's Testimony
                                                                   Filed 08/20/19     Page 6 of 6
    no matter how he dances and no matter who he yells at: He’s scared. As Mueller’s testimony
    showed, he should be.




https://www.playboy.com/read/mueller-testimony                                                      5/5
Case 1:19-cv-02514-KBJ Document 3-27 Filed 08/20/19 Page 1 of 4




              Exhibit 27
8/12/2019                            Trump on Gianforte:Document
                        Case 1:19-cv-02514-KBJ          ‘Any guy who can do a body
                                                                      3-27         slam08/20/19
                                                                               Filed    is my kind of guy’
                                                                                                       Page- POLITICO
                                                                                                                2 of 4


         

                                                                                                                                               




         Rep. Greg Gianforte (R-Mont.) speaks as President Donald Trump looks on during a campaign rally in Missoula on Thursday.




         WHITE HOUSE


         Trump on Gianforte: ‘Any guy who can do a body slam is my kind of guy’

         By BRENT D. GRIFFITHS | 10/18/2018 11:07 PM EDT




         President Donald Trump on Thursday praised Rep. Greg Gianforte’s body slamming a reporter in 2017, saying that anyone
         who did such a thing was “my kind of guy.”

         “Never wrestle him, you understand that?” Trump said of the Montana Republican, eliciting loud cheers during a political
         rally in Missoula, Mont. “Any guy who can do a body slam is my kind of guy.”

         “I was in Rome with a lot of the leaders from other countries talking about all sorts of things and I heard about it, and we
         endorsed Greg very early, but I heard that he had body slammed a reporter,” Trump continued, speaking about the assault on
         Guardian     journalist Ben Jacobs. “And he was way up, and he was up, and this was like the day of the election or just before,
            To give you the best possible experience, this site uses cookies. If you continue browsing, you accept our use of cookies.

         and  I said, ‘Oh, this is terrible, he is going to lose the election, and then I said, ‘Well, wait a minute, I know Montana
            You can review our privacy policy to find out more about the cookies we use.
                                                                                                                                       Accept
                                                                                                                                              pretty
         well, I think it might help him. And it did.’”



https://www.politico.com/story/2018/10/18/trump-gianforte-body-slam-praise-915047                                                                       1/3
8/12/2019                                    Trump on Gianforte:Document
                                Case 1:19-cv-02514-KBJ          ‘Any guy who can do a body
                                                                              3-27         slam08/20/19
                                                                                       Filed    is my kind of guy’
                                                                                                               Page- POLITICO
                                                                                                                        3 of 4


         Since he was a candidate for the presidency, Trump has complained of “fake news,” harassed individual outlets and journalists
         on Twitter, and labeled the media as a whole the “enemy of the people.” Trump’s praise of Gianforte’s actions comes as his
         administration continues to avoid blaming senior officials in Saudi Arabia for the kingdom’s role in the presumed death of
         Jamal Khashoggi, a Saudi dissident journalist.

         John Mulholland, editor of the Guardian US, said in a statement that Trump's praise of Gianforte runs the risk of inspiring
         further violence against journalists and called the president's rhetoric an "attack on the First Amendment." He added that
         Trump should apologize for his comments.

         "To celebrate an attack on a journalist who was simply doing his job is an attack on the first amendment by someone who has
         taken an oath to defend it," Mulholland said. "In the aftermath of the murder of Jamal Khashoggi, it runs the risk of inviting
         other assaults on journalists both here and across the world where they often face far greater threats. We hope decent people
         will denounce these comments and that the president will see fit to apologize for them."


         Morning Media

         Your guide to the media circus — weekday mornings, in your inbox.
            

                 Your email…




         By signing up you agree to receive email newsletters or alerts from POLITICO. You can unsubscribe at any time.




         At the time, then-candidate Gianforte’s staff blamed Jacobs for the episode, but later evidence showed that Gianforte yelled at
         Jacobs, asking him to leave, then tackled him to the ground, which broke Jacobs' glasses. The entire scuffle started when
         Jacobs tried to ask Gianforte for his thoughts on the House Republicans’ plan to repeal Obamacare, an issue on which he had
         avoided publicly declaring a position.

         For his actions, Gianforte pleaded guilty to a misdemeanor assault charge and was sentenced to 40 hours of community
         service and 20 hours of anger management, as well as a $385 fine.

         In a deal with Jacobs, the Montana Republican also promised to make a $50,000 donation to the Committee to Protect
         Journalists, which promotes freedom of the press.




                                                                                                                About Us



                                                                                                              Advertising



                                                                                                       Breaking News Alerts



                                                                                                                 Careers



                                                                                                       Credit Card Payments



                                                                                                            Digital Edition



                                                                                                                   FAQ



                                                                                                               Feedback



                                                                                                               Headlines



                                                                                                                 Photos



                                                                                                             POWERJobs


            To give you the best possible experience, this site uses cookies. If you continue browsing, you accept our use of cookies.
                                                                                      Press
                                                                                                                                         Accept   
            You can review our privacy policy to find out more about the cookies we use.

                                                                                                        Print Subscriptions




https://www.politico.com/story/2018/10/18/trump-gianforte-body-slam-praise-915047                                                                     2/3
8/12/2019                              Trump on Gianforte:Document
                          Case 1:19-cv-02514-KBJ          ‘Any guy who can do a body
                                                                        3-27         slam08/20/19
                                                                                 Filed    is my kind of guy’
                                                                                                         Page- POLITICO
                                                                                                                  4 of 4


                                                                                     RSS



                                                                                  Site Map




                                                                              Terms of Service



                                                                                Privacy Policy




                                                                           © 2019 POLITICO LLC




            To give you the best possible experience, this site uses cookies. If you continue browsing, you accept our use of cookies.
                                                                                                                                         Accept   
            You can review our privacy policy to find out more about the cookies we use.




https://www.politico.com/story/2018/10/18/trump-gianforte-body-slam-praise-915047                                                                     3/3
Case 1:19-cv-02514-KBJ Document 3-28 Filed 08/20/19 Page 1 of 5




              Exhibit 28
   8/12/2019            White 1:19-cv-02514-KBJ
                     Case     House bans four journalists from covering Trump-Kim
                                                             Document       3-28dinner because
                                                                                   Filed       of shouted questions
                                                                                           08/20/19       Page 2- The
                                                                                                                    of 5Washington Post
    The Washington Post

Politics

White House bans four journalists from covering Trump-Kim
dinner because of shouted questions

By Philip Rucker and
Josh Dawsey
February 27

HANOI — The White House abruptly banned four U.S. journalists from covering President Trump’s dinner
here Wednesday with North Korea’s Kim Jong Un after some of them shouted questions at the leaders during
their earlier meetings.

Reporters from the Associated Press, Bloomberg News, the Los Angeles Times and Reuters were excluded from
covering the dinner because of what White House press secretary Sarah Sanders said were “sensitivities over
shouted questions in the previous sprays.” Among the questions asked of Trump was one about the
congressional testimony of his former attorney Michael Cohen.

The White House’s move to restrict press access was an extraordinary act of retaliation by the U.S. government,
which historically has upheld the rights of journalists while a president travels overseas. It was especially
remarkable because it came during Trump’s meeting with the leader of a totalitarian state that does not have a
free press.

Trump’s exchanges with Kim were being covered by the standard 13-member traveling White House press
pool, but ahead of the dinner, Sanders sought to exclude all reporters from the pool and permit only the
photographers and television crew.

After loud pushback, including from photojournalists who protested, Sanders allowed a single reporter in the
pool for the dinner: Vivian Salama of the Wall Street Journal, who was serving as the print pooler and did not
ask a question at the dinner. In addition, at least two members of the North Korean media contingent, a
photographer and cameraman, were seen covering the dinner.

Reporters for the three wire services, as well as a second print pooler, were excluded. They included two
journalists who had asked Trump questions in the earlier appearances: Jonathan Lemire of the AP and Jeff
Mason of Reuters. Also excluded were Justin Sink of Bloomberg and Eli Stokols of the Los Angeles Times.

In a statement, Sanders said: “Due to the sensitive nature of the meetings we have limited the pool for the
dinner to a smaller group, but ensured that representation of photographers, TV, radio and print Poolers are all
in the room. We are continuing to negotiate aspects of this historic summit and will always work to make sure
the U.S. media has as much access as possible.”


   https://www.washingtonpost.com/politics/white-house-bans-four-journalists-from-covering-trump-kim-dinner-because-of-shouted-questions/2019/02/27…   1/4
  8/12/2019          White 1:19-cv-02514-KBJ
                   Case    House bans four journalists from covering Trump-Kim
                                                          Document       3-28dinner because
                                                                                Filed       of shouted questions
                                                                                        08/20/19       Page 3- The
                                                                                                                 of 5Washington Post
Sanders did not specify whether the White House was retaliating against journalists who asked questions at the
request of Trump or of Kim or the North Korean delegation. Asked by The Washington Post to clarify, Sanders
referred to her written statement.

Journalists in the pool asked Sanders repeatedly whether North Korea was responsible for the White House’s
decision to curb access, but she declined to give a direct answer. “I wouldn’t say that,” she said, according to
two people present for the discussions.

Olivier Knox, president of the White House Correspondents’ Association, said in a statement that the group
“strenuously objects to the capricious decision to exclude some journalists from a press encounter with
President Trump and Chairman Kim.”

“This summit provides an opportunity for the American presidency to display its strength by facing vigorous
questioning from a free and independent news media, not telegraph weakness by retreating behind arbitrary
last-minute restrictions on coverage,” Knox continued. “We call on the White House to not allow a diminution
of the previously agreed-to press complement for the remainder of the summit.”

Lauren Easton, a spokeswoman for the AP, said in a statement: “The Associated Press decries such efforts by
the White House to restrict access to the president. It is critically important that any president uphold
American press freedom standards, not only at home but especially while abroad.”

Norman Pearlstine, executive editor of the Los Angeles Times, said in a statement: “Previous administrations
have often intervened to protect press access when foreign leaders have tried to limit coverage of presidential
meetings abroad. The fact that this White House has done the opposite and excluded members of the press
provides another sad example of its failure to uphold the American public’s right to see and be informed about
President Trump’s activities.”

The move came a day after the U.S. press corps was kicked out of its filing center in Hanoi at the request of the
North Korean entourage. The White House booked conference facilities at the Melia hotel as a press
workspace, paid for by news organizations, but the hotel in the heart of the city also happened to be where Kim
and his delegation decided to stay. As Kim’s motorcade headed toward Hanoi on Tuesday, Vietnamese officials
suddenly booted the U.S. media from the hotel and relocated their operations to a separate site sharing space
with the international press corps.

During Trump’s first visit with Kim on Wednesday night, American reporters asked Trump four questions
during two brief photo opportunities; they asked Kim none. Eight North Korean reporters were also present for
the summit — the entirely male contingent wore pins celebrating Kim Jong Un and were dressed alike — but
they asked no questions.

When Trump and Kim first shook hands, Mason asked whether Trump had walked back his vow to
denuclearize the Korean Peninsula. “No,” the president replied.

   https://www.washingtonpost.com/politics/white-house-bans-four-journalists-from-covering-trump-kim-dinner-because-of-shouted-questions/2019/02/27…   2/4
  8/12/2019        White 1:19-cv-02514-KBJ
                  Case   House bans four journalists from covering Trump-Kim
                                                        Document       3-28dinner because
                                                                              Filed       of shouted questions
                                                                                      08/20/19       Page 4- The
                                                                                                               of 5Washington Post
Lemire asked whether he would declare an end to the Korean War, to which Trump replied, “We’ll see.”

A few minutes later, when Trump and Kim sat down for their one-on-one meeting, Lemire asked Trump
whether he had a response to Cohen’s testimony. Trump shook his head and did not answer.

Trump has long complained about reporters asking him questions at photo opportunities, especially when he is
in the presence of foreign leaders; aides have said he views it as disrespectful and lacking in decorum. Trump
has called the mainstream media “the enemy of the people,” and the White House occasionally has punished
reporters for their questioning, including CNN’s Jim Acosta and Kaitlan Collins.

This was not the first time Lemire and Mason had asked uncomfortable questions of Trump on foreign soil.
Both posed sharp questions to the president at his 2018 Helsinki news conference alongside Russian President
Vladimir Putin. Trump later complained to aides about their questions, although he has since granted
interviews to both reporters.

At Wednesday’s dinner with Kim, Trump made small talk with the press pool. “Everybody having a great
time?” he asked.

After his press secretary kicked the four reporters out of the pool, Trump joked to Kim that the “media make us
look very good!” The president also pointed to photojournalist Doug Mills of the New York Times and told Kim
he was “one of the great photographers of the world.”

Past administrations have struggled to balance access for U.S. reporters as presidents have met with
authoritarian regimes, including China, that have sought to limit the number of reporters in the room. When
President Barack Obama met with Chinese Vice Premier Wen Jiabao on the sidelines of a regional summit in
Bali in 2011, the White House barred wire services and a newspaper reporter from the photo op, allowing in
only news photographers. That drew protests on the spot from the press pool, including a Washington Post
reporter.

In 2009, when Obama made his first visit to Beijing, he held a news conference with China’s then-president,
Hu Jintao, at which reporters from both countries were not allowed to ask questions. During a trip by Vice
President Joe Biden to Beijing in 2011, U.S. reporters were ushered out of a meeting by Chinese security
officials as Biden was still making his opening remarks, leading to a scuffle.

David Nakamura contributed to this report.

Philip Rucker
Philip Rucker is the White House Bureau Chief for The Washington Post. He previously has covered Congress, the Obama
White House, and the 2012 and 2016 presidential campaigns. Rucker also is a Political Analyst for NBC News and MSNBC.
He joined The Post in 2005 as a local news reporter. Follow 



Josh Dawsey
Josh Dawsey is a White House reporter for The Washington Post. He joined the paper in 2017. He previously covered the
   https://www.washingtonpost.com/politics/white-house-bans-four-journalists-from-covering-trump-kim-dinner-because-of-shouted-questions/2019/02/27…   3/4
   8/12/2019           Case  White House bans four journalists from covering Trump-Kim dinner because of shouted questions - The Washington Post
White House for Politico, and 1:19-cv-02514-KBJ      Document
                              New York City Hall and New         3-28
                                                         Jersey Gov.     Filed
                                                                     Chris     08/20/19
                                                                           Christie          Page
                                                                                    for the Wall    5 ofJournal.
                                                                                                 Street   5      Follow 




                                                       It's the Summer Sale.
                        Limited Time Offer: $10 $4 every month - that's every story for just $1 a week.

                                                                    Get this offer


                                                                Send me this offer

        Already a subscriber? Sign in




   https://www.washingtonpost.com/politics/white-house-bans-four-journalists-from-covering-trump-kim-dinner-because-of-shouted-questions/2019/02/27…   4/4
Case 1:19-cv-02514-KBJ Document 3-29 Filed 08/20/19 Page 1 of 6




              Exhibit 29
   8/12/2019            Trump1:19-cv-02514-KBJ
                     Case    tangles with CNN's Jim Acosta,Document
                                                           April Ryan and 3-29
                                                                          NBC's Peter Alexander
                                                                                  Filed         at press conference
                                                                                          08/20/19        Page 2- ofThe6Washington Post
    The Washington Post

The Fix

‘You’re a very rude person.’ ‘That’s enough.’ ‘Sit down.’ Trump’s
news conference turns hostile.

By Lindsey Bever
November 7, 2018

UPDATE: The White House suspended Jim Acosta’s press pass hours after the CNN correspondent tangled
with the president.

_________________________________________

President Trump lashed out at journalists during an afternoon press briefing, calling some of them “hostile,”
instructing them to sit down and telling a CNN reporter, “You are a rude, terrible person.”

The heated exchange occurred Wednesday when CNN reporter Jim Acosta continued to question Trump after
the president dismissed him during a news conference about the 2018 midterm elections. Acosta had brought
up the Central American migrant caravan, asking the president why he characterized it as “an invasion.”
                                                                                             inva

“I think you should let me run the country, you run CNN and if you did it well, your ratings would be much
better,” Trump told Acosta.

Then when Acosta tried to question Trump about the Russia investigation, the president shouted: “That’s
enough. That’s enough. That’s enough. That’s enough,” telling him to “put down the mic.”

Trump then told the reporter: “CNN should be ashamed of itself having you working for them. You are a rude,
terrible person. You shouldn’t be working for CNN. ... You’re a very rude person. The way you treat Sarah
Huckabee is horrible. And the way you treat other people are horrible. You shouldn’t treat people that way.”

NBC News reporter Peter Alexander tried to stand up for Acosta, saying he is a “diligent reporter.” Trump
responded: “Well, I’m not a big fan of yours, either."

The White House did not immediately respond to a request for comment.

Trump has repeatedly clashed with the media, especially CNN, lashing out at reporters and calling their stories
“fake news.” As The Washington Post’s Elise Viebeck reported, Trump snapped at yet another reporter later in
the news conference after she noted that the president had once called himself a “nationalist” and asked him
whether his embrace of “nationalism” is supporting white nationalists.

"I don’t know why you’d say that — that’s such a racist question,” Trump told PBS Newshour’s White House
correspondent Yamiche Alcindor, who is black.

   https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-down-trumps-news-conference-turns-hostile/   1/5
  8/12/2019         Trump1:19-cv-02514-KBJ
                  Case   tangles with CNN's Jim Acosta,Document
                                                       April Ryan and 3-29
                                                                      NBC's Peter Alexander
                                                                              Filed         at press conference
                                                                                      08/20/19        Page 3- ofThe6Washington Post
“Why do I have my highest poll numbers ever with African Americans?” he said. “Why do I have among the
highest poll numbers with African Americans? I mean, why do I have my highest poll numbers?”

“That’s such a racist question,” he added. “Honestly, I know you have it written down and you’re going to tell
me. Let me tell you, that’s a racist question.”


            Yamiche Alcindor
            @Yamiche

   I asked President Trump what he thinks of people seeing his
   rhetoric as emboldening white nationalists and whether he was
   concerned that Republicans would be seen as supporting white
   nationalists.

   His response: "That's a racist question."
       62.5K 2:18 PM - Nov 7, 2018

       24.4K people are talking about this



            Yamiche Alcindor
            @Yamiche

   A note: I followed up the president calling my question "racist"
   with a policy question about his proposed middle class tax cut
   because that's what journalists do. We press on. We focus on
   the privilege of asking questions for a living. We do the work.
       67.3K 2:42 PM - Nov 7, 2018

       12.9K people are talking about this


Then it continued.


            Maggie Haberman
            @maggieNYT

   Folks who are complaining about the media right now should
   bear in in mind that Trump is now getting snappish with
   @johngizzi. This is not a preening media thing.
       533 2:10 PM - Nov 7, 2018

       164 people are talking about this



            Philip Rucker
            @PhilipRucker
   https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-down-trumps-news-conference-turns-hostile/   2/5
   8/12/2019          Trump1:19-cv-02514-KBJ
                    Case   tangles with CNN's Jim Acosta,Document
                                                         April Ryan and 3-29
                                                                        NBC's Peter Alexander
                                                                                Filed         at press conference
                                                                                        08/20/19        Page 4- ofThe6Washington Post
   This Trump news conference is going off the rails. President is
   losing his cool and snapping at reporters, from @Acosta to
   @PeterAlexander to @AprilDRyan.
       17.7K 1:33 PM - Nov 7, 2018

       6,480 people are talking about this



            Jim Acosta
            @Acosta

   Many thanks to my friend @PeterAlexander
   twitter.com/PhilipRucker/s…

     Philip Rucker     @PhilipRucker
     This Trump news conference is going off the rails. President is losing
     his cool and snapping at reporters, from @Acosta to
     @PeterAlexander to @AprilDRyan.

       37.7K 1:42 PM - Nov 7, 2018

       10.6K people are talking about this


Following the confrontations, CNN said in a statement on Twitter that Trump’s “ongoing attacks on the press
have gone too far.”

“They are not only dangerous, they are disturbingly un-American,” according to the statement. “While
President Trump has made it clear he does not respect a free press, he has a sworn obligation to protect it. A
free press is vital to democracy, and we stand behind Jim Acosta and his fellow journalists everywhere.”

CNN President Jeff Zucker reportedly said in a memo to employees Wednesday that “this organization believes
fiercely in the protections granted to us by the First Amendment, and we will defend them, and you, vigorously,
every time.”

“I want you to know that we have your backs,” Zucker wrote, according to Hollywood Reporter.

Amid the chaos, Sen. Lindsey O. Graham (R-S.C.) criticized the White House press corps.

“It’s apparent to me the White House press corps lives in a bubble,” he said on Twitter, “and the way they are
conducting themselves today will do NOTHING to improve their standing with the American people.”

David Brody, a reporter with the Christian Broadcasting Network, agreed, saying the “mainstream media
should be ashamed.”


            David Brody
            @DavidBrodyCBN
   https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-down-trumps-news-conference-turns-hostile/   3/5
   8/12/2019           Trump1:19-cv-02514-KBJ
                      Case   tangles with CNN's Jim Acosta,Document
                                                           April Ryan and 3-29
                                                                          NBC's Peter Alexander
                                                                                  Filed         at press conference
                                                                                          08/20/19        Page 5- ofThe6Washington Post
   The mainstream media should be ashamed of themselves.
   Certain liberal reporters became totally unhinged today. Jim
   Acosta wouldn't give up the mic, April Ryan standing up without
   a mic and so many more examples. No wonder the media is
   disliked in this country. Entitled?
       182 1:35 PM - Nov 7, 2018

       121 people are talking about this


Trump ended the lengthy news conference by telling the assembled journalists: “I’m very honored to be with all
of you. . . . Hopefully, the tone can get a lot better. And I really believe it begins with the media.”

But, he added: “I do fight back.”

Read more:

A reporter unwittingly left a voice mail for a GOP candidate. She was fired for what she said.

‘Fox & Friends’ scolds Trump over ongoing ‘enemy of the people’ crusade

Opinion: Not praising Trump enough is now ‘fake news’

Package-bomb suspect kept list of 100 possible targets, including CNN

Opinion: Memo to the media: Stop spreading Trump’s fake news

Lindsey Bever
Lindsey Bever is a general assignment reporter for The Washington Post, covering national news with an emphasis on health.
She was previously a reporter at the Dallas Morning News. Follow 




                                                       It's the Summer Sale.
                        Limited Time Offer: $10 $4 every month - that's every story for just $1 a week.

                                                                    Get this offer


                                                                Send me this offer

        Already a subscriber? Sign in
   https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-down-trumps-news-conference-turns-hostile/   4/5
8/12/2019               Trump1:19-cv-02514-KBJ
                       Case  tangles with CNN's Jim Acosta,Document
                                                           April Ryan and 3-29
                                                                          NBC's Peter Alexander
                                                                                  Filed         at press conference
                                                                                          08/20/19        Page 6- ofThe6Washington Post




https://www.washingtonpost.com/politics/2018/11/07/youre-very-rude-person-thats-enough-sit-down-trumps-news-conference-turns-hostile/     5/5
Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 1 of 20




              Exhibit 30
Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 2 of 20


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

   CABLE NEWS NETWORK, INC., et al., CA No. 1:18-cv-02610-TJK


                   Plaintiffs,            Washington, D.C.
   v.                                     Friday, November 16, 2018
                                          10:00 a.m.

   DONALD J. TRUMP, et al.,

                   Defendants.


                       TRANSCRIPT OF MOTION HEARING
                HELD BEFORE THE HONORABLE TIMOTHY J. KELLY
                       UNITED STATES DISTRICT JUDGE

   APPEARANCES:

   For the Plaintiffs:         Theodore J. Boutrous, Jr., Esq.
                               Joshua S. Lipshutz, Esq.
                               Anne M. Champion, Esq.
                               GIBSON, DUNN & CRUTCHER LLP
                               333 South Grand Avenue
                               Los Angeles, CA 90071
                               (213) 229-7804

   For the Defendants:         James M. Burnham, Esq.
                               Michael H. Baer, Esq.
                               Eric R. Womack, Esq.
                               Joseph E. Borson, Esq.
                               U.S. DEPARTMENT OF JUSTICE
                               Civil Division
                               950 Pennsylvania Avenue, NW
                               Washington, DC 20530
                               (202) 353-5049

   Court Reporter:             Timothy R. Miller, RPR, CRR, NJ-CCR
                               Official Court Reporter
                               U.S. Courthouse, Room 6722
                               333 Constitution Avenue, NW
                               Washington, DC 20001
                               (202) 354-3111


   Proceedings recorded by machine shorthand; transcript
   produced by computer -aided transcription.
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 3 of 20            2




 1                                PROCEEDINGS
 2                  THE DEPUTY CLERK:     Your Honor, this is civil

 3      matter 18-2610, Cable News Network, Incorporated, et al., v.

 4      Donald J. Trump, et al.

 5                 Will counsel please approach the lectern and state

 6      your appearance for the record.

 7                 MR. BOUTROUS:     Good morning, Your Honor.          Theodore

 8      Boutrous for Plaintiffs CNN and Jim Acosta.

 9                  THE COURT:    Good morning, sir.

10                 MS. CHAMPION:     Good morning, Your Honor.          Anne

11      Champion from Gibson Dunn for Plaintiffs CNN and Jim Acosta.

12                 MR. LIPSHUTZ:     Good morning, Your Honor.          Joshua

13      Lipshutz from Gibson Dunn for Plaintiffs CNN and Jim Acosta.

14                  THE COURT:    Good morning.

15                 MR. BURNHAM:      Good morning, Your Honor.      James

16      Burnham here on behalf of the defendants, along with Michael

17      Baer, Eric Womack and Joseph Borson.

18                  THE COURT:    All right.     Good morning to you all.

19                 We are here for an oral ruling on the plaintiffs'

20      application for a temporary restraining order.

21                 And I'd better get some water right away here.

22                  (Brief pause.)

23                 On November 7th, 2018, President Trump held a news

24      conference at the White House.         Soon after it started, he

25      called on Plaintiff Acosta, a reporter for CNN, to take a
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 4 of 20      3




 1      question from him.     After Mr. Acosta asked several questions

 2      about the caravan of migrants heading to the U.S.-Mexican

 3      border, the President indicated that he wanted to move on to

 4      call on another reporter but Mr. Acosta would not be seated

 5      and continued trying to ask his question and then he would

 6      not give up the microphone, even when approached by an

 7      intern employed by the White House Press Office who

 8      attempted to retrieve it from him.        The President made

 9      several comments toward Mr. Acosta while this happened,

10      including, You are a rude, terrible person, and, When you

11      report fake news which CNN does a lot, you are an enemy of

12      the people.    Eventually, Mr. Acosta did relinquish the

13      microphone.

14                  That night, his Secret -- the Secret Service asked

15     Mr. Acosta to relinquish his hard pass, his credential that

16      allows him access to the White House press facilities.          That

17      same evening, the White House Press Secretary, Sarah

18      Sanders, posted a video on Twitter purporting to show the

19      exchange between Mr. Acosta, the intern and the President.

20      In a tweet, Ms. Sanders cited the conduct in the video as

21      the reason that Mr. Acosta's hard pass had been revoked.          In

22      a tweet, she characterized Mr. Acosta as placing her hand --

23      his hands on the intern and she also asserted that Mr.

24     Acosta had been disrespectful to his colleagues to not allow

25      them to -- the opportunity to answer a question.
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 5 of 20            4




 1                  The next day, on November 8th, CNN sent a letter

 2      to the White House requesting that Ms. -- the reporter's

 3      credentials be reinstated immediately.         CNN alleged that the

 4      White House simply did not like the content of the questions

 5      posed to the President and threatened to take legal action

 6      if the revocation was not reversed.

 7                  The next day, on November 9th, the President

 8      suggested that other reporters might have their credentials

 9      revoked and that reporters must treat the White House with

10      respect and treat the presidency with respect and he also

11      conceded that Mr. Acosta's -- but he also conceded that Mr.

12     Acosta's conduct toward the Press Office intern had not been

13      overly horrible.

14                  Then the long holiday weekend intervened.           And on

15      the morning of Tuesday, November 13th, CNN and Mr. Acosta

16      filed this lawsuit and moved for a temporary restraining

17      order.

18                  That morning, after -- the same morning, after the

19      suit was filed, Ms. Sanders issued a written statement

20      setting forth reasons for the revocation of Ms. -- Mr.

21     Acosta's hard pass.      It read:    We have been advised that CNN

22      has filed a complaint challenging the suspension of Jim

23     Acosta's hard pass.      This is just more grandstanding from

24      CNN and we will vigorously defend against this lawsuit.

25      CNN, who has nearly 50 additional hard pass holders, and Mr.
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 6 of 20          5



 1     Acosta is no more or less special than any other media

 2      outlet or reporter with respect to the First Amendment.

 3     After Mr. Acosta asked the President two questions, each of

 4      which the President answered, he physically refused to

 5      surrender a White House microphone to an intern so that

 6      other reporters might ask their questions.         This was not the

 7      first time this reporter had -- has inappropriately refused

 8      to yield to other reporters.       The White House cannot run an

 9      orderly and fair press conference when a reporter acts this

10      way which is neither appropriate nor professional.              The

11      First Amendment is not served when a single reporter, of

12      more than 150 present, attempts to monopolize the floor.              If

13      there is no check on this type of behavior, it impedes the

14      ability of the President, the White House staff and members

15      of the media to conduct business.

16                  To obtain a temporary restraining order, the

17      plaintiffs must clearly demonstrate, one, a likelihood of

18      success on the merits of their claim; two, a likely

19      irreparable harm in the absence of preliminary relief;

20      three, a balance of the -- that the balance of the equities

21      is in their favor; and, four, that the TRO is in the public

22      interest.   And where the Government is the party opposing

23      the TRO, the Court merges the latter two factors into a

24      single inquiry.

25                  Much of our discussion at the hearing the other
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 7 of 20         6




 1      day concerned the applicability or inapplicability of the

 2      D.C. Circuit case Sherrill v. Knight.         I'm going to first

 3      talk about the likelihood of success of [sic] the merits

 4      with regard to the plaintiffs' Fifth Amendment due process

 5      claim.

 6                 Much of our discussion at the hearing concerned

 7      the applicability of Sherrill v. Knight.         I've read the case

 8      closely and I think it's fair to conclude, as the Government

 9      argued, that there are at least some portions of it that

10      plaintiffs would rely on that are fairly characterized as

11      dicta, but if Sherrill stands for anything at all,          I think

12      it's unavoidable to conclude that it -- to conclude anything

13      other than it stands for the Fifth Amendment's due process

14      clause protects a reporter's First Amendment liberty

15      interest in a White House press pass.        Whether that's a

16      holding I agree with or not is another thing, but that is

17      not relevant.     The case has not been abrogated and, as a

18      district judge,   I must apply the precedent of this circuit

19      as I see it.

20                  So let me quote from Sherrill.       Quote, In our

21      view, the procedural requirements of notice and the factual

22      basis for denial and opportunity for the applicant to

23      respond to these and a final written statement of the

24      reasons for denial are compelled by the foregoing

25      determination that the interest of a bona fide Washington
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 8 of 20   7




 1      correspondent in obtaining a White House press pass is

 2      protected by the First Amendment.        This First Amendment

 3      interest undoubtedly qualifies as liberty which may not be

 4      denied without due process of law under the Fifth Amendment.

 5                 A few more words about Sherrill before I move on.

 6                  The Government argued that the holding of Sherrill

 7      is limited to Secret Service restrictions based on security

 8      concerns, and the Government points out there's nothing in

 9      the record here that the security of the President or the

10      White House is at issue, but Sherrill, as I read it,

11      provides no reason why the court's recognition of a First

12     Amendment interest in a press pass -- in a White House press

13      pass would turn on whether that decision to limit that

14      interest was made by the White House Press Office or the

15      Secret Service or any other part of the executive branch,

16      and the case suggests no reason to me why the due process

17      required to deny someone a pass would turn on a specific

18      component of the executive branch that made that decision.

19      The court was very clear that the basis of this interest was

20      rooted in the First Amendment and not the decision of any

21      part of the executive branch to agree that Sherrill should

22      be granted the press pass.

23                  The Government also made the point that there is

24      case law for the proposition that the public doesn't have a

25      general First Amendment right to enter the White House
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 9 of 20       8




 1      grounds.   I have no quarrel with that at all, but Sherrill

 2      holds that once the White House opens a portion of it up to

 3      reporters for their use, some kind of First Amendment

 4      liberty interest protected by a due process right is

 5      created, and I simply have no choice but to apply that

 6      precedent here.

 7                  The Government also argued that some of the

 8      factual underpinnings of Sherrill had changed and that

 9      today, the White House routinely exercises discretion in

10      different ways, giving out hard passes to certain

11      journalists aside from whatever review the Secret Service

12      undertakes for security purposes.        I can see how that might

13      be relevant in examining the nature of whatever liberty

14      interest Sherrill holds is at stake here, but even assuming

15      that was a distinction that would make a difference in terms

16      of how I apply Sherrill,     I don't have any evidence in the

17      record here; I don't have any declarations or sworn

18      statements that explain how that factual landscape has

19      shifted since Sherrill was decided.

20                 And, finally, the Government makes the point that

21      the First Amendment does not restrict the ability of the

22      President to dictate the terms of how he chooses to engage

23      or not engage with any particular journalist.          That seems

24      entirely correct to me, but nothing in the holding of

25      Sherrill relating to the Fifth Amendment due process right
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 10 of 20           9




 1      it recognized contradicts that.        In fact, Sherrill

 2      explicitly recognizes the President's right to engage with

 3      whomever he pleases.      Certainly, he need not ever call on

 4      Mr. Acosta again.     But under Sherrill, as I read it, the

 5      government must provide Mr. Acosta due process if it is to

 6      revoke his hard pass.      Accordingly, the likelihood that the

 7      plaintiffs succeed on the First -- on the Fifth Amendment

 8      claim hinges on whether the government provided adequate due

 9      process to Mr. Acosta.      The court in Sherrill held that this

10      process must include notice, an opportunity to rebut the

11      government's reasons and a written decision.          And all the

12      court -- although the court in Sherrill did not have

13      occasion to address it, when an important interest is at

14      stake and when the government is able to provide this

15      process before deprivation, it generally must do so.             There

16      is no evidence that one of the few exceptions to this rule

17      would apply here such as some kind of emergency.           So I do

18      hold that plaintiffs have demonstrated a likelihood of

19      success on their claim that adequate process was not

20      provided to Mr. Acosta.       Indeed, whatever process occurred

21      within the government is still so shrouded in mystery that

22      the Government could not tell me at oral argument who made

23      the initial decision to revoke Mr. Acosta's press pass --

24      his hard pass.

25                  On the notice, as for notice, the Government
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 11 of 20        10


 1      points to only one statement that could possibly constitute

 2      prior notice to Mr. Acosta that his pass would be revoked,

 3      the President's statements to him during the exchange at the

 4      press conference on November 7th, but the President's

 5      statements did not revoke -- did not reference Mr. Acosta's

 6      hard pass at all, let alone that it would be revoked;

 7      therefore, that statement cannot have put him on notice of

 8      the government's intention to revoke it.

 9                  Now, it is true that the public and Mr. Acosta

10      were eventually provided two things.         First, explanations as

11      to why his hard pass was revoked through Ms. Sanders's

12      tweets; and a written statement of explanation, apparently

13      prompted by this litigation, but given their timing and

14      their lack of connection to Mr. Acosta's opportunity to

15      rebut -- which we'll talk about in a moment -- these belated

16      efforts were hardly sufficient to satisfy due process.

17                  As for Mr. Acosta's opportunity to be heard in

18      rebuttal, the Government points to the letter CNN sent to

19      the White House the day after his hard pass was revoked, but

20      this does not reflect a meaningful opportunity to rebut the

21      government's reasons for the revocation or to challenge the

22      appropriateness of the government's action.          Indeed, anyone

23      can avail themselves of the mail, and there's nothing in the

24      record that demonstrates that whoever the decisionmaker --

25      the initial decisionmaker was in this case read or
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 12 of 20    11



 1      considered the letter.      And, of course, the letter was sent

 2      after the revocation, not beforehand.         The need for the

 3      opportunity to be heard seems especially important in this

 4      case when the record strongly suggests that one of the

 5      initial specific reasons for the revocation cited by the

 6      government -- that Mr. Acosta laid his hands on the White

 7      House intern -- was likely untrue and was at least partly

 8      based on evidence that was of questionable accuracy.

 9                  At oral argument, the Government made the point

10      that more process would not have helped here because the

11      ultimate decisionmaker -- I believe, is how the Government

12      referred to the President -- at a minimum, ratified this

13      action.   Maybe that's so, but on the record before me which,

14      at this point, is devoid of evidence concerning who, in the

15      government, first reached this decision; how they reached

16      the decision; whether they considered CNN's letter or

17      whether they considered potential other responses by the

18      government,   I simply cannot assume that that would be so.

19                  So in light of all the above, I find that the

20      plaintiffs are likely to succeed on the merits of their

21      Fifth Amendment due process claim.

22                  I'll now talk about irreparable harm with regard

23      to that claim.

24                  The plaintiffs also must demonstrate that

25      irreparable harm will result in the absence of preliminary
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 13 of 20    12



 1      relief.    That harm must be both certain and great, and it

 2      must be actual and not theoretical.         Here, harm to Mr.

 3      Acosta has already occurred.       As already explained, he's

 4      demonstrated a likelihood of success on the merits of his

 5      claim that his Fifth Amendment due process rights were

 6      violated such that his liberty interests were deprived;

 7      therefore,    I don't need to speculate or theorize as to

 8      whether harm will occur absent preliminary relief, but for

 9      plaintiffs to satisfy their burden, the harm must be

10      irreparable.     Constitutional injuries are often considered

11      irreparable due to their very nature.         Indeed, the D.C.

12      Circuit has held that, quote, Suits for declaratory and

13      injunctive relief against the threatened invasion of a

14      constitutional right do not ordinarily require proof of any

15      injury other than the threatened constitutional deprivation

16      itself, closed quote.

17                   On the other hand, procedural due process injuries

18      do not necessarily cause irreparable harm when, for example,

19      the thing that is deprived is tangible property, because the

20      due process violation that led to that injury might be

21      reparable with money damages.        Here, the procedural due

22      process violation at issue that has led to the deprivation

23      -- to a deprivation of what Sherrill requires me to

24      recognize as a liberty interest as opposed to a property

25      interest that's grounded in, quote, The First Amendment
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 14 of 20    13


 1      guarantee of freedom of the press, closed quote.

 2                  Moreover, the First Amendment interests, as

 3      recognized in Sherrill, were not vested merely in

 4      publications or agencies.       They were liberties of the

 5      individual journalists themselves.        For that reason, that

 6      CNN may still send another journalist or other journalist to

 7      the White House does not make the harm to Mr. Acosta any

 8      less irreparable.     Each day that he is deprived of that

 9      interest without the process prescribed by the court in

10      Sherrill, he suffers a harm that cannot be remedied in

11      retrospect.    The Court cannot restore his access to press

12      briefings that have already occurred or to conversations in

13      the White House press facilities that have already been had.

14                  And so on this highly, highly unusual set of facts

15      and interests at stake, I do find that the plaintiffs have

16      met their burden of establishing that irreparable harm has

17      and will continue to occur in the absence of preliminary

18      relief.

19                  The next factors are the balance of the equities

20      and the public interests.

21                  In balancing the equities at stake, I find that

22      the harm to Mr. Acosta from sustaining an ongoing violation

23      of his Fifth Amendment due process rights outweighs the

24      government's interest in orderly, respectful press

25      conferences.     This is especially so because the government
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 15 of 20        14



 1      can serve its stated interest in other ways during this

 2      litigation or perhaps until it is back before me arguing

 3      that their due process obligations had been fulfilled.

 4      Obviously, the balance of the equities would not likely have

 5      come out this way if Mr. Acosta had been excluded for safety

 6      or security reasons, in which case, my deference to the

 7      executive equities would be far, far higher.          But even in

 8      this circumstance,     I don't take lightly the executive

 9      branch's weighty general interest in control of its White

10      House press facility, but the balance here is tipped by the

11      fact that Sherrill obligates me to recognize the violation

12      of Mr. Acosta's due process rights and the resulting impact

13      on his First Amendment interests.        So in finding -- also, in

14      finding that these factors favor the plaintiffs,          I have also

15      considered case law that suggests that constitutional

16      violations are always contrary to the public's interest.

17                  So because the plaintiffs have shown a likelihood

18      that the government has violated Mr. Acosta's Fifth

19      Amendment rights under Sherrill, because the type of injury

20      he has suffered is irreparable and because the public

21      interest in the balance of equities favor granting a

22      temporary restraining order, I will grant the application

23      for a -- for the temporary restraining order here.           I will

24      order the defendants immediately restore Mr. Acosta's hard

25      pass until further order of the Court or the restraining
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 16 of 20       15


 1      order expires.     And if, at some point after restoring the

 2      hard pass, the Government would like to move to vacate the

 3      restraining order on the grounds that it has fulfilled its

 4      due process obligations, then it may, of course, do so and I

 5      will promptly address that and then the remaining bases for

 6      the TRO.

 7                   I want to emphasize the very limited nature of

 8      today's ruling.     In resolving this TRO,     I haven't -- because

 9      I've found that it must be granted on -- as to the due

10      process claim, I haven't had to reach the plaintiffs' First

11      Amendment claim at all in which they alleged that the

12      government engaged in viewpoint or content discrimination.

13      So I want to make very clear a couple of things.           I have not

14      determined that the First Amendment was violated here;           I


15      have not determined what legal standard would apply to the

16      First Amendment claim here; I have not determined the

17      specific nature of the First Amendment interest that

18      Sherrill recognizes -- or that Sherrill at least doesn't

19      describe but recognizes, yes; and I haven't determined what

20      portions of Sherrill, if any, would bind me on those

21      questions.

22                   So let me turn to the parties, then, and suggest

23      that as far as procedurally moving forward goes, one -- the

24      avenue I thought of is to give you all some time to consult

25      with your clients; assess your positions; and come back
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 17 of 20        16


 1      early next week -- perhaps Tuesday afternoon -- to see how

 2      you all would like to proceed from here.          I trust the --

 3      this litigation will continue in a rapid pace.          Either

 4      party?

 5                  MR. BOUTROUS:     Thank you.     Thank you very much,

 6      Your Honor.

 7                  That sounds like a good process to us.         We can

 8      confer.    We may be able to just confer and then report back

 9      Monday with the proposal and see if we can work out either a

10      briefing schedule for the preliminary injunction or

11      something else and, if not, we can just come back and see

12      you on Tuesday.

13                  THE COURT:     All right.     So your proposal would be

14      a written joint report for the parties --

15                  MR. BOUTROUS:     Would that --

16                  THE COURT:     -- on Monday?

17                  MR. BOUTROUS:     Yeah.     Would that work for the

18      Court?

19                  THE COURT:     All right.     That's fine, if that's --

20      but I'd like to hear from Mr. Burnham.

21                  MR. BURNHAM:     Your Honor, I'd like to talk to our

22      clients.    That should be okay, but I'd just like to talk to

23      our clients and come up with a proposal before we --

24                  THE COURT:     Absolutely.     I mean, we can't have any

25      quicker turnaround than a joint report --
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 18 of 20        17



 1                   MR. BURNHAM:     Right.

 2                   THE COURT:     -- on Monday.      So --

 3                   MR. BURNHAM:     Right.

 4                   THE COURT:     I mean,    I --

 5                   MR. BURNHAM:     The timing certainly works for us.

 6      Thank you.

 7                   THE COURT:     Fair enough.      So I'll get that report.

 8      Obviously, if you can agree on something, great; if you

 9      can't agree, if you would still submit it jointly but just

10      lay out your respective positions on where we go from here,

11      I'll take that under advisement, and my hope is -- well,

12      depending on what you all agree to, if we need to come back

13      to court next week, even though it's the short week -- the

14      holiday -- I will be available to do that.

15                   MR. BURNHAM:     Okay.     Thank you, Your Honor.

16                   THE COURT:     All right.

17                   MR. BOUTROUS:     We greatly appreciate it, Your

18      Honor.

19                   THE COURT:     All right.

20                   MR. BOUTROUS:     And then just procedurally, under

21      the TRO, we'll just proceed to get the hard pass back

22      immediately and have it reactivated.           Thank you very much.

23                   THE COURT:     Yes.   Is there any other -- anything

24      further -- else from the plaintiffs that you think I need to

25      address today before I turn to Mr. Burnham?
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 19 of 20     18



 1                  MR. BOUTROUS:     I think that's it, Your Honor.

 2                  THE COURT:     All right.

 3                  MR. BOUTROUS:     Thank you.

 4                  THE COURT:     Sir?

 5                  MR. BURNHAM:     So Your Honor, under the local

 6      rules, our opposition to the PI is due on Tuesday.

 7                  THE COURT:     Okay.

 8                  MR. BURNHAM:     Would it be okay, given all that's

 9      going on, to suspend that deadline until we file our joint

10      status report?

11                  THE COURT:     Yeah.     I assume the plaintiffs --

12                  MR. BURNHAM:     I assume --

13                  THE COURT:     -- would agree to that.

14                  MR. BURNHAM:     We haven't spoken about it.

15                  THE COURT:     Yes.

16                  MR. BOUTROUS:     That's fine with --

17                  MR. BURNHAM:     Okay.

18                  MR. BOUTROUS:     That's fine with us, Your Honor.

19                  THE COURT:     Yeah.     So that deadline certainly will

20      be, you know, held in abeyance --

21                  MR. BURNHAM:     Thank you, Your Honor.

22                  THE COURT:     -- vacated until I get your report and

23      we'll see where we go from there.

24                  MR. BURNHAM:     Thank you, Your Honor.

25                  THE COURT:     All right.
     Case 1:19-cv-02514-KBJ Document 3-30 Filed 08/20/19 Page 20 of 20                      19


 1                  MR. BOUTROUS:            Thank you.

 2                  THE COURT:       If there's nothing further, then,

 3      counsel's dismissed.

 4                  THE DEPUTY CLERK:                All rise.           This Honorable Court

 5      is adjourned.

 6                  (Proceedings concluded at 10:28 a.m.)

 7                               *   *   *   *   *   *   *   *   *   *   *   *   *


 8                      CERTIFICATE OF OFFICIAL COURT REPORTER

 9      I, TIMOTHY R. MILLER, RPR, CRR, NJ-CCR, do hereby certify

10      that the above and foregoing constitutes a true and accurate

11      transcript of my stenographic notes and is a full, true and

12      complete transcript of the proceedings to the best of my

13      ability, dated this 16th day of November 2018.

14                                   /s/Timothy R. Miller, RPR, CRR, NJ-CCR
                                     Official Court Reporter
15                                   United States Courthouse
                                     Room 6722
16                                   333 Constitution Avenue, NW
                                     Washington, DC 20001
17

18

19

20

21

22

23

24

25
